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                    EXHIBIT E
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    1                                                                             1

    2       SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF SUFFOLK: PART 48
    3       ------------------------------------------------x

    4       IN RE: OPIOID LITIGATION

    5

    6                                        INDEX NO.:400000/2017

    7       ------------------------------------------------x

    8                                        September 09, 2020
                                             Central Islip, New York
    9

  10                        MINUTES OF FRYE HEARING
                            (Testimony of Dr. Lembke)
  11

  12        B E F O R E:               HON. JERRY GARGUILO
                                       Supreme Court Justice
  13
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  20                        STEPHANIE CASAGRANDE, CSR, RPR
                                 OFFICIAL COURT REPORTER
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    1                          Frye Hearing - Dr. Lembke                          3

    2                       THE CLERK:      Supreme Court, State of New

    3                 York, County of Suffolk, Part 48 is now in

    4                 session, the Honorable Jerry Garguilo

    5                 presiding.

    6                       THE COURT:      Good morning, everybody.

    7                       CHORUS:     Good morning.

    8                       THE CLERK:      The case on the calendar is

    9                 In Re Opioid Litigation, Index Number 400000

  10                  of 2017.     Your appearances, please, beginning

  11                  with the Plaintiff.

  12                        MR. HANLY:      Paul Hanly, for Suffolk

  13                  County.

  14                        MS. CONROY:      Jayne Conroy, Suffolk

  15                  County.

  16                        THE COURT:      Good morning.

  17                        MR. SHKOLNIK:       Hunter Shkolnik, Nassau

  18                  County.     Good morning, your Honor.

  19                        THE COURT:      Good morning.

  20                        MS. SALDANA:       Lois Saldana, for the New

  21                  York Attorney General's office.

  22                        THE COURT:      Good morning.

  23                        MS. SALDANA:       Good morning.

  24                        THE COURT:      Anyone else?

  25                        MR. BADALA:      Good morning, your Honor.
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    1                          Frye Hearing - Dr. Lembke                          4

    2                 Salvatore Badala, for the Plaintiff.

    3                       THE COURT:      Good morning.

    4                       MR. ASHER:      Good morning, Nate Asher,

    5                 for Janssen Defendants.

    6                       MR. SHERIDAN:       Tom Sheridan, Suffolk

    7                 County.

    8                       THE COURT:      Good morning.

    9                       My picture is on the screen.            I could do

  10                  without it.      All right.      A couple of

  11                  announcements before we get started.

  12                        On Friday we're going to have an

  13                  abbreviated session.          We have our annual 9/11

  14                  ceremony, which I will attend.            They commence

  15                  at 3 p.m. on Friday, September 11th, so we'll

  16                  work somewhat into the lunch hour and recess

  17                  thereafter, because traditionally that

  18                  service takes about a little more than an

  19                  hour.

  20                        I received a letter.         Apparently, the

  21                  Plaintiff is not going to call Dr. Keller as

  22                  an expert; is that correct?

  23                        MR. HANLY:      That's correct, your Honor.

  24                        THE COURT:      Okay.    So our current

  25                  schedule will be today, of course,
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    1                          Frye Hearing - Dr. Lembke                          5

    2                 Dr. Lembke; tomorrow, Dr. Keyes; and on

    3                 Friday, during the abbreviated session, we'll

    4                 start with Dr. James Tomarken.

    5                       Is everybody on board with that?

    6                       MS. WELCH:      Donna Welch, for the

    7                 Allergan Defendants.         We are on board with

    8                 that, but we have sent a proposed Stipulation

    9                 to the Plaintiffs regarding the withdrawal of

  10                  Lacey Keller as an expert.

  11                        We want to make sure that she is being

  12                  withdrawn for all purposes from their case in

  13                  chief.    We want to ensure that they are not

  14                  taking her down from the Frye hearing with

  15                  any intent to have any other of their experts

  16                  adopt her opinion in whole or in part or rely

  17                  on her opinion in whole or in part in their

  18                  case in chief.

  19                        We assume that's the intent here, but we

  20                  want to make sure of that before we're

  21                  precluded from an opportunity to engage in a

  22                  Frye hearing on her opinions.

  23                        THE COURT:      So, in other words, you want

  24                  to come to an agreement?

  25                        MS. WELCH:      Correct, your Honor.
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    1                          Frye Hearing - Dr. Lembke                          6

    2                       THE COURT:      The letter I received

    3                 indicates that they may call her as a

    4                 rebuttal witness, and in the event they

    5                 choose to do so, we would have a limited Frye

    6                 hearing.

    7                       Your issue deals with whether or not any

    8                 other expert tends to rely on that testimony?

    9                       MS. WELCH:      Correct, your Honor.         Our

  10                  concern is simply that on the current record,

  11                  Plaintiffs have relied themselves on

  12                  Ms. Keller for purposes of summary judgment

  13                  briefing.     If we are withdrawing her -- if

  14                  they are withdrawing her as an expert, we

  15                  don't think that's appropriate.

  16                        So we believe they shouldn't be able to

  17                  use her opinions in response to a renewed

  18                  summary judgment motion, and we want to make

  19                  clear that their other experts in their case

  20                  in chief cannot simply rely on her opinions

  21                  that are being withdrawn, and they can't

  22                  adopt her opinions as their own.

  23                        THE COURT:      You said that twice now.

  24                  Work it out.      If you can't work it out, I

  25                  will.
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    1                          Frye Hearing - Dr. Lembke                          7

    2                       MS. WELCH:      Thank you, your Honor.

    3                       MS. CONROY:      Thank you, your Honor.

    4                       THE COURT:      Tech people, I'm hearing

    5                 myself twice.       It's like a network

    6                 five-second delay.        Okay.    Call a witness.

    7                       MS. STRONG:      Your Honor, this is Sabrina

    8                 Strong, for Johnson & Johnson and Janssen.

    9                 Before we begin, I'd like to address one

  10                  issue, your Honor.

  11                        THE COURT:      Go ahead.

  12                        MS. STRONG:      Yesterday you received a

  13                  letter that was filed by some of the

  14                  Defendants relating to a late disclosure of

  15                  materials related to Katherine Keyes.

  16                        After that, we actually received from

  17                  Plaintiffs' counsel yesterday, approximately

  18                  4:40 p.m., a late disclosed list of

  19                  supplemental materials for Dr. Lembke, who is

  20                  scheduled to testify, as you know, this

  21                  morning.

  22                        There is 239 documents identified on

  23                  that supplemental materials considered list

  24                  that we received at 4:40 yesterday.              I have

  25                  not even had an opportunity to review them,
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    1                          Frye Hearing - Dr. Lembke                          8

    2                 let alone determine whether we have access to

    3                 all those materials.

    4                       I understand they include materials from

    5                 1995, early 2000, materials that could have

    6                 been included and considered by her before

    7                 her deposition, before she submitted her

    8                 report.

    9                       We would ask, your Honor, that they not

  10                  be permitted to elicit any testimony or any

  11                  opinions that rely upon those materials or

  12                  address those materials in any way at the

  13                  hearing today, your Honor.           This is classic

  14                  sandbagging.      The discovery rules do not

  15                  permit for this, and so we would ask for that

  16                  relief, your Honor.

  17                        MR. HANLY:      Your Honor, they've had

  18                  these materials since August the 3rd when

  19                  they were disclosed in connection with the

  20                  West Virginia litigation.          So the notion that

  21                  they're just seeing them for the first time

  22                  now is simply not true.

  23                        The second point is, of course, as your

  24                  Honor knows, an expert's work, an expert's

  25                  opinions are not static.          They are dynamic,
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    1                          Frye Hearing - Dr. Lembke                           9

    2                 and they change over time, and many of these

    3                 materials were created subsequent to Dr.

    4                 Lembke's deposition in this case.              So we

    5                 really don't think that this is a serious

    6                 issue.

    7                        MS. STRONG:      Again, your Honor, I'm not

    8                 familiar with what has been disclosed in West

    9                 Virginia and what has not, but to get a list

   10                 of 239 documents at 4:50 the night before a

   11                 Frye examination is absolutely improper, your

   12                 Honor.

   13                        New York courts have plainly held that

   14                 the expert discovery rules are promulgated so

   15                 that no party will be sandbagged or

   16                 surprised, and that's plainly what this is.

   17                        And I do understand, your Honor, that

   18                 there are many documents.           I don't know the

   19                 totality because, as I said, I haven't looked

   20                 at the 239 documents, but I understand that

   21                 there are many that predate her deposition,

   22                 long predate her deposition.

   23                        THE COURT:     Okay.     In the event during

   24                 the course of the examination if, in fact,

   25                 there is reference to a contested exhibit,
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    1                          Frye Hearing - Dr. Lembke                           10

    2                 note your objection and I'll rule on it at

    3                 the time.

    4                        Apparently, through the course of these

    5                 hearings, although hundreds of exhibits have

    6                 been noted, very few have actually made their

    7                 way into the record.         So stay on your toes.

    8                        MS. STRONG:      All right.      I will, your

    9                 Honor.     I have to tell you it's hard to

   10                 discern that on the fly with over 700

   11                 initially identified by her and another 239,

   12                 so I'd like to have a standing objection at

   13                 that point, but we'll try to do our best in

   14                 that regard.

   15                        I don't know if Mr. Pyser or Mr. Carter

   16                 have additional points they would like to

   17                 make before we begin.

   18                        MR. PYSER:     Briefly, your Honor.          This

   19                 is Steve Pyser, for Cardinal Health.              Just on

   20                 the idea that we are aware of these because

   21                 they were disclosed in the West Virginia

   22                 litigation, not all Defendants here are in

   23                 the West Virginia litigation, first of all.

   24                        Second, there's an entirely different

   25                 expert report in the West Virginia
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    1                          Frye Hearing - Dr. Lembke                           11

    2                 litigation.

    3                        So if the idea is that we should expect

    4                 from this witness what she's testified in

    5                 West Virginia, that gets to the heart of the

    6                 problem, which is that she entered a report

    7                 in this case and should be testifying in line

    8                 with the report in this case, and because

    9                 there is a report in West Virginia that says

   10                 different things, that just can't be

   11                 bootstrapped into this case because there's a

   12                 materials considered list submitted at 4:39

   13                 p.m. the night before the Frye hearing.

   14                        That's just classic sandbagging, and

   15                 your Honor should strike it.

   16                        THE COURT:     Okay.     So noted.     Call a

   17                 witness.     I suggest you stay on your toes

   18                 also.    In the event an exhibit is mentioned

   19                 that you have a problem with, raise your

   20                 objection at that point.

   21                        And, in any event, you'll have a

   22                 standing objection as we proceed.

   23                        MS. STRONG:      Thank you, your Honor.

   24                        THE COURT:     Call a witness, please.

   25                        MR. HANLY:     Your Honor, the Plaintiffs
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    1                          Frye Hearing - Dr. Lembke                           12

    2                 call Dr. Anna Lembke, remotely.

    3                        THE COURT:     Good morning, Doctor.

    4                 Doctor, can you hear me?           Are you muted?

    5                 Your lips are moving, but I don't hear

    6                 anything.

    7                        DR. LEMBKE:      Yes, I'm muted.

    8                        THE COURT:     Swear the witness in,

    9                 please.

   10                        THE CLERK:     Yes.    Can you hear me?

   11                        DR. LEMBKE:      Yes, I can.

   12                        THE CLERK:     Please raise your right

   13                 hand.

   14                        (WHEREUPON, Dr. A-N-N-A          L-E-M-B-K-E,

   15                 having first been duly sworn by the Clerk of

   16                 the Court, testified as follows:)

   17                        THE CLERK:     Please state your name and

   18                 address for the record.

   19                        THE WITNESS:      Anna Lembke, 401 Quarry

   20                 Road, Stanford, California, 94305.

   21                        THE CLERK:     Thank you.

   22                        THE COURT:     And, Dr. Lembke, good

   23                 morning again.       I give all witnesses a few

   24                 pointers that can expedite these hearings.

   25                        Of course you're going to be asked some
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    1                          Frye Hearing - Dr. Lembke                           13

    2                 questions this morning, and I suggest that

    3                 you limit your answer to the information

    4                 sought by the question.

    5                        For example, if I were on the witness

    6                 stand and I was asked on what street do I

    7                 live, I would simply volunteer the name of

    8                 the street.      I wouldn't give the town, the

    9                 state or the ZIP code because that

   10                 information is not sought.

   11                        Number 2, although in life it is not

   12                 polite to commence an answer before a

   13                 question is complete, because we save time

   14                 that way; however, as you probably know

   15                 already, in court we require a complete

   16                 stenographic record of all the questions and

   17                 the answers.

   18                        So even though you know exactly where a

   19                 question is going, wait for the question to

   20                 be complete before you commence your answer.

   21                        And, number 3, in the event you hear the

   22                 word "objection" or anything that sounds like

   23                 "objection," just stop until you get

   24                 direction from the Court; fair enough?

   25                        THE WITNESS:      Yes.
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    1                          Frye Hearing - Dr. Lembke                           14

    2                        THE COURT:     Got it.     Good.     You may

    3                 proceed.

    4                        MR. HANLY:     Thank you, your Honor.

    5        DIRECT EXAMINATION

    6        BY MR. HANLY:

    7                 Q.     Good morning, Dr. Lembke.

    8                 A      Good morning.

    9                 Q.     It's early morning where you are; is

   10        that correct?

   11                 A      Yes, it is.

   12                 Q.     You are in your offices at Stanford

   13        University School of Medicine?

   14                 A      Yes.

   15                 Q.     Now, you and I have met before, correct?

   16                 A      Yes.

   17                 Q.     I presented you in court before Judge

   18        Polster some years ago in connection with the opioid

   19        litigation; do you recall that?

   20                 A      Yes, I do.

   21                 Q.     All right.     Now, just as a road map for

   22        where we're gonna go, today we're going to be

   23        talking principally about methodology, and in order

   24        to start us off on what I hope is the right foot,

   25        we're going to put up on the screen the nine
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    1                          Frye Hearing - Dr. Lembke                           15

    2        opinions that you intend to testify to as and when

    3        this case goes to trial, okay?

    4                 A      Yes.

    5                 Q.     Then thereafter, we'll go through your

    6        qualifications, we'll go through the methodologies,

    7        and hopefully this will all be over in a reasonable

    8        period of time; fair enough?

    9                 A      Yes.

   10                        MR. HANLY:     All right.      Could we put up

   11                 Slide Number 1, please.

   12                 Q.     Doctor, can you see Slide Number 1?

   13                 A      Yes.

   14                 Q.     All right.     And is this a list of the

   15        nine opinions that you discuss in your report in

   16        this case?

   17                 A      Yes.

   18                 Q.     All right.     And is there anything about

   19        this list which is substantively different from the

   20        list of opinions in your report?

   21                 A      No.

   22                 Q.     All right.     Just to go through them very

   23        briefly, and I'm just going to paraphrase, your

   24        Opinion Number 1 is going to be that addiction is a

   25        chronic illness; Opinion Number 2 that opioid
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    1                          Frye Hearing - Dr. Lembke                           16

    2        prescribing grows fourfold starting in the '90s,

    3        which increased the supply of deadly opioids;

    4        Opinion Number 3 is that the opioid industry misled

    5        doctors into believing that opioids are more

    6        effective and safer than they really are.                You then

    7        give some examples there.

    8                        Opinion Number 4 is that there's no

    9        reliable evidence that opioids work for what's

   10        called chronic pain.         5 is the increased supply

   11        contributed to more individuals becoming addicted to

   12        opioids; 6 is increased supply contributed to more

   13        individuals, including newborns becoming dependent

   14        on opioids.

   15                        Number 7, increased supply contributed

   16        to more diversion of prescription opioids; Number 8,

   17        the increased supply of opioids through legal and

   18        illegal sources resulted in the opioid epidemic; and

   19        Opinion Number 9 is the opioid epidemic would not

   20        have occurred without the pharmaceutical opioid

   21        industry's misleading promotion of opioids.

   22                        Did I read those correctly, paraphrasing

   23        in part?

   24                 A      Yes, you did.

   25                 Q.     All right.     And those are the, in sum
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    1                          Frye Hearing - Dr. Lembke                           17

    2        and substance, those are identical to the opinions

    3        listed in your report; is that true?

    4                  A     Yes, that is true.

    5                  Q.    Okay.    You can take that slide down,

    6        please.

    7                        Okay.    Doctor, you are currently

    8        Associate Professor and Chief of the Addiction

    9        Medicine Dual Diagnosis Clinic.            You are Medical

   10        Director of Addiction Medicine and Program Director

   11        of the Addiction Medicine Fellowship within the

   12        Department of Psychiatry and Behavioral Sciences at

   13        Stanford University School of Medicine; is that

   14        true?

   15                  A     Yes.

   16                  Q.    Now, in that --

   17                        THE COURT:     Mr. Hanly, I don't mean to

   18                  interrupt you.      I overlooked placing

   19                  something on the record.

   20                        MR. HANLY:     Yes, your Honor.

   21                        THE COURT:     This applies to everybody

   22                  here and anyone who may be listening through

   23                  a live stream.      That's the rules of the Chief

   24                  Judge, Part 29, Section 29(1), the general

   25                  taking of photographs, films, or videotapes,
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    1                          Frye Hearing - Dr. Lembke                           18

    2                 or audiotaping, broadcasting or telecasting

    3                 in a courthouse, including any courtroom --

    4                 and just for the record, the Court considers

    5                 the locations where this is being live

    6                 streamed to be part of our courtroom --

    7                 office or hallway thereof, at any time or at

    8                 any occasion, whether or not the Court is in

    9                 session, is forbidden, unless permission of

   10                 the Chief Administrator of the courts or a

   11                 designee of the Chief Administrator is

   12                 obtained.

   13                        So you may observe the proceedings, but

   14                 you may not record them, take photographic

   15                 images, et cetera.         Okay.    Thank you.      I'm

   16                 sorry, sir.

   17                        MR. HANLY:     May I proceed, your Honor?

   18        BY MR. HANLY:

   19                 Q.     Dr. Lembke, among your titles is the

   20        Chief of Addiction Medicine within the Dual, dual as

   21        in two, Diagnosis Clinic, true?

   22                 A      Yes.

   23                 Q.     And in that context, dual diagnosis

   24        refers to a psychiatric condition on the one hand,

   25        and a substance use disorder on the other, true?
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    1                          Frye Hearing - Dr. Lembke                           19

    2                 A      That is true, yes.

    3                 Q.     All right.     Now, you've been on the

    4        faculty at Stanford University School of Medicine

    5        since approximately 2003?

    6                 A      Yes.

    7                 Q.     All right.     And in terms of your

    8        background, you did your undergraduate work at an

    9        obscure university called Yale?

   10                 A      Yes.

   11                 Q.     And you did your medical degree at

   12        Stanford University, correct?

   13                 A      Yes.

   14                 Q.     You did a partial residency in pathology

   15        at Stanford, true?

   16                 A      Yes.

   17                 Q.     And following that, a full residency in

   18        psychiatry at Stanford?

   19                 A      Yes.

   20                 Q.     And following that, a fellowship in mood

   21        disorders within the Department of Psychiatry and

   22        Behavioral Sciences, true?

   23                 A      Yes.

   24                 Q.     You are licensed to practice medicine in

   25        the state of California --
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    1                          Frye Hearing - Dr. Lembke                           20

    2                 A      Yes.

    3                 Q.     -- since 1995?

    4                 A      Yes.

    5                 Q.     You actually received a waiver from the

    6        Drug Enforcement Administration to prescribe

    7        buprenorphine products, true?

    8                 A      Yes.

    9                 Q.     And what, what is the circumstance under

   10        which you would prescribe buprenorphine, and you do

   11        prescribe buprenorphine products?

   12                 A      I prescribe buprenorphine for patients

   13        who have opioid use disorder, a term for opioid

   14        addiction as well as for some patients with severe

   15        opioid dependence.

   16                 Q.     Buprenorphine is itself an opioid

   17        product, true?

   18                 A      Yes, it is.

   19                 Q.     You're Board Certified, true?

   20                 A      Yes.

   21                 Q.     In psychiatry and neurology?

   22                 A      Yes.

   23                 Q.     And you are also Board Certified by the

   24        American Board of Addiction Medicine; is that true?

   25                 A      Yes.
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    1                          Frye Hearing - Dr. Lembke                           21

    2                 Q.     And I'm sure Justice Garguilo knows what

    3        Board Certified means, but essentially it means that

    4        peers within the same area of work as you come

    5        together and vote to give you or not give you a

    6        certificate demonstrating your expertise in the

    7        particular area; is that a fair description?

    8                 A      Well, it's not really a vote by peers.

    9        It's -- you have to complete additional training to

   10        get expertise in a certain area.             And then typically

   11        you have to sit for and pass a board exam.

   12                 Q.     Okay.    But there is a board that

   13        actually certifies, true?

   14                 A      Yes.

   15                 Q.     All right.     Now, you teach medical

   16        students at Stanford; isn't that right?

   17                 A      Yes.

   18                 Q.     And you've been doing so for nearly 20

   19        years?

   20                 A      That's correct.

   21                 Q.     And you've been recognized for your

   22        excellence in teaching on two occasions; is that

   23        true?

   24                 A      Yes.

   25                 Q.     You also maintain an active clinical
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    1                          Frye Hearing - Dr. Lembke                           22

    2        practice, true?

    3                 A      Yes.

    4                 Q.     And in your clinical practice, a

    5        significant portion of your students are -- sorry --

    6        of your patients are patients who have been taking

    7        prescription opioids for pain relief and have

    8        developed some sort of a use disorder; is that true?

    9                 A      Yes.

   10                 Q.     And how many such patients would you say

   11        you have treated in the last 20 years or so that

   12        you've been treating them?

   13                 A      Well, I haven't kept count, but it's

   14        certainly scores of patients over many years.

   15                 Q.     Scores did you say?

   16                 A      Yes.

   17                 Q.     All right.     Now, we're going to hear a

   18        bit about some terms that you are very familiar

   19        with, but perhaps the Court and others are not.

   20                        Can you just briefly explain to the

   21        Court what is meant in the context of addiction

   22        medicine by the term misuse?

   23                 A      In the context of addiction medicine,

   24        misuse means taking a prescribed medication in a way

   25        other than intended by the doctor who prescribed it.
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    1                          Frye Hearing - Dr. Lembke                           23

    2                 Q.     Okay.    And how about --

    3                 A      That's a very broad definition.

    4                 Q.     That's all --

    5                 A      Not specific, but...

    6                 Q.     Thank you, Doctor.        That's all I'm

    7        asking is a very broad and brief definition so we

    8        can orient the Court in terms of your further

    9        examination, okay?

   10                 A      Yes.

   11                 Q.     And the term "dependence," what does

   12        that mean in the context of addiction medicine?

   13                 A      That refers to patients specifically

   14        with opioid dependence for first the patients who

   15        have been taking opioids daily for long periods of

   16        time who physiologically adapt to the presence of

   17        the molecule such that if they reduce their dose or

   18        stop it altogether, they experience opioid

   19        withdrawal.

   20                 Q.     And the term "addiction," how is that

   21        term used in your field?

   22                 A      So addiction is a complex

   23        biopsychosocial disease that can broadly be defined

   24        as the continued compulsive use of a substance

   25        despite harm to self and/or others.
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    1                          Frye Hearing - Dr. Lembke                           24

    2                 Q.     And without getting too technical, is

    3        there a relationship between that term addiction

    4        that you've just defined and something called opioid

    5        use disorder, O-U-D?

    6                 A      Yes.    So opioid use disorder is the

    7        terminology used in the Diagnostic and Statistical

    8        Manual of Mental Disorders in the latest edition,

    9        and it's essentially synonymous with addiction.

   10                 Q.     Now, in working with the patients in

   11        your clinic, you develop treatment plans to deal

   12        with opioid use disorder, or addiction, or

   13        dependence, or misuse?

   14                 A      Yes.

   15                 Q.     And those treatment plans can include

   16        nonopioid medications, true?

   17                 A      Yes.

   18                 Q.     Also nondrug plans of rehabilitation, if

   19        you will?

   20                 A      Yes, correct.

   21                 Q.     Now, you also hold a position in the

   22        Stanford Department of Anesthesiology and Pain

   23        Medicine, true?

   24                 A      Yes.    I have a courtesy appointment in

   25        anesthesiology and pain medicine.
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    1                          Frye Hearing - Dr. Lembke                           25

    2                 Q.     And the courtesy appointment does,

    3        however, enable you to treat pain patients, correct?

    4                 A      Yes.

    5                 Q.     Now, over the years of your career, is

    6        there a body of scientific and medical literature

    7        that you have studied to understand the relationship

    8        among pain, dependence, and addiction?

    9                 A      Yes.

   10                 Q.     And have you personally contributed to

   11        that body of literature?

   12                 A      Yes, I have.

   13                 Q.     Have you written peer -- what are called

   14        peer-reviewed papers in that area?

   15                 A      Yes.

   16                 Q.     For the record, peer review refers to

   17        the process by which an author submits her

   18        manuscript to a particular scientific journal or

   19        journals, and the journal then sends the paper to

   20        other experts in the field to determine whether the

   21        paper is worthy of publication in that particular

   22        journal.      Is that a fair description of peer review?

   23                 A      Yes.

   24                 Q.     Now, in addition to peer-reviewed

   25        papers, you've also written a book concerning
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    1                          Frye Hearing - Dr. Lembke                           26

    2        opioids and addiction, true?

    3                 A      Yes.

    4                 Q.     And I'm holding up -- can you actually

    5        see me, Doctor?

    6                 A      Yes, yes, I can.

    7                 Q.     So I'm holding up rather awkwardly a

    8        book that you have published called Drug Dealer M.D.

    9        That is your book, correct?

   10                 A      That's correct.

   11                 Q.     Okay.    And this book was published in

   12        2016, true?

   13                 A      Yes.

   14                 Q.     And 2016 was prior to the time that you

   15        first came to work with lawyers in connection with

   16        the opioid litigation, true?

   17                 A      Yes.

   18                 Q.     Your book was published, for example,

   19        before you and I even met, true?

   20                 A      Yes.

   21                 Q.     Now, has this book received some

   22        positive press, if you will?

   23                 A      Yes.

   24                 Q.     And, in fact, the New York Times

   25        selected it as one of the top five books to read if
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    1                          Frye Hearing - Dr. Lembke                           27

    2        you wish to understand the opioid epidemic and how

    3        we got to where we are today, true?

    4                 A      Yes.

    5                 Q.     Now, you began to treat patients with

    6        substance abuse issues in the late 1990s, true?

    7                 A      That's correct.

    8                 Q.     And the substances that your patients

    9        were abusing included prescription painkillers,

   10        true?

   11                 A      Yes.

   12                 Q.     Prescription benzodiazepines?

   13                 A      Yes.

   14                 Q.     Alcohol, true?

   15                 A      Yes.

   16                 Q.     Tobacco?

   17                 A      Yes.

   18                 Q.     Marijuana?

   19                 A      Yes.

   20                 Q.     A panoply of addictive substances, true?

   21                 A      That's correct.

   22                 Q.     Now, had some of those patients that you

   23        treated received opioid prescriptions from their own

   24        doctors?

   25                 A      Yes, the majority.
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    1                          Frye Hearing - Dr. Lembke                           28

    2                 Q.     And they presented to you with some sort

    3        of a substance use disorder; is that true?

    4                 A      That's right.

    5                 Q.     Following the lawful prescription to

    6        them by their own physicians, true?

    7                 A      That's correct.

    8                 Q.     Did the book that you published include

    9        any information about prescription opioid deaths

   10        among New York Medicaid patients?

   11                 A      Yes, it did.

   12                 Q.     And do you recall what your research

   13        showed about New York Medicaid patients who had been

   14        prescribed opioids?

   15                 A      It showed that New York Medicaid

   16        patients are more likely to be prescribed an opioid

   17        than the non-Medicaid patients and more likely to

   18        die of an opioid overdose.

   19                 Q.     Now, is reading the medical literature,

   20        a literature written by persons other than yourself,

   21        is that a standard part of your practice as a doctor

   22        and as a professor at Stanford University?

   23                 A      Yes, it is.

   24                 Q.     Why is that?      Why is that a standard

   25        methodology in your work?
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    1                          Frye Hearing - Dr. Lembke                           29

    2                 A      I need to read the medical literature to

    3        stay up to date on the science, and to take good

    4        care of my patients, and also to teach medical

    5        students, Stanford undergraduates and physicians in

    6        training, residents and fellows.

    7                 Q.     Let me ask you about those students.              Do

    8        you develop a curriculum for those students?

    9                 A      Yes.

   10                 Q.     Is there any relationship between the

   11        curriculum that you develop and the medical

   12        literature written by persons other than yourself?

   13                 A      My curriculum is formed by my review of

   14        the best evidence in the medical literature.

   15                 Q.     All right.     Now, in addition to the work

   16        you've described thus far, were you ever appointed

   17        to any panels within the state of California dealing

   18        with opioid misuse?

   19                 A      Yes.    I was appointed to the research

   20        advisory panel of California by Governor Jerry

   21        Brown.

   22                 Q.     And what was the upshot of that panel?

   23                 A      Our role was mainly to assist the safety

   24        of clinical trials being conducted in the State of

   25        California.
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    1                          Frye Hearing - Dr. Lembke                           30

    2                 Q.     Now, you used the term safety.            That's a

    3        term that we hear a lot of in the context of

    4        prescription medications, true?

    5                 A      Yes.

    6                 Q.     Safety and efficacy are two interrelated

    7        concepts in the pharmaceutical world, true?

    8                 A      Yes.

    9                 Q.     And those are, those are two concepts

   10        that the FDA pays particular attention to in respect

   11        to prescription medications, true?

   12                 A      Yes.

   13                 Q.     Do safety and efficacy relate to

   14        something called a risk-benefit profile?

   15                 A      Yes.

   16                 Q.     And just very briefly describe for

   17        Justice Garguilo what that risk-benefit profile is

   18        in the context of opioids.

   19                 A      So with opioids, it's just essential to

   20        assess whether or not the safety of the opioid in a

   21        given patient is -- whether or not the benefits in

   22        that patient outweigh any risks or unintended

   23        adverse medical consequences.

   24                 Q.     Okay.    Is it fair to say that safety and

   25        efficacy are key concepts in the context of
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    1                          Frye Hearing - Dr. Lembke                           31

    2        prescription medications?

    3                  A     Yes.

    4                  Q.    And in the context of prescription

    5        opioid medications?

    6                  A     Yes.

    7                  Q.    Now, in reaching the conclusions that

    8        are discussed throughout your book published in

    9        2016, did you apply the same methodology in reaching

   10        those conclusions that you use in your professional

   11        work as a scientific researcher and a medical

   12        doctor?

   13                  A     Yes, I did.

   14                  Q.    And let me ask you this:          Are you

   15        familiar with something known as a pharmaceutical

   16        sales representative detailing?

   17                  A     I'm sorry.     I didn't catch the last

   18        word.

   19                  Q.    Are you familiar with something known as

   20        pharmaceutical sales representative detailing?

   21                  A     Yes, I am.

   22                  Q.    All right.     And is it fair to say that

   23        that's the circumstance where a pharmaceutical

   24        company sales representative goes into a doctor's

   25        offices or other healthcare providers offices and
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    1                          Frye Hearing - Dr. Lembke                           32

    2        discusses, presents to the healthcare provider

    3        purported information about particular drugs?

    4                 A      Yes, that's correct.

    5                 Q.     Now, in writing your book, did you --

    6        did you have regard to any information concerning

    7        sales representative representations about opioids

    8        made to healthcare providers?

    9                 A      Yes.

   10                 Q.     You had access to materials in the

   11        public domain concerning the kinds of statements and

   12        documents that were being provided by sales

   13        representatives, opioid sales representatives to

   14        healthcare providers?

   15                 A      Yes.

   16                 Q.     These were documents that predated the

   17        documents you received from the lawyers in

   18        connection with the various opioid litigations,

   19        true?

   20                 A      Yes.

   21                 Q.     Okay.    Now, since you were -- began to

   22        do some work for the lawyers in the opioid

   23        litigations, you were provided with internal company

   24        documents concerning those promotional messages,

   25        true?
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    1                          Frye Hearing - Dr. Lembke                           33

    2                 A      That is correct.

    3                 Q.     And you reviewed all of that material?

    4                 A      Yes.

    5                 Q.     And did you reach conclusions concerning

    6        the truth or falsity of those messages?

    7                 A      Yes, we did.

    8                 Q.     In reaching those conclusions, did you

    9        use the same methodology you have used historically

   10        as a scientific researcher and a medical doctor in

   11        the sphere of addiction medicine?

   12                 A      Yes.

   13                 Q.     That methodology, that series of steps

   14        didn't change in any way as between pre litigation,

   15        for example, and the work you've done in the

   16        litigation?

   17                 A      No, it did not change.

   18                 Q.     Okay.    Now, have you undertaken any sort

   19        of a program designed to correct any

   20        misrepresentations that pharmaceutical sales

   21        representatives made to healthcare providers in the

   22        United States?

   23                 A      Yes.

   24                 Q.     And do you call that program academic

   25        detailing in contrast to pharmaceutical sales rep
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    1                          Frye Hearing - Dr. Lembke                           34

    2        detailing?

    3                 A      Yes, I do.

    4                 Q.     And in the course of -- and the nature

    5        of that academic detailing program that you, that

    6        you engage in, you actually go around the country

    7        from time to time and provide lectures and other

    8        support to healthcare providers to deal with the

    9        potential misinformation they may have received from

   10        the drug companies, true?

   11                 A      Yes.

   12                 Q.     And you've actually done this academic

   13        detailing, among other places, right here in the

   14        State of New York, true?

   15                 A      Yes.

   16                 Q.     And you've received thanks from the

   17        various healthcare providers for presenting this

   18        information correcting misinformation; is that

   19        correct?

   20                 A      Yes.

   21                 Q.     You've been invited to many different

   22        conferences and speaking opportunities throughout

   23        the United States to provide this academic

   24        detailing, true?

   25                 A      Yes.
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    1                          Frye Hearing - Dr. Lembke                           35

    2                 Q.     And do you continue to do that work

    3        today?

    4                 A      Yes, I do.

    5                 Q.     And how many such talks, presentations,

    6        meetings would you say you've had since the

    7        publication of your book in 2016?

    8                 A      I've had over 100 live speaking

    9        engagements since the publication of my book in

   10        2016.

   11                 Q.     Okay.    I want to turn now to -- among

   12        your peer-reviewed materials, you published a

   13        research letter that looked at the patterns of

   14        opioid prescribing under the federal Medicare

   15        program, is that true?

   16                 A      Yes.

   17                 Q.     And what you want to look at was how

   18        many scripts are being written for Medicare

   19        beneficiaries over any particular period of time,

   20        correct?

   21                 A      That's correct.

   22                 Q.     And tell Justice Garguilo what your work

   23        discovered concerning prescribing under the Medicare

   24        program.

   25                 A      We found that over one-third of Medicare
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    1                          Frye Hearing - Dr. Lembke                           36

    2        Part D patients is prescribed an opioid in any given

    3        year.

    4                 Q.     In addition to what we've already

    5        discussed, have you provided any other public health

    6        service, such as consultation with any congressional

    7        bodies or with the White House?

    8                 A      Yes.

    9                 Q.     Just very briefly, what did you do in

   10        that context?

   11                 A      I testified before lawmakers in

   12        Washington regarding opioid safety and efficacy of

   13        opioids.      I've been to White House meetings convened

   14        to address how to target and abate the opioid

   15        epidemic.

   16                        I've talked with governors and other

   17        lawmakers in states across the country regarding the

   18        opioid problem.

   19                 Q.     Okay.    Now I want to turn to discuss a

   20        bit with you the methodology that underlies the

   21        actual opinions in this case, okay?

   22                 A      Yes.

   23                 Q.     All right.     Now, you already testified

   24        that in, that in writing your book, you used the

   25        same series of steps, methodology that you use in
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    1                          Frye Hearing - Dr. Lembke                           37

    2        your, in your scientific work and in your clinical

    3        practice, correct?

    4                 A      Yes.

    5                 Q.     And in reaching the opinion which we saw

    6        in Slide Number 1 of the nine opinions in this case,

    7        you reviewed scientific and medical literature

    8        concerning opioids papers that were written by folks

    9        other than you, correct?

   10                 A      Yes.

   11                 Q.     And how many such papers in connection

   12        with this litigation -- and by this litigation I

   13        mean not only this case but the other cases in which

   14        you've been engaged -- would you say you looked at

   15        concerning opioids?

   16                 A      I've reviewed over 600 papers regarding

   17        opioids in the medical literature for this

   18        litigation.

   19                 Q.     Okay.    Now, when you say you reviewed

   20        the 600 or so papers, let me ask you, first of all,

   21        all of these papers or virtually all of these

   22        papers, they have at the front something that's

   23        called an abstract, right?

   24                 A      Yes.

   25                 Q.     And that's like a little summary of what
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    1                          Frye Hearing - Dr. Lembke                           38

    2        the whole paper is gonna be about, correct?

    3                 A      Yes.

    4                 Q.     So in looking at the 600 papers, did you

    5        just take a look at the abstract and move on?

    6                 A      No.    My methodology is founded in

    7        in-depth analysis of these papers in order to

    8        determine whether or not the information in the

    9        abstract summary is reflected in the rest of the

   10        paper and supported by the data that the authors put

   11        forth.

   12                        I'm also very careful to look at things

   13        like any conflicts of interest that the authors may

   14        have and also who funded the study.

   15                 Q.     Well, let me see if I understand this.

   16                        Are you saying that the abstract which

   17        summarizes the paper in some instances might not be

   18        accurate as a summary?

   19                 A      I'm saying that the abstract in my

   20        research has shown that an abstract doesn't

   21        necessarily reflect the true state of the data that

   22        the authors put forth, nor does it necessarily

   23        reflect an appropriate summative conclusion derived

   24        from the data which is relevant because most

   25        healthcare providers, busy clinicians almost always
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    1                          Frye Hearing - Dr. Lembke                           39

    2        -- I won't say almost always, but very often just

    3        read the abstract.

    4                  Q.    So do I gather from your answer, Doctor,

    5        that in reviewing the 600 papers in connection with

    6        the opioid litigation, you actually read every page

    7        of every study?

    8                  A     Yes.

    9                  Q.    So we have an example of what you just

   10        testified to.       Could we put up Slide Number 2,

   11        please?

   12                        Doctor, can you see that slide?

   13                  A     Yes, I can.

   14                  Q.    Now, correct me if I'm wrong, this is a

   15        part, a pullout, if you will, from a paper by a

   16        Dr. Chou, C-H-O-U, that you reviewed as part of your

   17        work in connection with this case, correct?

   18                  A     That's correct.       It's by a large number

   19        of authors.      Dr. Chou is the first author.

   20                  Q.    Correct.     And so what we're seeing here

   21        is we've pulled out the abstract, and you've

   22        actually highlighted a part of the abstract that

   23        reads, "Chronic opioid therapy can be an effective

   24        therapy for carefully selected and monitored

   25        patients with chronic non-cancer pain."
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    1                          Frye Hearing - Dr. Lembke                           40

    2                        Do you see that?

    3                 A      Yes.

    4                 Q.     And why did you highlight that as part

    5        of your testimony here today?

    6                 A      I highlighted that because that

    7        statement is not reflective of the evidence, and I

    8        think it would be misleading for many readers if

    9        they only read the abstract.

   10                        Furthermore, the recommendations of the

   11        authors are -- and I highlighted the strong

   12        recommendation for the use of chronic opioid therapy

   13        in the treatment of chronic non-cancer pain, which

   14        they then briefly qualify with the words "low

   15        quality evidence," which is strange that they would

   16        have a strong recommendation for a treatment that

   17        has low quality evidence.

   18                        Furthermore, reading more in depth, it

   19        becomes evident that the authors themselves know.

   20        That the evidence is insufficient, the evidence for

   21        the use of opioids in treatment of chronic

   22        non-cancer pain is insufficient to assess the

   23        effects on health outcomes which is that third box

   24        pulled out below.

   25                        It's also worth mentioning that that low
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    1                          Frye Hearing - Dr. Lembke                           41

    2        quality information is in an appendix of the

    3        article.      So you really have to go digging for it.

    4                        THE COURT:     Excuse me.      Doctor, who

    5                 prepares the abstract, the author or someone

    6                 else?

    7                        THE WITNESS:      The abstract is prepared

    8                 by the authors.

    9                        THE COURT:     Okay.     Thank you.

   10        BY MR. HANLY:

   11                 Q.     And, Doctor, essentially what you are

   12        calling out is the inconsistency between the

   13        sentence in the abstract that says, "Chronic opioid

   14        therapy can be effective" and the sentence at the

   15        very bottom that says, "Evidence is insufficient to

   16        assess effects on health outcomes," true?                That

   17        stuff --

   18                 A      Yes.    Yes.   And this is a pattern that

   19        repeats itself throughout the medical literature

   20        when looking at the data on opioids use for chronic

   21        pain.

   22                 Q.     Now, there's something else about this

   23        paper, is there not, that caught your attention?

   24        Could we have Slide Number 3, please?

   25                        And this is from the appendix.            It's a
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    1                          Frye Hearing - Dr. Lembke                           42

    2        little hard to read, but this is the list of panel

    3        members who participated in the promulgation of this

    4        paper, true?

    5                 A      Yes.    So it is standards that all

    6        authors who publish in peer-reviewed journals must

    7        declare their financial conflicts of interest.                 And

    8        what's notable here is that more than half of the

    9        authors in this 2009 publication who strongly

   10        recommended the use of opioids in the treatment of

   11        chronic pain, despite weak and insufficient

   12        evidence, were, in fact, receiving financial fees,

   13        consultative fees from the opioid industry.

   14                 Q.     Okay.    And, in fact, we see here under

   15        Dr. Perry Fine, he discloses that he serves on

   16        advisory boards for a number of different companies,

   17        including Johnson & Johnson, Purdue Pharma and Endo.

   18        Do you see that?

   19                 A      Yes.

   20                        THE COURT:     Apparently -- correct me if

   21                 I'm wrong -- Dr. Fine and Dr. Portnoy appear

   22                 in the original, in the original Complaint --

   23                        MR. HANLY:     Precisely, your Honor.

   24                        THE COURT:     -- as Defendants.

   25                        MR. HANLY:     As Defendants, that's
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    1                          Frye Hearing - Dr. Lembke                           43

    2                 correct.

    3        BY MR. HANLY:

    4                 Q.     And as the Court already noted, we have

    5        Dr. Portnoy there in the box below, and Dr. Portnoy

    6        discloses consulting agreements with an extensive

    7        list of pharmaceutical companies estimated to work

    8        with four to five within a three-year period, et

    9        cetera, correct?

   10                 A      Yes.

   11                 Q.     And is this in-depth analysis of

   12        scientific literature published by folks other than

   13        yourself, is that a standard method in order to

   14        reach conclusions about, for example, the

   15        effectiveness of opioids for chronic pain?

   16                 A      Yes.

   17                 Q.     And is that the methodology that you

   18        followed as part of getting to your opinions in this

   19        case and your opinions in your pre litigation book?

   20                 A      Yes.

   21                 Q.     Now, in looking at these 600 papers that

   22        you looked at -- I'm finished with that slide.

   23        Thank you.

   24                        In selecting the papers to review, the

   25        600 or so, did you exclude papers that contained
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    1                          Frye Hearing - Dr. Lembke                           44

    2        views that disagreed with yours?

    3                 A      No.

    4                 Q.     Why did you include papers which

    5        disagreed with yours as part of your methodology?

    6                 A      Well, those are the papers that would be

    7        important for me to look at even more closely to

    8        understand how those authors came to conclusions

    9        that seem to be going in a direction different from

   10        the conclusions that I'm deriving from the evidence.

   11                 Q.     All right.     Now, did you review

   12        something that's become known, become legendary, if

   13        you will, in this litigation called the Porter and

   14        Jick letter?

   15                 A      Yes.

   16                        MR. HANLY:     Could we put up Slide Number

   17                 4, please?

   18        BY MR. HANLY:

   19                 Q.     Now, Doctor, can you see that screen?

   20                 A      Yes, I can.

   21                 Q.     This is the entirety of the Porter and

   22        Jick paper, true?

   23                 A      Yes.     I wouldn't even call it a paper.

   24        It's a letter to the editor.

   25                 Q.     Right.     It's an 11 line, five sentence
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    1                          Frye Hearing - Dr. Lembke                           45

    2        letter to the editor from the New England Journal of

    3        Medicine in 1980 that essentially was a review of

    4        some 12,000 patient hospital charts to see whether

    5        in those charts the healthcare provider had noted

    6        any signs of addiction to the narcotic drugs that

    7        had been administered to those 12,000 patients,

    8        correct?

    9                 A      Yes.

   10                 Q.     This letter has been cited close to a

   11        thousand times in the medical literature since 1980,

   12        true?

   13                 A      Yes.

   14                 Q.     This letter was used by the

   15        pharmaceutical opioid manufacturers to support the

   16        idea that addiction in patients taking opioids was

   17        extremely rare, true?

   18                        MS. STRONG:      Objection, your Honor.

   19                        THE COURT:     There's an objection.

   20                 What's the nature of the objection?

   21                        MS. STRONG:      Your Honor, it's leading.

   22                 I know we're being very lenient with leading,

   23                 but when it comes to feeding the expert

   24                 substantive components of the opinion, I

   25                 would ask that they not lead, your Honor.
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    1                          Frye Hearing - Dr. Lembke                           46

    2                        THE COURT:     I agree.      Rephrase the

    3                  question.

    4                        MR. HANLY:     Sure thing.

    5        BY MR. HANLY:

    6                  Q.    Dr. Lembke, employing your usual

    7        methodology for examining a scientific publication,

    8        did you use that methodology in connection with this

    9        letter to the editor?

   10                  A     Yes.

   11                  Q.    And can you tell the Court what history

   12        teaches happened after the publication of this

   13        letter?

   14                  A     Well, I think it's important to note,

   15        first, that in my review of the medical literature,

   16        I saw this article frequently cited.              I also saw it

   17        cited in promotional material from the opioid

   18        industry.

   19                        But what's important to note about this

   20        data point is that it's a very low quality piece of

   21        evidence.      It's not purely a peer-reviewed paper.

   22        It's a letter to the editor.           It's not

   23        representative of the types of patients who are --

   24        have become dependent on and addicted to opioids in

   25        the United States today.
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    1                          Frye Hearing - Dr. Lembke                           47

    2                        These are hospitalized patients, many of

    3        who received a single dose of an opioid administered

    4        by a healthcare provider.          This is not a reliable

    5        piece of evidence to consider the risk of addiction

    6        in ambulatory outpatients receiving opioids in large

    7        quantities for long duration.

    8                        Nonetheless, this paper had a huge

    9        influence on opioid prescribing and the healthcare

   10        perspective on the safety of opioids in the

   11        treatment of pain such that it contributed to an

   12        increase in opioid prescribing.

   13                        MR. HANLY:     Thank you, Doctor.         You can

   14                 take that slide down now, please.

   15        BY MR. HANLY:

   16                 Q.     Now, during the course of your work in

   17        this case, Doctor, we've already established that

   18        you looked at certain materials provided to you by

   19        the Plaintiffs' lawyers from the Defendants internal

   20        files concerning statements about the safety and

   21        efficacy of opioids, true?

   22                 A      Yes.

   23                 Q.     And did you, as part of your work in

   24        this case, did you compare those documents, the

   25        statements in those documents with the medical
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    1                          Frye Hearing - Dr. Lembke                           48

    2        literature to see whether the statements made by the

    3        manufacturers were consistent with the medical

    4        literature?

    5                  A     Yes, I did.

    6                  Q.    And what did you, as part of your

    7        methodology, what did you discover?

    8                  A     I discovered that there were many

    9        inconsistencies in terms of what the promotional

   10        material was saying about the safety and efficacy

   11        and what the evidence was saying about safety and

   12        efficacy.

   13                  Q.    Now, in addition to your review of the

   14        published medical literature by doctors other than

   15        yourself, did you -- in forming your opinions in

   16        this case, did you rely on your clinical experience

   17        treating patients with pain and substance use

   18        issues?

   19                  A     Yes.

   20                  Q.    And can you just briefly explain how

   21        your personal professional experience figured into

   22        the methodology that underlies the opinions you give

   23        -- you intend to give, with the Court's permission,

   24        in this case?

   25                  A     So I observed thousands of patients over
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    1                          Frye Hearing - Dr. Lembke                           49

    2        the past 20 years becoming addicted to prescription

    3        opioids, and I went to the medical literature to see

    4        whether or not there was evidence to support my

    5        clinical experience, whether my clinical experience

    6        was not based in evidence.           And when my clinical

    7        experience seemed to be divergent from the evidence,

    8        I tried to figure out what I might be missing in

    9        terms of my clinical impression.

   10                        So the medical science was very

   11        important, touchstone in terms of evaluating my

   12        clinical experience.

   13                 Q.     Okay.    You used the term evidence a

   14        couple of times in your answer and his Honor, I

   15        believe, has heard of the concept of evidence-based

   16        medicine.     Is that a concept you're familiar with?

   17                 A      Yes, it is.

   18                 Q.     And, very briefly, what does that

   19        concept connote?

   20                 A      Evidence-based medicine speaks to the

   21        idea that when we ground medical practice in science

   22        we will have better medical care.             So it's important

   23        to, you know, clinical experience is important, but

   24        it's important to reflect on our clinical experience

   25        in the context of the scientific evidence.
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    1                            Frye Hearing - Dr. Lembke                         50

    2                  Q.      And do you, as part of your methodology

    3        in this case, did you -- did you employ

    4        evidence-based medicine?

    5                  A       Yes.

    6                  Q.      Now, let me ask you, in applying your

    7        methodology to reach your opinions in this case, did

    8        you determine whether you were able to state those

    9        opinions to a reasonable degree of scientific and

   10        medical certainty?

   11                  A       Yes.

   12                  Q.      And are you?

   13                  A       Yes.

   14                  Q.      Now, let's talk about some basic terms.

   15        Then we'll go through this section quickly, but just

   16        so that we have for the record, let's start with the

   17        basics.        Just tell the Court very briefly what

   18        opioids are.

   19                  A       So opioids are molecules that bind to

   20        opioid receptors in the brain, and they have very

   21        powerful effects.        They can relieve pain in the

   22        short-term.

   23                          They also stimulate a part of the brain

   24        called the dopamine reward pathway, which is why

   25        they are highly addictive.           And they also work on a
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    1                          Frye Hearing - Dr. Lembke                           51

    2        part of the brain called the brain stem which

    3        controls the breathing rate, and they can slow --

    4        powerfully slow down the breathing rate and the

    5        heart rate, which is why they're very, very lethal

    6        and why people overdose and die from them.

    7                 Q.     All right.     Now, the first opinion of

    8        your nine opinions on the list relates to addiction

    9        to opioids, correct?

   10                 A      Yes.

   11                 Q.     And you state in that opinion that

   12        addiction, addiction is a chronic illness.                So

   13        staying with the basics, there are accepted

   14        definitions of addiction within the area of

   15        addiction medicine, true?

   16                 A      Yes.

   17                        MR. HANLY:     All right.      Can we put up

   18                 Slide Number 5, please?

   19        BY MR. HANLY:

   20                 Q.     And while we're doing that, I will ask

   21        the Doctor, is there a body called the American

   22        Society of Addiction Medicine?

   23                 A      Yes.

   24                 Q.     And is that a body that you are in some

   25        fashion a member of?
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    1                          Frye Hearing - Dr. Lembke                           52

    2                 A      Yes.

    3                 Q.     And that's a body that is interested in

    4        issues surrounding addiction, true?

    5                 A      Yes.    It's a professional medical

    6        society for healthcare providers who treat and

    7        research addiction.

    8                 Q.     Okay.    And the American Society of

    9        Addiction Medicine came up with this definition of

   10        addiction which reads:         Addiction is a treatable,

   11        chronic medical disease involving complex

   12        interactions, paraphrasing, and an individual's life

   13        experiences.

   14                        People with addiction use substances --

   15        or -- use substances.         People with addiction use

   16        substances or engage in behaviors that become

   17        compulsive and often continue despite harmful

   18        consequences.

   19                        Prevention efforts and treatment

   20        approaches for addiction are generally as successful

   21        as those for other chronic diseases.

   22                        Did I read that correctly?

   23                 A      Yes.

   24                 Q.     Okay.    And is this definition by the

   25        American Society of Addiction Medicine, is that some
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    1                          Frye Hearing - Dr. Lembke                           53

    2        sort of an outlier?

    3                 A      No.    That's a well-accepted definition

    4        of addiction medicine, addiction in the field.

    5                 Q.     All right.     It's regarded as a -- strike

    6        that.

    7                        Did this definition, promulgated by this

    8        Society of Addiction Medicine, result from some sort

    9        of a consensus of experts in the field?

   10                 A      Yes.

   11                        MR. HANLY:     Thank you.      I'm finished

   12                 with that.

   13        BY MR. HANLY:

   14                 Q.     Now, there's -- just anticipating

   15        potential questions from the esteemed lawyers for

   16        the drug companies, there's another organization

   17        called the American Psychiatric Association, which

   18        has a slightly different definition of addiction,

   19        true?

   20                 A      Yes.    You're speaking of the Diagnostic

   21        and Statistical Manual of Mental Disorders?

   22                 Q.     Yes, what's called the DSM.

   23                        And the DSM, which is a publication of

   24        the American Psychiatric Association, it uses the

   25        term -- instead of addiction, it uses the term
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    1                          Frye Hearing - Dr. Lembke                           54

    2        opioid use disorder, true?

    3                 A      Yes.

    4                 Q.     The Judge has heard that from prior

    5        testimony, sometimes called OUD, true?

    6                 A      Yes.     I don't know what the Judge has

    7        heard before, but, yes.

    8                 Q.     Okay.     If you accept that, I think we'll

    9        be okay.

   10                        Now, is there, based on your review of

   11        the medical literature concerning addiction and your

   12        20 years or so --

   13                 A      I'm sorry, I can't hear you when you

   14        walk away from the microphone.            I'm sorry.

   15                 Q.     I'm sorry.     Based upon your experience

   16        as a scientist and a doctor engaged in these -- the

   17        area of addiction medicine, is there any real

   18        difference between the definitions of addiction that

   19        the American Society came out with and the

   20        definition of opioid use disorder that the American

   21        Psychiatric Association has adopted?

   22                 A      No.     In essence, they're saying the same

   23        thing.

   24                 Q.     Okay.     Now, in your Opinion Number 2 in

   25        this case, which is part of Slide Number 1, but we
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    1                          Frye Hearing - Dr. Lembke                           55

    2        don't need to put it up, you state:              Opioid

    3        prescribing grows fourfold starting in the 1990s,

    4        which increased the supply of potent and deadly

    5        opioids, et cetera, including in New York, correct?

    6                 A      Yes.

    7                 Q.     And elsewhere you've written of what you

    8        call a paradigm shift in the prescribing by doctors

    9        of opioids beginning in the 1990s, true?

   10                 A      Yes.

   11                 Q.     So what happened in the 1990s that was

   12        different from what happened over the decades prior

   13        to the 1990s in connection with physicians'

   14        prescribing habits for opioids?

   15                 A      Yes, so this was a shift that really

   16        began in the 1980s with the advent of the hospice

   17        movement and then really gained momentum in the

   18        1990s, but the shift was essentially the following:

   19                        Prior to 1980 doctors were very

   20        reluctant to prescribe opioids for their patients

   21        because they were concerned that their patients

   22        would get addicted.

   23                        This was based on historical prior

   24        doctor-caused opioid epidemic back -- dating back at

   25        least to the Civil War, early 1900s.              But in the
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    1                          Frye Hearing - Dr. Lembke                           56

    2        1990s there was a huge change in the way that

    3        doctors were trained to regard opioids.

    4                        They were taught that opioids -- that

    5        the risk of addiction to opioids are -- is very,

    6        very small as long as the opioids are being

    7        prescribed by a doctor for a patient with real pain

    8        and real disease, that somehow that prescription pad

    9        could confer some kind of halo effect, and the fact

   10        that the patient had serious pain would protect them

   11        from addiction.

   12                        Doctors were also taught that opioids

   13        are effective treatment for chronic pain and that

   14        you can continue to go up on the dose without

   15        endangering a patient.         So these were huge changes

   16        in the way that opioids came to be used, and the

   17        treatment really began in medical school.

   18                        I went to medical school in the 1990s,

   19        and I was the recipient of this training.

   20                 Q.     And what you just described, Doctor, is

   21        there any historical evidence to support what you

   22        just said, for example, in the literature?

   23                 A      Yes.    So there are studies,

   24        peer-reviewed literature showing that the risk of

   25        addiction is quite common, even among patients who
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    1                          Frye Hearing - Dr. Lembke                           57

    2        are prescribed opioids by a doctor for pain.                 And

    3        those data points predate this paradigm shift that

    4        occurred in the 1990s.

    5                        So the bottom line is we, as a

    6        healthcare institution, knew that this risk was

    7        there, and then we collectively forgot it for about

    8        two or three decades.

    9                 Q.     Your Opinion Number 2 that we've been

   10        talking about, this increase of prescribing,

   11        fourfold increase, four times what had been

   12        prescribed earlier, is there, is there any consensus

   13        in the areas of addiction medicine as to whether

   14        this increase resulted in any increase in

   15        unfavorable outcomes for the patients?

   16                        THE COURT:     Just yes or no.        Just yes or

   17                 no, Doctor.

   18                        THE WITNESS:      Yes.

   19                        MR. HANLY:     All right.      And could we put

   20                 up Slide Number 6?

   21        BY MR. HANLY:

   22                 Q.     And let me ask you, Doctor, is there, is

   23        there data from the Centers for Disease Control

   24        concerning the increase of prescriptions along with

   25        potentially adverse events?
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    1                          Frye Hearing - Dr. Lembke                           58

    2                 A      Yes.

    3                 Q.     And please describe for Justice Garguilo

    4        what is, what is shown here in this, in this graph

    5        with the three lines going from left to right.

    6                 A      This graph shows that as the sales of

    7        prescription opioids increased between 1999 and

    8        2010, so did opioid-related overdose deaths as well

    9        as the number of people presenting to addiction

   10        treatment centers with opioid addiction.

   11                 Q.     Okay.    So, just for the record, the

   12        green line, which is at the top, reflects sales; is

   13        that correct?

   14                 A      Yes.

   15                 Q.     Of prescription opioids, yes?

   16                 A      Yes.    Yes, it does.

   17                 Q.     And the middle line is showing overdose

   18        deaths; is that right, Doctor?

   19                 A      Yes, that's correct.

   20                 Q.     And the bottom line, the orange line is

   21        showing treatment admissions for folks suffering

   22        from opioid use disorder, true?

   23                 A      True.

   24                 Q.     Okay.    Now -- and this, is this CDC data

   25        generally accepted by folks in the addiction
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    1                          Frye Hearing - Dr. Lembke                           59

    2        medicine area as being reliable?

    3                  A     Yes.

    4                  Q.    Did you -- did you use this as part of

    5        your methodology in reaching your Opinion Number 2

    6        in this case?

    7                  A     Yes.

    8                  Q.    Okay.    Now, did this phenomenon of the

    9        fourfold -- you can take that down slide down,

   10        please.

   11                        Did this phenomenon that you've

   12        described as a fourfold increase in prescriptions,

   13        did this happen also in the State of New York?

   14                  A     Yes, it did.

   15                        MR. HANLY:     Could we have Slide Number

   16                  7, please?

   17        BY MR. HANLY:

   18                  Q.    Now Slide Number 7 is titled, Amount of

   19        Opioids Prescribed in State of New York between 1997

   20        and 2016, almost a 20-year period, true?

   21                  A     Yes.

   22                  Q.    And I'm sure Justice Garguilo -- I hope

   23        Justice Garguilo can see this, but just explain,

   24        very briefly, what do we see here?

   25                  A     Well, what we see here is that in 1997,
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    1                          Frye Hearing - Dr. Lembke                           60

    2        100 morphine milligram equivalent was prescribed per

    3        person in the State of New York, and between 1997

    4        and 2016 that increased almost fivefold.

    5                        MR. HANLY:     Okay.     Thank you.      You can

    6                 take that slide down.

    7        BY MR. HANLY:

    8                 Q.     Now, Doctor, I want to talk a little bit

    9        briefly, I hope, about the methodology and the bases

   10        for your Opinion Number 3 in this case, which is

   11        that the opioid industry misled doctors into

   12        believing that opioids are more effective, et

   13        cetera, okay?

   14                 A      Yes.

   15                 Q.     And I noticed that part of the subtitle

   16        of your book, Drug Dealer M.D., is how doctors were

   17        duped, correct?

   18                 A      Yes.

   19                 Q.     And can you explain to the Court what

   20        you meant by that, that the doctors were duped?

   21                 A      The doctors were duped by the

   22        pharmaceutical opioid industry into believing that

   23        opioids are safer than they really are and more

   24        effective than they really are.

   25                 Q.     Okay.    And in the book you talk about --
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    1                          Frye Hearing - Dr. Lembke                           61

    2                        MR. PYSER:     Your Honor, this is Steven

    3                 Pyser for Cardinal Health.           I'm just going to

    4                 register an objection and apologies for the

    5                 late objection.

    6                        Vague on the question, the meaning of

    7                 what the pharmaceutical opioid industry is

    8                 here.     That's not a term that really has a

    9                 definition, and as distributors, we don't

   10                 believe that to be a part of anything.

   11                        I think the testimony needs to be more

   12                 specific.

   13                        THE COURT:     I think the doctor is

   14                 basically testifying to her findings and

   15                 impressions, of course, subject to your

   16                 cross-examination.         Am I missing the point of

   17                 your objection?        If I am, tell me.

   18                        MR. PYSER:     Yeah, just, your Honor, that

   19                 the term is vague.         What this pharmaceutical

   20                 opioid industry is is not defined, and it's

   21                 being used in a way that is very unclear

   22                 through the testimony.

   23                        THE COURT:     Mr. Hanly, develop that

   24                 record.

   25                        MR. HANLY:     I can rephrase, your Honor.
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    1                          Frye Hearing - Dr. Lembke                           62

    2                        THE COURT:     Rephrase it.

    3        BY MR. HANLY:

    4                 Q.     Doctor, in your book you discuss the

    5        alleged fact that certain companies engaged in the

    6        manufacture of opioids created a false narrative.

    7        Is that fair?

    8                 A      Yes.

    9                 Q.     Okay.    And you -- and you've already

   10        explained what you meant by that part of the

   11        subtitle that says that the doctors were duped,

   12        okay?

   13                 A      Yes.

   14                 Q.     Okay.    Now, in your book you talk about

   15        certain myths that certain opioid-related companies

   16        promulgated, correct?

   17                 A      Yes.

   18                        MR. HANLY:     Okay.     And let's take a look

   19                 at an example of a piece of marketing

   20                 material that, that we have as Slide Number

   21                 8.    Could we put up Slide Number 8, please?

   22        BY MR. HANLY:

   23                 Q.     Doctor, Slide Number 8 is actually a

   24        page within a marketing brochure that was

   25        distributed under the auspices of something called
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    1                          Frye Hearing - Dr. Lembke                           63

    2        the American Academy of Pain Medicine.               Do I have

    3        that organization correct?

    4                 A      Yes.     That was not the only organization

    5        that was involved, but yes.

    6                 Q.     Okay.     This also was a piece of

    7        marketing material that was used and disseminated by

    8        a company called Janssen; is that correct?

    9                 A      Yes.     This was promoted as an

   10        educational booklet.

   11                 Q.     Okay.     And so this is the authors of

   12        this piece saying that, Number 1, it is a myth that

   13        opioid medications are always addictive and that the

   14        true fact, appearing right there, is that many

   15        studies show that opioids are rarely -- and they

   16        emphasize the word rarely -- addictive when used

   17        properly for the management of chronic pain,

   18        correct?

   19                 A      Yes, that's correct.         That's what it

   20        says.

   21                 Q.     Right.     And as part of your opinions in

   22        this case, you came to the conclusion that that

   23        so-called fact is, in fact, a falsehood?

   24                 A      Yes.

   25                 Q.     And explain why it's false.
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    1                          Frye Hearing - Dr. Lembke                           64

    2                 A      Their use of the term rarely addictive

    3        is not based on science.          What we see is that

    4        between 10 percent and 30 percent of patients

    5        prescribed an opioid by a doctor for chronic pain

    6        will develop some kind of opioid use disorder.

    7                 Q.     Okay.

    8                 A      And, furthermore, this was known prior

    9        to the publication of this so-called educational

   10        pamphlet.

   11                 Q.     Okay.    And the second myth that the

   12        certain companies engaged in opioid manufacture said

   13        was, in fact, a myth is that opioids make it harder

   14        to function normally, and what the pamphlet says is,

   15        no, that's not correct.          When used correctly for

   16        appropriate conditions, opioids may make it easier

   17        for people to live normally.           That's what the answer

   18        is supposed to be, right?

   19                 A      Yes.

   20                 Q.     And is that answer based upon the use of

   21        your methodology reviewing 600 articles and your

   22        20-odd years of clinical practice, is that a true

   23        statement?

   24                 A      No.

   25                 Q.     Okay.    And then the last so-called myth
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    1                          Frye Hearing - Dr. Lembke                           65

    2        that the certain of these companies supported is

    3        that opioid doses have to get bigger over time

    4        because the body gets used to them, and they say,

    5        well, that's not true.         The true fact is that unless

    6        the underlying cause of your pain gets worse, such

    7        as with cancer or arthritis, you will probably

    8        remain on the same dose or need only small increases

    9        over time.

   10                        Is that alleged fact true or false based

   11        upon your methodology in this case?

   12                 A      That is false.

   13                        MR. HANLY:     Now -- your Honor, did you

   14                 want to take a break at this point?

   15                        THE COURT:     Talk to my stenographer,

   16                 when her fingers get tired.

   17                        MR. HANLY:     I'm flying along.

   18                        THE COURT:     As a matter of fact, she's

   19                 getting a note right now from me telling me

   20                 to give me a heads-up when she needs a break.

   21                        MR. HANLY:     Okay.     I just want to make

   22                 sure I'm doing what the Court wants.

   23        BY MR. HANLY:

   24                 Q.     All right.     Now, Doctor, we actually

   25        created a slide that contains Dr. Lembke's myths
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    1                          Frye Hearing - Dr. Lembke                           66

    2        about opioids, true?

    3                 A      Yes.

    4                        MR. HANLY:     Could we have Slide Number

    5                 9, please?

    6        BY MR. HANLY:

    7                 Q.     And what you created here is, in part,

    8        contradicts what we just saw from certain

    9        opioid-related companies, correct?

   10                 A      Yes.

   11                 Q.     And we've already gone over this, but

   12        very quickly, you say that it's a myth that the risk

   13        of addiction is rare.         You say it's a myth that

   14        opioids are effective in treating chronic pain.                  You

   15        say it's a myth that no dose is too high.                And you

   16        say it's a myth of a concept called pseudoaddiction

   17        which, am I correct, is the notion that if you're

   18        craving more of the drug, you may not -- that may

   19        not be addiction at all but simply your body crying

   20        out for pain relief; is that correct?

   21                 A      Yes.    I think pseudoaddiction means that

   22        if you're manifesting many of the signs and symptoms

   23        of addiction, you're not really addicted, you're in

   24        pain and the solution is to give more opioids.

   25                 Q.     Okay.    And we've already established
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    1                          Frye Hearing - Dr. Lembke                           67

    2        what you did in terms of your methodology with

    3        respect to Myth Number 1, that becoming addictive --

    4        addicted is rare.

    5                        With respect to Myth Number 2, that

    6        opioids are effective in treating chronic pain, just

    7        very briefly, was the methodology any different that

    8        you employed?

    9                 A      No.

   10                 Q.     And how about with respect to your claim

   11        here that it's a myth that no dose is too high, did

   12        you employ that same methodology?

   13                 A      Yes.

   14                 Q.     Did you look at -- did you look at

   15        scientific papers published by people other than

   16        you?

   17                 A      Yes.

   18                 Q.     Okay.    And the same with respect to Myth

   19        Number 4, any difference in the methodology that you

   20        used?

   21                 A      No.

   22                 Q.     Basically two components of your

   23        methodology; is that correct, your review, in-depth

   24        review of the substantial body of medical literature

   25        taken together with your, what I'll call your
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    1                            Frye Hearing - Dr. Lembke                         68

    2        personal professional experience, meaning your

    3        clinical practice and your interaction with other

    4        healthcare providers; is that fair?

    5                  A       Yes.

    6                  Q.      Now, let's, let's look at Slide Number

    7        10, please, and tell Justice Garguilo, this is

    8        headed, Prescription Opioids are as Addictive as

    9        Heroin.        That's rather a strong statement, isn't it,

   10        Doctor?

   11                  A       Yes, it is.

   12                  Q.      And tell Justice Garguilo what we've

   13        done here.        We've pulled out these two, two

   14        quotations, quotations from a medical paper by an

   15        author named Harbaugh that appeared in the Journal

   16        of Pediatrics in 2018.          So what is the point of this

   17        -- these quotes?

   18                  A       There is consensus in the medical

   19        profession that heroin is -- that prescription

   20        opioids, Schedule II prescription opioids are as

   21        addictive as heroin, that there's really no

   22        difference between heroin and prescribed opioids for

   23        pain.

   24                  Q.      By the way, is the Journal of Pediatrics

   25        based on your work in researching medical journals,
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    1                          Frye Hearing - Dr. Lembke                           69

    2        is that a peer-reviewed journal?

    3                 A      Yes, it is.

    4                 Q.     Does it have -- is it regarded as

    5        reputable?

    6                 A      Yes, it is.

    7                 Q.     Now, let's next look at Slide Number 11,

    8        which relates to your Opinion Number 4, and this,

    9        this is Opinion Number 4, the heading, There is no

   10        reliable evidence that opioids work for chronic

   11        pain.    And in reaching that conclusion, what did you

   12        do?

   13                 A      I reviewed many, many articles, clinical

   14        trials, observational studies, epidemiologic studies

   15        looking at whether or not long-term opioid therapy

   16        is effective in the treatment of chronic pain.

   17                 Q.     And is this an article that you looked

   18        at?

   19                 A      Yes.

   20                 Q.     Is -- and the journal is called Pain?

   21                 A      Yes.

   22                 Q.     Is that a peer-reviewed paper?

   23                 A      Yes.

   24                 Q.     Is it the only paper that you relied

   25        upon in reaching your conclusion that there's no
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    1                          Frye Hearing - Dr. Lembke                           70

    2        reliable evidence that opioids work for chronic

    3        pain?

    4                 A      No.

    5                        MR. HANLY:     Okay.     Sorry, your Honor.           I

    6                 just lost my track.

    7                        Could we put up Slide Number 12, please?

    8                        MS. STRONG:      Your Honor, objection.

    9                 This is Sabrina Strong for Johnson & Johnson.

   10                 This is one of those documents, it appears,

   11                 your Honor, where they're relying upon

   12                 something that was submitted to us for the

   13                 first time yesterday at 4:40 p.m. from their

   14                 supplemental material considered list, and we

   15                 would object to any questions relating to

   16                 this document on this slide on that basis,

   17                 your Honor.

   18                        THE COURT:     Mr. Hanly.

   19                        MR. HANLY:     Again, your Honor,

   20                 Ms. Strong is a leading member of the

   21                 national defense team, and in that capacity,

   22                 she would have had access to the supplemental

   23                 materials provided on August the 3rd in

   24                 connection with the West Virginia cases.

   25                        THE COURT:     Ms. Strong, early on, did
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    1                          Frye Hearing - Dr. Lembke                           71

    2                 the Court not rule or direct an importation

    3                 of all of the information -- I'll call it

    4                 information -- all of the discovery that was

    5                 handed over and exchanged in the MDL handled

    6                 by Judge Polster to this Court, and if so,

    7                 was this thing, this piece of paper, this

    8                 document, a part of that exchange.

    9                        MS. STRONG:      My understanding, your

   10                 Honor, is that he is referencing the West

   11                 Virginia case, not the MDL.            I don't believe

   12                 we're in the case to which he is referring,

   13                 but, again, I want to double-check that, but

   14                 that's my understanding, your Honor.

   15                        So, no, I don't believe he's talking

   16                 about materials that were produced in the

   17                 MDL.

   18                        MR. PYSER:     Your Honor, this is Steven

   19                 Pyser, Cardinal Health.          I am in the West

   20                 Virginia case.       That's why I raised it

   21                 earlier as well.        If I'm understanding

   22                 Mr. Hanly correctly, what he's referring to,

   23                 that is not the case before Judge Polster.

   24                 And as well, incorporating discovery into the

   25                 record does not mean that an expert relied on
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    1                          Frye Hearing - Dr. Lembke                           72

    2                 it.

    3                        We have a report in this case in New

    4                 York in which this document is not mentioned.

    5                 If it was mentioned in another case in

    6                 another opinion that takes different

    7                 positions, I do not believe that the witness

    8                 for the state can just incorporate every

    9                 report that Dr. Lembke has ever written,

   10                 including reports against Defendants --

   11                 excuse me -- including reports in cases in

   12                 which some Defendants aren't even a part of.

   13                 So we also object to the inclusion of this

   14                 document.

   15                        THE COURT:     I have a couple of points

   16                 I'd suggest.       You all entered into a

   17                 Stipulation in connection with these

   18                 hearings, part and parcel of that Stipulation

   19                 was that any information, any documents that

   20                 made their way into evidence in this case to

   21                 which a party objects, that objection is

   22                 preserved in the event of a trial.

   23                        The second point -- Mr. Hanly, this is

   24                 directed to you.        This Court made it -- and,

   25                 by the way, it's directed to all counsel.
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    1                          Frye Hearing - Dr. Lembke                           73

    2                 This Court, in the last go around, referenced

    3                 a case, Guerra, G-U-E-R-R-A, versus

    4                 D-I-T-T-A, 220 New York Slip Opinion 03771, a

    5                 Second Department case that just came down in

    6                 July of this year, and I believe -- I don't

    7                 believe I know that the Court suggested,

    8                 certainly the last session, perhaps the

    9                 session before that, that in connection with

   10                 these hearings, the Court was focusing in on

   11                 two very specific areas, whether or not the

   12                 methodology can meet the requirements it of

   13                 general acceptance, and whether or not if the

   14                 methodology is appropriately applied, the

   15                 results can be deemed reliable.

   16                        Of course, as noted in the Ditta case,

   17                 that the actual question, the actual issue of

   18                 whether or not the opinion will ever make

   19                 it's way to the finder of fact at trial

   20                 relies upon the foundation that is laid by

   21                 the person offering the evidence or the lack

   22                 of foundation by the person or the entities

   23                 or the lawyers opposing it.

   24                        We're going a long way, we have been

   25                 going a long way in both the direct
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    1                          Frye Hearing - Dr. Lembke                           74

    2                 examination and the cross examination, and

    3                 away from those two very, very basic

    4                 precepts, general acceptance and reliability.

    5                        The doctor is, of course, permitted to

    6                 -- all witnesses are permitted to, as a

    7                 matter of fact, they're required to set forth

    8                 their methodology, and the inference that the

    9                 person offering the evidence seeks to gain

   10                 from the Court, it's okay, it's generally

   11                 accepted methodology, and whether or not the

   12                 testimony indicates that the appropriate use

   13                 of the methodology will result in a reliable

   14                 conclusion, period.

   15                        That's the step one in what I call the

   16                 "Fryebert" analysis.         Step 2 will await, if

   17                 need be, a trial.        So here's my point -- by

   18                 the way, Mr. Hanly, I ask this to everybody.

   19                        The Court, of course, has had an

   20                 opportunity to review the decisions in the

   21                 MDL concerning this witness, and it broke

   22                 down to essentially two areas, a marketing

   23                 causation and a gateway argument or

   24                 suggestion.

   25                        Are we beyond that in this case, meaning
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    1                          Frye Hearing - Dr. Lembke                           75

    2                 is there something beyond those two general

    3                 areas that you seek to elicit from this

    4                 witness?     I mean, I know I have nine points,

    5                 but do the nine points fit within that

    6                 framework that Judge Polster --

    7                        MR. HANLY:     I think it's slightly

    8                 broader at least than what your Honor just

    9                 articulated, because Dr. Lembke's opinions

   10                 include --

   11                        THE COURT:     Gateway.

   12                        MR. HANLY:     Gateway, supply, the effect

   13                 of increased prescribing and so on.              And, of

   14                 course, the whole issue of marketing

   15                 representations made by the Defendants.

   16                        Now, with respect to marketing causation

   17                 as Judge Polster opined, that's something

   18                 different from the ability of a witness such

   19                 as Dr. Lembke to testify based upon her, her

   20                 extensive work and her methodology, and her

   21                 interaction with physicians throughout the

   22                 United States that these marketing messages

   23                 have an influence.

   24                        That's a different, that's a different

   25                 conclusion than the conclusion under some
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    1                          Frye Hearing - Dr. Lembke                           76

    2                 sort of marketing causation analysis.

    3                        THE COURT:     He was clearly impressed

    4                 with her credentials.          I believe in the short

    5                 version of his decision was as to marketing

    6                 causation in the absence of some kind of

    7                 marketing background, not only this witness,

    8                 but another witness would be prohibited,

    9                 although he does make it a point in his

   10                 decision to say, in all other respects, that

   11                 witness' opinions can be, can be pursued at

   12                 trial.

   13                        MS. STRONG:      Your Honor.

   14                        THE COURT:     Yes.     This is Ms. Strong?

   15                        MS. STRONG:      Yes.    This is Sabrina

   16                 Strong on behalf of Johnson & Johnson.

   17                        I would just note that what Mr. Hanly

   18                 said does not seem to comport with what Judge

   19                 Polster decided.        I'm reading from his

   20                 opinion at page 12, and it says expressly the

   21                 Court finds Lembke may not testify regarding

   22                 the effect that Defendants' marketing and

   23                 promotional efforts had on a doctor's

   24                 prescribing practices.

   25                        He goes on to say he's excluding those
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    1                          Frye Hearing - Dr. Lembke                           77

    2                 opinions that purport to find Defendants'

    3                 marketing efforts resulted in or caused

    4                 increased sales and/or increased

    5                 prescriptions of opioids.

    6                        I think that's precisely what Mr. Hanly

    7                 was just referencing to you, your Honor, and

    8                 that is an issue.        I would agree that the

    9                 scope of his direct seems to be going far

   10                 beyond what we're talking about in terms of

   11                 marketing causation, which I think is what

   12                 we're here for, your Honor, but I just wanted

   13                 to make that point for clarity.

   14                        THE COURT:     And as I noted at page 12,

   15                 he also notes the Court's ruling does not in

   16                 any way affect Lembke's remaining opinions,

   17                 including the remainder of her 3rd and 5th

   18                 opinions regarding the inaccuracy of

   19                 statements and representations of Defendants'

   20                 marketing materials and other promotional

   21                 and/or educational efforts.

   22                        Here's my ruling.        I'll sustain your

   23                 objection.      And now we'll take a 15-minute

   24                 break.

   25                        MS. STRONG:      Thank you, your Honor.
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    1                          Frye Hearing - Dr. Lembke                           78

    2                        (WHEREUPON, a short recess was taken.)

    3                        THE CLERK:     Come to order.        Part 48 is

    4                 back in session.

    5                        THE COURT:     Remind the witness, please.

    6                        THE CLERK:     Oh, I'm sorry.        I remind

    7                 you, Doctor, you are still under oath.

    8                        MS. STRONG:      Your Honor, it's Sabrina

    9                 Strong.     One note before we begin.

   10                        THE COURT:     Wait a second.        Say it

   11                 again.

   12                        MS. STRONG:      Just one note before we

   13                 begin.     Can we have a sense of how much

   14                 longer Mr. Hanly intends to go?

   15                        This is one of those witnesses where we

   16                 requested two days with her, but we were

   17                 allotted one, and so we're concerned about

   18                 the amount of time.         He said he's at Opinion

   19                 3 of 9, I believe.         Can we have some

   20                 understanding in that regard?

   21                        THE COURT:     Perhaps everyone will heed

   22                 the Court's instruction.           I know Ms. Conroy

   23                 did during her direct examination.              So

   24                 perhaps everybody will get on board the same

   25                 way.
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    1                          Frye Hearing - Dr. Lembke                           79

    2                        If I need more, I'll let you know.             All

    3                 right.     I'd like to finish this witness

    4                 today.

    5                        MR. HANLY:      Judge, I'm happy to

    6                 volunteer.      I think maybe I have another hour

    7                 tops.

    8                        THE COURT:      Okay.

    9                        MS. STRONG:      Okay.    Good to know.

   10                        THE COURT:      He said about another hour

   11                 tops.

   12                        Do you know what tops means in lawyer

   13                 language?      Okay.    Let's go from there.         Go

   14                 ahead.

   15                        MS. STRONG:      Thank you, your Honor.

   16        BY MR. HANLY:

   17                 Q.     Doctor, I want to briefly go back to

   18        cover some aspects of the academic detailing that

   19        you discussed earlier, because it figures in the

   20        methodology and the bases for your opinion.

   21                        In the course of that academic

   22        detailing, did you have available to you examples of

   23        marketing statements made by certain of the opioid

   24        manufacturers and other opioid-related companies?

   25                 A      Yes.
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    1                          Frye Hearing - Dr. Lembke                           80

    2                 Q.     And did you study those statements in

    3        comparison to the medical literature that you

    4        reviewed?

    5                 A      Yes.

    6                 Q.     For example, if a marketing statement

    7        was to the effect that addiction is a rare

    8        occurrence, what corresponding scientific literature

    9        would you go to to see whether that statement was

   10        true or not?

   11                 A      I would go to the literature looking at

   12        the risk of addiction in patients treated with

   13        prescription opioids.

   14                 Q.     Does the body of medical literature that

   15        you relied upon, is there anything novel about these

   16        peer-reviewed papers such that they could not form a

   17        basis for -- a proper basis for an opinion that you

   18        would have concerning addiction?

   19                 A      Well, many of the papers that purported

   20        to provide evidence on the risk of addiction were

   21        not actually founded in a methodology that could

   22        reliably report that outcome.

   23                 Q.     But my question, Doctor, is, is the use

   24        of scientific literature written by people other

   25        than you, is that a novel basis that an
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    1                          Frye Hearing - Dr. Lembke                           81

    2        investigator, a researcher would have regard to?

    3                 A      No, that's not novel.

    4                 Q.     Is it -- is there any degree of

    5        reliability that is ascribed to that body of

    6        literature, assuming it's all or mostly peer

    7        reviewed?

    8                 A      Yes.    So that's a foundational precept

    9        of academic scholarly work is to critically review

   10        the literature and that's --

   11                 Q.     Now -- now, the marketing materials that

   12        you have reviewed in this case and that you reviewed

   13        prior to being involved in this case in preparing

   14        your, your book, did you try to determine when you

   15        were doing the academic detailing whether your own

   16        experience was similar to the experiences of other

   17        doctors who may or may not have received these sorts

   18        of marketing materials?

   19                 A      Yes.

   20                 Q.     And was there any consistency, or was

   21        there inconsistency?

   22                 A      I heard a lot of inconsistency from my

   23        peers.

   24                 Q.     Did that have any affect on your desire

   25        to continue the program of academic detailing?
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    1                          Frye Hearing - Dr. Lembke                           82

    2                 A      Yes.    That motivated me to continue

    3        academic detailing.

    4                 Q.     Did academic detailing to correct these

    5        misconceptions take up a small amount of time, a

    6        medium amount of time, a considerable amount of

    7        time, or what?

    8                 A      A considerable amount of time, yes.              In

    9        the last four to five years, I've spent a

   10        considerable amount of my professional time on this

   11        project.

   12                 Q.     When you were academic detailing, did

   13        you receive from physicians to whom you were

   14        providing this detailing, any anecdotes or

   15        recitations of experiences they had had in receiving

   16        and reviewing literature about the risks and

   17        benefits of opioids?

   18                 A      Yes.    I heard a large chorus of voices

   19        expressing a very similar experience and impression

   20        as my own.

   21                 Q.     When were you taught in medical school,

   22        were you taught anything about the addiction

   23        propensity of opioid medications?

   24                 A      None.

   25                 Q.     And what year, again, did you finish
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    1                          Frye Hearing - Dr. Lembke                           83

    2        your medical school?

    3                 A      1995.

    4                 Q.     Are you aware that on December the 12th,

    5        1995 the FDA approved the manufacture and sale of a

    6        drug called OxyContin?

    7                 A      Yes.

    8                 Q.     Now, I want to discuss briefly you're --

    9        the basis for your opinion and the methodology used

   10        to arrive thereat concerning whether a patient would

   11        need to have increased doses of an opioid over time

   12        and whether such increased doses would put the

   13        patient at risk of harm, okay?

   14                 A      Okay.

   15                 Q.     And among your opinions is, in sum and

   16        substance, that very opinion that increased doses

   17        put the patient at risk of harm; is that right?

   18                 A      Yes.

   19                 Q.     Did you just pull that opinion out of

   20        the air?

   21                 A      No.

   22                 Q.     Is that opinion shared by anybody else

   23        in the world that you're aware of?

   24                 A      Yes.

   25                 Q.     Is that opinion, has the CDC, the Center
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    1                          Frye Hearing - Dr. Lembke                           84

    2        For Disease Control, ever issued any data, or

    3        graphs, or anything else concerning whether

    4        increased dosages over time of opioids puts the

    5        patient at increased risk?

    6                 A      Yes.

    7                        MR. HANLY:     Okay.     And could we have

    8                 Slide Number 13, please?

    9        BY MR. HANLY:

   10                 Q.     Doctor, this slide is entitled Higher

   11        Dosage, Higher Risk, and it reads in part, and the

   12        footnote indicates that this is a publication made

   13        by the Centers for Disease Control and Prevention.

   14        Do you see that in Footnote Number 1?

   15                 A      Yes.

   16                 Q.     Okay.    And we quoted a little bit from,

   17        from it, higher dosages of opioids are associated

   18        with higher risk of overdose and death, even

   19        relatively low dosages, 20 to 15 morphine milligram

   20        equivalence, MME, per day, increased risk, higher

   21        doses haven't been shown to reduce pain over the

   22        long term.      Did I read that correctly?

   23                 A      Yes.

   24                 Q.     And what do we see?        Explain to me and

   25        Justice Garguilo what we're seeing in these, in
Case 3:17-cv-01362 Document 1115-4 Filed 10/24/20 Page 86 of 230 PageID #: 37181



    1                          Frye Hearing - Dr. Lembke                           85

    2        these two graphs.

    3                 A      So the graph on the left with the purple

    4        line shows that as you go from low doses of

    5        prescription opioids to higher doses of prescription

    6        opioids, the risk of overdose death due to those

    7        opioids increases.

    8                        The graph on the right shows that as the

    9        yellow line shows, that as you go from lower doses

   10        of opioids to higher doses of opioids, the risk of

   11        any opioid overdose event increases including

   12        nonlethal overdoses that often result in patients

   13        showing up in emergency rooms unconscious.

   14                 Q.     So in both graphs what we're seeing,

   15        would it be fair to say, you take more of the stuff,

   16        you're increasing your risk of a bad outcome?

   17                 A      Yes.

   18                 Q.     And this Center for Disease Control

   19        piece of a report actually has two other footnotes

   20        referencing two other papers supportive of the

   21        statement in this document.           Do you see that, three

   22        and four?

   23                 A      Yes.    The Bonert paper, Number 3, the

   24        graph on the left comes from the Bonert paper, and

   25        the graph on the right comes from the Dunn paper.
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    1                          Frye Hearing - Dr. Lembke                           86

    2                 Q.     So my point is that this CDC publication

    3        is not the only document that you looked at or

    4        relied upon in reaching your opinion that increased

    5        dosage increases the risk of bad outcomes; is that

    6        fair?

    7                 A      These are not the only documents I

    8        looked at.      That is correct.

    9                 Q.     And, in fact, so we have CDC, we have

   10        Bonert, we have Dunn, that's a total of three, but

   11        are there other papers peer reviewed that are

   12        reliable that reach the same or similar conclusion

   13        that more drug that you give, the likelihood is

   14        you're going to have a bad event?

   15                 A      Yes.

   16                 Q.     And, by the way, Bonert is a

   17        publication, it looks like JAMA.             Is that the

   18        Journal of the American Medical Association J?

   19                 A      Yes, it is.

   20                 Q.     Is that a well-known journal?

   21                 A      Yes.

   22                 Q.     And the Dunn paper is from something

   23        call the Annals of Internal Medicine, right?

   24                 A      Yes.

   25                 Q.     Are those two publications the Journal
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    1                          Frye Hearing - Dr. Lembke                           87

    2        of the American Medical Association and the Annals

    3        of Internal Medicine, are they both peer reviewed?

    4                 A      Yes, they are.

    5                 Q.     Are they regarded in the field of

    6        medicine as publications that will reliably publish

    7        material that those publications deem to be valid,

    8        truthful?

    9                 A      In general, yes.

   10                 Q.     Did you -- did any of these three

   11        publications, were any of these relied upon by you

   12        as a part of your methodology in coming to the

   13        higher dosage, higher risk opinion that you set

   14        forth?

   15                 A      Yes.

   16                 Q.     Now, have you -- we talked earlier about

   17        the marketing material that says that addiction is

   18        rare.    Do you remember that?

   19                 A      Yes.

   20                 Q.     And did you, in the course of your work

   21        in connection with this case, did you look at, try

   22        to figure out what the real percentage risk of

   23        addiction is to patients administered opioid pain

   24        medications?

   25                 A      Yes.
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    1                          Frye Hearing - Dr. Lembke                           88

    2                 Q.     And was your methodology any different

    3        in trying to come up with some statistics about the

    4        risk of addiction, was it any different from the

    5        methodology you described at the very beginning of

    6        this examination where you told Justice Garguilo

    7        about the importance of a thorough review of all

    8        parts of the pieces of medical literature?                Did you

    9        do anything different in connection with --

   10                 A      No.

   11                 Q.     No?     Is that what you said, Doctor?

   12                 A      That's right.      Sorry.

   13                 Q.     Okay.     And did you, in the course of

   14        your work, did you come across any papers that

   15        themselves tried to pull together the results of a

   16        number of other papers and set forth in that paper

   17        what the actual risk is of addiction related harms

   18        from opioids?

   19                 A      Yes.

   20                        MR. HANLY:     Okay.     Can we put up Slide

   21                 14, please?

   22        BY MR. HANLY:

   23                 Q.     Now, Slide 14 is a chart that appears to

   24        have a source as two papers.           Do you see that?

   25                 A      Yes, I do.
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    1                          Frye Hearing - Dr. Lembke                           89

    2                 Q.     So one paper is by someone named, Vowles

    3        and the other by someone named Boscarino; is that

    4        correct?

    5                 A      Yes.

    6                 Q.     So please tell Justice Garguilo and us,

    7        what are we seeing in this graph, and what is the

    8        significance of this to your opinions, if any?

    9                 A      So the study population being examined

   10        in both of these papers was specifically patients

   11        being prescribed opioids for chronic pain in order

   12        to determine the risk of addiction to opioids in

   13        that population.

   14                        And what we see here is that the Vowles

   15        article in 2015, which is in blue, found that

   16        approximately eight to 12 percent of chronic pain

   17        patients being prescribed opioids long-term will

   18        become severely addicted to opioids, and

   19        approximately 21 to 29 percent of those individuals

   20        will misuse opioids.

   21                        Boscarino was another study that

   22        specifically looked at the risk of addiction in this

   23        population and found similar numbers based on the

   24        DSM-IV and the DSM-V criteria.

   25                 Q.     Would any of these percentages eight to
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    1                          Frye Hearing - Dr. Lembke                           90

    2        12, 13.2, 21 to 29, and 41.3, would any of those

    3        percentages, based upon your work over the decades

    4        in addiction medicine, be regarded as rare instances

    5        of adverse events?

    6                 A      No.    This would not be considered to be

    7        rare.    This would be considered to be common.

    8                 Q.     Now -- thank you.        You can put that

    9        slide down, please.

   10                        Doctor, is there any amount of --

   11        withdrawn.

   12                        In the course of your work in connection

   13        with this case, did you look at the question of

   14        whether limited use of opioid painkillers could

   15        result in an adverse event for the patient taking

   16        the medication?

   17                 A      Yes.

   18                 Q.     And did you look at any papers,

   19        peer-reviewed papers that relate to the question of

   20        limited use of the drug leading to a more persistent

   21        use and to an opioid use disorder?

   22                 A      Yes.

   23                        MR. HANLY:     Okay.     Can we put up Slide

   24                 Number 15, please?         Judge there's only 20

   25                 slides, so we're moving along pretty well.
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    1                          Frye Hearing - Dr. Lembke                           91

    2                        THE COURT:     Thank you.

    3        BY MR. HANLY:

    4                 Q.     And this slide is titled -- entitled,

    5        Even limited medical exposure can lead to persistent

    6        use and OUD.      That's opioid use disorder.

    7                        And tell the Judge what this is

    8        depicting.

    9                 A      So these are data showing that patients

   10        who are prescribed opioids for surgery, for example

   11        in the Brummett paper, is thought to be an acute and

   12        self-limiting cause of pain, that 5.9 to 6.5 percent

   13        of those individuals will still be taking

   14        prescription opioids a year later.

   15                        So the important thing here is that

   16        they're not being diagnosed in this study with

   17        opioid use disorder addiction, but they're still

   18        taking the opioids a year later when one would have

   19        thought that their need for opioids would long be

   20        over.

   21                        That's relevant because we do know that

   22        the longer that patients are taking opioids, the

   23        higher their risk of adverse health consequences,

   24        including but not limited to addiction.

   25                        The same thing with the Delgado paper
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    1                          Frye Hearing - Dr. Lembke                           92

    2        showing that a very limited prescription for opioids

    3        for an ankle sprain, for example, to the, you know,

    4        relatively benign and self-limiting injury at 4.9

    5        percent of individuals receiving an opioid for that

    6        type of injury will still be taking opioids a year

    7        later.

    8                        Schroeder actually looked at whether or

    9        not young people exposed to opioids through a dental

   10        procedure will develop opioid use disorder within

   11        one year and found that 6 percent of those

   12        individuals exposed to opioids for a wisdom tooth

   13        removal will be diagnosed with an opioid addiction

   14        within the year and 10 percent for women.

   15                 Q.     Thank you, Doctor.        And this chart has

   16        three footnotes, and the footnotes are all to

   17        published papers, correct?

   18                 A      That is correct.

   19                 Q.     Okay.    And the first one is a Journal of

   20        the American Medical Association, the surgery

   21        journal, correct?

   22                 A      Yes.

   23                 Q.     And the second, Delgado is a paper

   24        published in the Annals of Emergency Medicine?

   25                 A      Yes.
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    1                          Frye Hearing - Dr. Lembke                           93

    2                 Q.     And the final footnote to Schroeder

    3        published in the Journal of the American Medical

    4        Association, Internal Medicine Journal, correct?

    5                 A      Yes.

    6                 Q.     All three of these journals of low

    7        regard, high regard, medium regard?

    8                 A      These are all high regarded competitive

    9        journals.

   10                 Q.     Are they all peer reviewed?

   11                 A      Yes.

   12                 Q.     Did you rely upon the findings of these

   13        journals in connection with your work in this case?

   14                 A      Yes.

   15                 Q.     Is there any consensus in the medical

   16        literature relating to addiction medicine including

   17        any reports of any organizations concerning the

   18        question of whether there's a relationship between

   19        increased supply of opioids in the country as a

   20        whole and adverse outcomes?

   21                 A      Yes.

   22                 Q.     And did you look at that issue in

   23        connection with your work in this case, the

   24        relationship between the supply and adverse outcomes

   25        for particular patients?
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    1                          Frye Hearing - Dr. Lembke                           94

    2                 A      Yes.

    3                 Q.     And are there publications, peer

    4        reviewed or otherwise, that address this issue?

    5                 A      Yes.

    6                        MR. HANLY:     Could we put up Slide Number

    7                 17, please?

    8        BY MR. HANLY:

    9                 Q.     And here what we've done with this slide

   10        is we've put two quotations from two separate

   11        reports side by side.         On the left is a quotation

   12        from a report of the Association of Schools and

   13        Programs of Public Health, the ASPPH, correct?

   14                 A      Yes.

   15                 Q.     Please explain to Justice Garguilo what

   16        that association is.

   17                 A      So it's an authoritative body on public

   18        health issues, including numerous very prominent

   19        public health universities like Columbia that came

   20        together to look at the opioid crisis to try to

   21        figure out what caused it and how to remedy it.

   22                        And they published a report bringing

   23        science to bear on opioids from which this quote was

   24        taken.

   25                 Q.     And this quote, paraphrasing, is that
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    1                          Frye Hearing - Dr. Lembke                           95

    2        the tremendous expansion of the supply led to scaled

    3        increases in prescription opioid dependence and to

    4        the transition of many to illicit opioids, including

    5        fentanyl, which have subsequently driven exponential

    6        increases in overdose, correct?

    7                 A      Yes.

    8                 Q.     And that quote came from a report of

    9        this organization published in 2019?

   10                 A      Yes.

   11                 Q.     On the right-hand side we have a quote

   12        from something called the National Academies of

   13        Sciences, Engineering and Medicine, sometimes called

   14        NASEM, correct?

   15                 A      Yes.

   16                 Q.     And just very briefly, what is that

   17        organization?

   18                 A      Again, it's an authoritative body of

   19        experts who come together to weigh in on looking at

   20        the science regarding major issues related to

   21        science, engineering and medicine.             In this case,

   22        this was a paper they wrote on the opioid crisis.

   23                 Q.     And that essentially -- paraphrasing it,

   24        it says the data presented make a prima facie case

   25        that heavy promotion of opioid prescribing by drug
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    1                          Frye Hearing - Dr. Lembke                           96

    2        manufacturers, including misleading claims by some,

    3        and substantially increased prescribing by

    4        physicians were key contributors to the increase in

    5        misuse, OUD, and accompanying harms.              Did I read

    6        that correctly?

    7                 A      Yes.

    8                 Q.     And did you, with respect to these two

    9        publications, did you read the whole publication, or

   10        did you just look at the abstract?

   11                 A      Yes, I read the whole publication.

   12                 Q.     And did you, did you rely upon these

   13        publications, these specific publications concerning

   14        opioids in the course of carrying out your steps,

   15        your methods for reaching your opinions?

   16                 A      Yes, but not exclusively.

   17                 Q.     Okay.    Well, tell Justice Garguilo again

   18        what the other reliance was?

   19                 A      I relied on the CDC data showing that as

   20        opioid prescriptions increased, so did

   21        opioid-related overdose deaths and treatment

   22        admissions.

   23                        I also relied on my clinical experience

   24        and my interviews with many of my colleagues in

   25        medicine.     And in my clinical experience, I saw
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    1                          Frye Hearing - Dr. Lembke                           97

    2        vastly increased opioid prescribing in the 1990s and

    3        more and more patients coming in with opioid

    4        addiction, more and more patients dying from opioid

    5        overdose.

    6                 Q.     So, again, you analyzed the literature

    7        written by folks other than you, and you relied on

    8        what I've called your personal professional

    9        experience over more than two decades?

   10                 A      Yes.    That's right.

   11                 Q.     In connection with your publications, we

   12        already discussed your research letter regarding

   13        prescribing to Medicare patients, correct?

   14                 A      Yes.

   15                 Q.     And there was another paper that you

   16        wrote and that was published concerning

   17        overprescribing.        Do you recall?

   18                 A      Yes.

   19                 Q.     And could you just tell Justice Garguilo

   20        what that second paper was about?

   21                 A      We looked at which doctors in the United

   22        States are prescribing opioids to try to detect

   23        whether or not there were geographic differences or

   24        differences by specialty.

   25                        And what we found was that by volume,
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    1                          Frye Hearing - Dr. Lembke                           98

    2        primary care doctors prescribe the most opioids.

    3        That makes sense because there are more of them than

    4        other types of doctors.          And by specialty, it's pain

    5        medicine doctors that also -- that prescribe the

    6        most opioids.

    7                        But importantly what we saw was that

    8        there was not a small subset of so-called pill

    9        doctors driving the increased prescribing, that

   10        there was a wholesale paradigm shift and all doctors

   11        across all specialties were prescribing large

   12        amounts of opioids.

   13                        We also looked at geographic regions and

   14        found that there were no differences geographically.

   15        So all across the United States, there was an

   16        enormous uptick in opioid prescribing based on the

   17        data that we looked at.          That was our findings.

   18                        THE COURT:     Doctor, what constitutes

   19                 overprescribing?

   20                        THE WITNESS:      Well, overprescribing,

   21                 certainly prescribing more than we were in

   22                 the 1990s despite the fact that we have not

   23                 seen an increased need for analgesia in this

   24                 country.

   25                        Overprescribing we can also look at
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     1                          Frye Hearing - Dr. Lembke                           99

     2                 other countries, other developed nations and

     3                 see how our prescribing compares to their

     4                 prescribing and see that we are prescribing

     5                 in some cases ten times more than other

     6                 developed nations with aging populations and

     7                 similar needs for analgesia.

     8                       So when I talk about overprescribing,

     9                 I'm really comparing the way we prescribe now

   10                  to the way that we prescribed before the

   11                  Defendants launched their campaign in the

   12                  1990s promoting opioids.

   13                        THE COURT:      Okay.    Thank you.

   14        BY MR. HANLY:

   15                  Q.    Doctor, you, in the course of your

   16        answer that you just gave before Justice Garguilo's

   17        question, you talked about consistency of

   18        prescribing, prescribing habits across the nation,

   19        right?

   20                  A     Yes.

   21                  Q.    Now, did you look at any statistics on

   22        the changes in the rate of prescribing in either New

   23        York State and/or Suffolk County and/or Nassau

   24        County?

   25                  A     Yes.
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     1                          Frye Hearing - Dr. Lembke                       100

     2                 Q.    And can you just generally, without

     3       holding you to specific percentages, just describe

     4       generally for Justice Garguilo what you found and

     5       the extent to which, if any, that the trends, if

     6       any, that you saw are different from national

     7       trends?

     8                 A     So we saw no difference in New York

     9       State compared to national trends.              New York is in

   10        no way an outlier in terms of this phenomenon.                  And

   11        the same is true for Suffolk and Nassau County.

   12                  Q.    Now, Doctor, Justice Garguilo mentioned,

   13        and you wrote in your book, and it's referred to

   14        elsewhere concerning a phenomenon or claimed

   15        phenomenon called the gateway effect, true?

   16                  A     Yes.

   17                  Q.    Just for clarity, would you just explain

   18        briefly what the gateway effect is?

   19                  A     Patients who are prescribed opioids for

   20        a medical condition can go on to misuse the opioids

   21        that they have been personally prescribed, which

   22        then subsequently can lead to a severe opioid

   23        addiction, including progression to the use of

   24        heroin and other illicit opioids.

   25                  Q.    Is the gateway effect, does it have any
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     1                          Frye Hearing - Dr. Lembke                       101

     2       acceptance, general acceptance, or otherwise in the

     3       medical community to describe the phenomenon you

     4       just described?

     5                A      Yes.    I would say it's strongly accepted

     6       in the medical community to describe what I just

     7       described.

     8                Q.     It's not a term that you just invented,

     9       is it?

   10                 A      No.

   11                 Q.     Is there support, is there reference in

   12        the medical literature to the gateway effect?

   13                 A      Yes.

   14                        MR. HANLY:      Could we put up Slide 18,

   15                  please?

   16        BY MR. HANLY:

   17                 Q.     Now, slide 18, am I correct, Doctor,

   18        this is, we've pulled out some quotes from this

   19        National Academies report.           It's called a consensus

   20        study report from NASEM, and it's entitled Pain

   21        Management and the Opioid Epidemic.

   22                        And the quote, first quote we have is a

   23        preponderance of evidence suggests that the major

   24        increase in prescription opioid use beginning in the

   25        late 1990s has served as a gateway to increased
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     1                          Frye Hearing - Dr. Lembke                       102

     2       heroin use.

     3                       And then below that, we pulled out the

     4       quote, In any related nature of the prescription in

     5       the illicit opioid epidemic means that one cannot be

     6       addressed separately from the other.              Did I read

     7       that correctly?

     8                A      Yes.

     9                Q.     And the second one, would that -- well,

   10        just state to the Court what the second sentence

   11        actually means in terms of prescription versus

   12        illegal drugs.

   13                 A      It means that to really understand this

   14        opioid epidemic, we have to look at the way that we

   15        have been prescribing prescription opioids in the

   16        house of medicine.

   17                        That the problem of addiction and the

   18        problem of chronic pain and even nonchronic pain

   19        treated with opioids, those problems are deeply

   20        interrelated.

   21                 Q.     And, Doctor, are there any studies that

   22        you're aware of that have looked at the question of

   23        gateway effect in the State of New York?

   24                 A      Yes.

   25                        MR. HANLY:      Could we put up Slide Number
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     1                          Frye Hearing - Dr. Lembke                       103

     2                 19, please?

     3       BY MR. HANLY:

     4                Q.      Now, here we have some quotes from a

     5       paper by someone named Lankenau in the International

     6       Journal of Drug Policy.          Do you see that?

     7                A       Yes.

     8                Q.      And this study was actually a study of

     9       intravenous drug users in the City of New York and

   10        the City of Los Angeles.           Is that true?

   11                 A       Yes.

   12                 Q.      And we pulled out two quotes.           One at

   13        the top, paraphrasing, initiation into opioid misuse

   14        was facilitated by easy access via participant's own

   15        prescription, family or friends, and occurred

   16        earlier than misuse of other drugs, of other illicit

   17        drugs.       Prescription opioid misuse was a key feature

   18        of trajectories into injection drug use and/or

   19        heroin use.       Did I read that correctly?

   20                 A       Yes.

   21                 Q.      And then the second is the scientific

   22        literature has identified several specific

   23        subpopulations involved in prescription opioid

   24        misuse and diversion that are so diverse that it is

   25        not feasible to study them in a single
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     1                          Frye Hearing - Dr. Lembke                       104

     2       investigation.

     3                       High school students, college students,

     4       older persons, and women most of whom initially

     5       obtain a prescription drug via legitimate medical

     6       practices, correct?

     7                A      Yes.

     8                Q.     Did you rely on this study for your

     9       opinion relating to the so-called gateway effect?

   10                 A      Yes.

   11                 Q.     Is this study, is this paper a

   12        peer-reviewed paper?

   13                 A      Yes, it is.

   14                 Q.     Is this a reliable, or highly regarded,

   15        or lowly regarded publication?

   16                 A      This is a reliable source.

   17                 Q.     What's happened between 2010 and 2017

   18        with respect to New York State deaths from opioids?

   19                 A      There has been an increase in

   20        opioid-related overdose deaths in the State of New

   21        York in that timeframe.

   22                        MR. HANLY:      Slide Number 20, the last

   23                  slide, please.

   24        BY MR. HANLY:

   25                 Q.     Doctor, I guess it's pretty clear what
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     1                          Frye Hearing - Dr. Lembke                       105

     2       this shows, but why don't you explain to Justice

     3       Garguilo and us?

     4                A      This shows that between 2010 and 2017

     5       the number of opioid-related overdose deaths in

     6       persons aged 25 to 44 increased more than fourfold

     7       in the State of New York.

     8                Q.     And in a very -- in a slide very early

     9       in the examination, did we see an increase over

   10        roughly the same time period in the number of

   11        prescriptions written in New York State?

   12                 A      Yes.

   13                        MR. HANLY:      Thank you, Doctor.        That's

   14                  all I have.

   15                        THE WITNESS:       Thank you.

   16                        THE COURT:      Ms. Strong, it's almost

   17                  12:30.    Do you want to get started, or would

   18                  you prefer starting after the luncheon

   19                  recess?

   20                        MS. STRONG:      Let's just start after the

   21                  luncheon recess, your Honor.

   22                        THE COURT:      Okay.    We'll resume at 1:45.

   23                        MS. STRONG:      Thank you, your Honor.

   24                        (WHEREUPON, after a luncheon recess, the

   25                  following was had:)
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     1                          Frye Hearing - Dr. Lembke                       106

     2                       MR. HANLY:      Your Honor, before

     3                 Ms. Strong begins, can I put something on the

     4                 record?

     5                       THE COURT:      Yes.    First, remind the

     6                 witness, then you can put something on the

     7                 record.

     8                       THE CLERK:      Doctor, I remind you you're

     9                 still under oath.

   10                        THE WITNESS:       Thank you.

   11                        MR. HANLY:      Your Honor, I just wanted to

   12                  place on the record, we had a dispute earlier

   13                  in the examination concerning Slide Number

   14                  12.   Representation was made by defense

   15                  counsel, in effect, that we were ambushing

   16                  them, they hadn't seen it.

   17                        I wish to point out to the Court and

   18                  counsel that this slide, Exhibit 12, was a

   19                  joint exhibit, Defendants' and Plaintiffs'

   20                  Exhibit in the MDL, bearing number 17232, and

   21                  that exhibit, joint exhibit list was created

   22                  and filed on September 25th 2019, which is a

   23                  year ago.

   24                        THE COURT:      Miss Strong, there was an

   25                  indication that that piece of paper, that
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     1                          Frye Hearing - Dr. Lembke                       107

     2                 document, that thing, that exhibit was only

     3                 used in West Virginia and not part and parcel

     4                 of the MDL in Ohio, I just heard something

     5                 otherwise.

     6                       MS. STRONG:      I think the argument he's

     7                 trying to make, your Honor, is that we knew

     8                 of that underlying document period and the

     9                 abstract.     The question here is was that a

   10                  document that Dr. Lembke relied upon in

   11                  support of her opinions.

   12                        There are millions and millions of

   13                  documents in this litigation, your Honor, and

   14                  the question that we are here to address

   15                  today is the basis for Dr. Lembke's opinions,

   16                  and my point is that we -- the rules do not

   17                  allow for us to be sandbagged by documents

   18                  being presented to us the night before and

   19                  saying she, too, is relying on these

   20                  additional documents.         That's the point your

   21                  Honor.

   22                        THE COURT:      Okay.    So now we've heard

   23                  ambushed and sandbag, all right.

   24                        MS. STRONG:      I know you don't like those

   25                  types of terms, but I think this is classic
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     1                          Frye Hearing - Dr. Lembke                       108

     2                 sandbagging, so I don't use those terms

     3                 lightly, your Honor.

     4                       MR. SHKOLNIK:       If I may, your Honor,

     5                 Napoli Shkolnik, first of all, this is New

     6                 York, and our rules do allow us to rely upon

     7                 authoritative articles that come up that

     8                 become available.        There's no prejudice here.

     9                 I think that's the rule in New York.

   10                        It is not sandbagging.          I don't think

   11                  it's appropriate to use here.            They knew

   12                  about this study, they knew about everything

   13                  that we've listed for them, and it's

   14                  inappropriate to suggest that it can't be

   15                  utilized in this process before trial, which

   16                  we could have supplemented even at that

   17                  point.    I just wanted to state based on New

   18                  York practice.

   19                        THE COURT:      If you were sitting here,

   20                  what should I do?

   21                        MR. SHKOLNIK:       You've already done it,

   22                  your Honor.      It's in the record, you'll

   23                  consider it, use it for what it's worth, and

   24                  it's really a nonissue.

   25                        THE COURT:      Here's a fair compromise.
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     1                          Frye Hearing - Dr. Lembke                       109

     2                 If accepted, it will go to weight, to the

     3                 weight of the evidence, and not to the --

     4                 whatever the opposite of the weight is.

     5                        MR. SHKOLNIK:      And I'm sorry for talking

     6                 through the mask, I apologize.

     7                        THE COURT:     Doctor, are you ready?

     8                        THE WITNESS:      Yes.

     9                        THE COURT:     Miss Strong, go ahead.

   10                         MS. STRONG:     And, Mr. Pyser, did you

   11                  want to say something before I begin?              I just

   12                  didn't want to interrupt?           Because I see you

   13                  on my screen.

   14                         MR. PYSER:     No, that's okay.

   15                         MS. STRONG:     Okay.      Thank you.

   16                         THE COURT:     Did I step on your order?

   17                         MS. STRONG:     No.      No, no, no.    You're

   18                  doing it correctly.          It's just Mr. Pyser is

   19                  up on my screen, and I know he's examining

   20                  today, I didn't know if he wanted to say

   21                  anything more before we begin, your Honor.

   22                         THE COURT:     He's very big on my screen,

   23                  too.

   24                         MR. PYSER:     And I apologize to all of

   25                  you.
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     1                          Frye Hearing - Dr. Lembke                       110

     2       EXAMINATION BY

     3       MS. STRONG:

     4                Q.     Good afternoon, Dr. Lembke.

     5                A      Good afternoon.

     6                Q.     My name is Sabrina Strong, and I

     7       represent Johnson & Johnson and Janssen in this

     8       litigation.      I want to turn first to some specifics

     9       about your training and experience.

   10                        You're not an economist, correct?

   11                 A      That is correct.

   12                 Q.     You do not have a degree or training in

   13        marketing, correct?

   14                 A      That is correct.

   15                 Q.     You do not have any employment

   16        experience working in the field of pharmaceutical

   17        marketing; do you?

   18                 A      No.

   19                 Q.     You don't belong to any professional

   20        associations in the field of pharmaceutical

   21        marketing either, correct?

   22                 A      That's correct.

   23                 Q.     You also do not have any experience

   24        regarding FDA regulations that govern pharmaceutical

   25        marketing, correct?
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     1                          Frye Hearing - Dr. Lembke                       111

     2                A      That's correct.

     3                Q.     You do not have any degrees or training

     4       in pharmacoeconomics?

     5                A      Since I don't know what that is, the

     6       answer is no.

     7                Q.     We'll skip that.

     8                       You're aware that there is a scientific

     9       field called econometrics, correct?

   10                 A      Yes.

   11                 Q.     Are you aware that that field applies

   12        statistical methods to economic data?

   13                 A      Yes.

   14                 Q.     But you do not have any degrees or

   15        training in econometrics of sales or marketing,

   16        correct?

   17                 A      That is correct.

   18                 Q.     Okay.    So you're testifying here today

   19        as a retained expert for the Plaintiffs, which in

   20        this case it's the State of New York, Nassau County,

   21        Suffolk County, correct?

   22                 A      Yes.

   23                 Q.     But before this case, you were retained

   24        by the Plaintiffs in the federal multidistrict

   25        litigation pending in Cleveland, Ohio, correct?
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     1                          Frye Hearing - Dr. Lembke                       112

     2                A      Yes.

     3                Q.     You submitted a report in connection

     4       with that MDL proceeding, right?

     5                A      Yes.

     6                       (Video disconnected.)

     7                       THE COURT:      We're back doctor, to a

     8                 degree.

     9                       MS. STRONG:      It sounds like everybody

   10                  got kicked off, your Honor; is that right?

   11                        THE COURT:      Yes.     We're almost back on.

   12                  They're just testing.

   13                        MS. STRONG:      Ready, your Honor.

   14                        THE COURT:      Back on board.       Let's go.

   15                        MS. STRONG:      Okay.

   16                 Q.     So I was just asking you, Dr. Lembke,

   17        about the report you submitted in the MDL, and you

   18        confirmed that you did submit a report in the MDL

   19        proceeding, correct?

   20                 A      Yes.

   21                 Q.     Okay.    And there are some structural

   22        differences between your report in the MDL and your

   23        report here, but the opinions in both are the same,

   24        correct?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       113

     2                Q.     You understand that Judge Polster, in

     3       the federal MDL proceeding, ruled that he would not

     4       be permitted to opine on marketing causation in his

     5       court, because you do not have the marketing

     6       expertise necessary to offer those causation

     7       opinions, correct?

     8                A      Yes.

     9                Q.     Okay.    And you have distinguished the

   10        question of whether opioid marketing material was

   11        consistent or inconsistent with scientific evidence

   12        from the question of causation, correct?

   13                 A      Yes.

   14                        MS. STRONG:      Okay.     And so we put

   15                  together a demonstrative that draws out that

   16                  distinction.

   17                        And, Pam, if you're able to, can you

   18                  pull up Slide 1, and I believe it's being

   19                  handed out in the court at this time as well,

   20                  or I would ask Mr. Asher to do so.

   21                 Q.     And so I'd like you to look at these

   22        questions, Dr. Lembke.

   23                        Question 1 is:       Was each Defendant's

   24        promotion, if any, informed by scientific evidence?

   25                        Question 2:      If not, did misleading
Case 3:17-cv-01362 Document 1115-4 Filed 10/24/20 Page 115 of 230 PageID #: 37210



     1                          Frye Hearing - Dr. Lembke                       114

     2       promotion by any Defendant cause doctors to write

     3       medically inappropriate prescriptions?

     4                       And then there's a third question, apart

     5       from that distinction that you made between 1 and 2,

     6       the third question is:          Did those prescriptions, if

     7       any, lead to opioid addiction, misuse or overdose?

     8                       Do you see those questions, Dr. Lembke?

     9                A      Yes, I do.

   10                 Q.     You spent a considerable amount of time

   11        with Mr. Hanly talking about question 1, but I want

   12        to focus on questions 2 and 3.

   13                        And so with that, Pam, if you can pull

   14        that down, and I'll ask you some questions focusing

   15        on that second question.

   16                        So let's talk about a doctor's decision

   17        to prescribe medications to a patient.

   18                        At a high level you agree that opioid

   19        prescribing practices depends largely on the doctor,

   20        correct?

   21                 A      No.

   22                 Q.     Well, you would agree that there is a

   23        huge variation in opioid prescribing across the

   24        country and it continues to depend largely on the

   25        doctor, right?
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     1                          Frye Hearing - Dr. Lembke                       115

     2                A      No.

     3                Q.     Okay.     Do you recall being deposed in

     4       this case, Dr. Lembke, on January 16th 2020?

     5                A      Yes.

     6                Q.     Okay.     And I would like to show you a

     7       portion of your deposition testimony.               For your

     8       benefit and for the Court's benefit, I'd like to

     9       refer you to page 54.

   10                        If Pam can put this up on the screen,

   11        page 54, lines 15 through lines 24.

   12                        THE COURT:      Okay.

   13                        MS. STRONG:      And I don't know if you

   14                  have your transcripts with you, Dr. Lembke or

   15                  if you prefer to read it off the screen.

   16                 Q.     Can you read that okay, Dr. Lembke?

   17                 A      Yes.

   18                 Q.     Okay.     And at your deposition on January

   19        16th 2020 here in the New York case, you were asked

   20        the following question:

   21                        "Has the number of pills in a

   22        prescription for three weeks of opioids remained the

   23        same over the past decade?

   24                        ANSWER:     There is huge variation in

   25        opioid prescribing across the country.               In some
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     1                          Frye Hearing - Dr. Lembke                       116

     2       geographic regions opioid prescribing has decreased

     3       rapidly.      In others, it has not.         It really depends

     4       on which doctor.

     5                       QUESTION:      So it depends on the doctors

     6       then?

     7                       ANSWER:     It continues to depend largely

     8       on the doctor, yes."

     9                       Is that the testimony that you gave at

   10        your deposition in this case, Dr. Lembke?

   11                 A      Yes, it is.

   12                 Q.     Okay.     And doctors are expected to weigh

   13        the risks and benefits of any prescription

   14        medication for each particular patient before

   15        deciding to prescribe it, correct?

   16                 A      Yes.

   17                 Q.     For example, there are numerous patient

   18        specific risk factors for opioid addiction, right,

   19        you believe that?

   20                 A      I'm sorry, can you repeat the question.

   21                 Q.     I can.

   22                        There are numerous patient specific risk

   23        factors for opioid addiction, correct?

   24                 A      Yes.

   25                 Q.     One of those risk factors is personal
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     1                          Frye Hearing - Dr. Lembke                       117

     2       history of substance abuse?

     3                A      Yes.

     4                Q.     Another is family history of substance

     5       abuse?

     6                A      Yes.

     7                Q.     Childhood trauma is another factor?

     8                A      Yes.

     9                Q.     And psychiatric comorbidity, correct?

   10                 A      Yes.

   11                 Q.     And by that, just for the benefit of the

   12        Court and for clarity, you mean an individual who

   13        has a psychiatric disorder, other than the disease

   14        of addiction, which could include everything from

   15        major depression, obsessive compulsive disorder,

   16        bipolar disorder and schizophrenia, correct?

   17                 A      Yes.

   18                 Q.     Although you've traveled to New York and

   19        you've talked with some doctors in New York, you do

   20        not know whether you have talked with any doctor who

   21        practices in Nassau County about his or her

   22        experiences with prescription opioids, correct?

   23                 A      That is correct.

   24                 Q.     And the same is true for Suffolk County,

   25        you do not know whether you have ever talked with a
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     1                          Frye Hearing - Dr. Lembke                       118

     2       doctor who practices in Suffolk County about his or

     3       her experience with prescription opioids, correct?

     4                A      Yes.

     5                Q.     In fact, the only doctors in New York

     6       who prescribe opioids that you can identify are

     7       doctors reported in lay-newspapers as operating pill

     8       mills, correct?

     9                A      I'm sorry, could you say that again.

   10                 Q.     Absolutely.

   11                        The only doctors in New York who

   12        prescribed opioids who you could identify are

   13        doctors reported in lay-newspapers as operating pill

   14        mills, correct?

   15                 A      No, that's not correct.

   16                 Q.     And, again, I'd like to pull up -- I

   17        would like you to look at a portion of your

   18        deposition testimony in this case, the January 16th

   19        2020 deposition.        For everyone's benefit we're

   20        turning to page 207, lines 4 through 10.

   21                        Pam, if you could put that up and

   22        everyone can take a moment to get their place, page

   23        207.

   24                        You were asked at your deposition,

   25        question, line 4.
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     1                          Frye Hearing - Dr. Lembke                       119

     2                       "So these are reports in the newspaper

     3       about pill mill doctors in New York?

     4                       ANSWER:     That's right.

     5                       QUESTION:      Okay.    Other than that, can

     6       you give -- identify any doctor who prescribed

     7       opioid medications to any individuals in New York?

     8                       ANSWER:     No."

     9                       Dr. Lembke, that was the testimony that

   10        you gave at your deposition in January, correct?

   11                 A      Yes.

   12                 Q.     So that means you didn't try to identify

   13        which doctors in New York, if any, saw any of the

   14        specific marketing materials you identified as

   15        problematic in your report, correct?

   16                 A      No, that's incorrect.

   17                 Q.     Well, you didn't identify any doctors

   18        who relied upon any specific marketing materials,

   19        correct, in describing decisions?

   20                 A      That is incorrect.

   21                 Q.     Okay.     Did you identify in your report

   22        any doctors or the scope of doctors who you believed

   23        saw a particular Defendant marketing materials and

   24        actually relied upon it in making a decision; did

   25        you identify those folks in your report?
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     1                          Frye Hearing - Dr. Lembke                       120

     2                A      Not in my report, no.

     3                Q.     Did you identify them at your

     4       deposition?

     5                A      No.

     6                Q.     In forming your opinions, in forming

     7       your opinions you also didn't conduct a survey of

     8       New York doctors to try to understand what factors

     9       they considered in deciding to prescribe opioid

   10        medication to any particular patient; did you?

   11                 A      What do you mean by "a survey?"

   12                 Q.     Well, I'm not talking about anecdotes.

   13        I'm talking about a scientifically rigorous survey.

   14                        You didn't conduct a survey to

   15        understand what factors any New York doctor

   16        considered in deciding to prescribe an opioid

   17        medication to any particular patient, correct?

   18                 A      No.

   19                 Q.     And you also did not conduct a survey of

   20        New York doctors to try to learn what marketing

   21        materials, if any, the prescribers in New York may

   22        have received from each individual Defendant, that

   23        was not part of your methodology in coming up with

   24        your opinions in this case, correct?

   25                 A      No, that's incorrect.
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     1                          Frye Hearing - Dr. Lembke                       121

     2                Q.     You conducted a survey, a scientifically

     3       rigorous survey to try to learn what marketing

     4       materials, if any, a prescriber in New York saw, may

     5       have received from each Defendant?

     6                A      So in the research for my book I

     7       conducted quantitative interviews with doctors

     8       providing what they relied upon in their opioid

     9       prescribing, including some healthcare professionals

   10        in New York.

   11                 Q.     Okay.    So I, I would like you to turn to

   12        your January 16th 2020 deposition.              If we can pull

   13        that up again.       It's page 175, line 5, and it runs

   14        to line 20.      Pam, you've got that on the screen.

   15                        Dr. Lembke, you were asked at your

   16        deposition:

   17                        "So you conducted no comprehensive

   18        survey of doctors and nurses in New York to

   19        understand what marketing materials, if any,

   20        prescribers in New York received from what

   21        individual Defendants; is that correct?"

   22                 A      It's correct that the survey --

   23                 Q.     Let me finish the question.

   24                 A      I'm sorry.

   25                 Q.     And so the transcript goes on to say:
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     1                          Frye Hearing - Dr. Lembke                       122

     2       "I feel like I answered the question to the best of

     3       my ability."

     4                       A follow-up question is asked at line

     5       12:    "So do you have a survey that you can show us

     6       where you surveyed doctors and nurses in New York

     7       regarding asking them, for example, Mallinckrodt,

     8       what specific marketing materials did you, Dr.

     9       Smith, in Nassau, receive from Mallinckrodt; do you

   10        have that to produce?

   11                        ANSWER:     I don't have a survey at that

   12        level of specificity."

   13                        That's your testimony from your

   14        deposition, correct, Dr. Lembke?

   15                 A      Yes.

   16                 Q.     Okay.     And you did not do a regression

   17        analysis as part of your methodology; did you?

   18                 A      No.

   19                 Q.     So to be clear to the Court, make sure

   20        we're on the same page, was there a regression

   21        analysis, is a tool that's employed to try to

   22        isolate the impact of one factor on another while

   23        controlling for potentially confounding factors,

   24        correct?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       123

     2                Q.     Okay.    And we've been talking about

     3       doctors -- I want to shift gears for a moment.

     4                       Pam, can you actually put up Slide 1 for

     5       us again one more time.

     6                       I want to remind you of what question 3

     7       is.    It says:     "Did those prescriptions, if any,

     8       lead to opioid addiction and misuse of use or

     9       overdose?"

   10                        All right.      So, Pam, you can pull that

   11        back down.

   12                        And so with that in mind, turning to

   13        patients, in forming your opinions, you haven't

   14        examined patient outcomes for any particular patient

   15        in the State of New York who was prescribed one of

   16        the Defendants' opioid medications; have you?

   17                 A      In my book I describe a patient who I

   18        interviewed using qualitative methods who was

   19        prescribed an opioid in the State of New York.

   20                 Q.     So in forming your opinions you relied

   21        upon that, that's your experience from New York,

   22        that one anecdote?

   23                 A      That is part of my experience for New

   24        York, yes.

   25                 Q.     Okay.    So you've not done anything more
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     1                          Frye Hearing - Dr. Lembke                       124

     2       to examine patient outcomes for any particular

     3       patient in the State of New York who was prescribed

     4       one of the Defendants' opioid medications; have you?

     5                A      Not by directly interviewing a patient,

     6       no.

     7                Q.     And you didn't review individual medical

     8       records either, correct?

     9                A      Correct.

   10                 Q.     And you didn't actually speak to any

   11        patients in Nassau or Suffolk County for purposes of

   12        forming your opinions in this case at all, correct?

   13                 A      Correct.

   14                 Q.     And you mentioned that one anecdote in

   15        your book.      Which drug did the patient take?

   16                 A      She was prescribed buprenorphine.

   17                 Q.     Any other drug?

   18                 A      No.

   19                 Q.     So given that you didn't examine

   20        patients broadly in forming your opinions, other

   21        than the one anecdote you gave us, you didn't talk

   22        to folks in Nassau or Suffolk, you didn't talk to

   23        patients there, that means that you didn't consider,

   24        as part of your methodology, whether any particular

   25        patient in New York suffering from chronic pain
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     1                          Frye Hearing - Dr. Lembke                       125

     2       actually benefited from Defendants' opioid

     3       medications, correct?

     4                A      I'm sorry, could you restate the

     5       question?

     6                Q.     Sure.

     7                       Given what you've said, as part of your

     8       methodology you didn't consider whether any

     9       particular patient in New York who suffers from

   10        chronic pain actually benefited from Defendants'

   11        opioid medications, correct?

   12                 A      I did have conversations with patients

   13        in New York, others beyond the one that was in my

   14        book regarding whether or not they benefited from

   15        opioid medications.

   16                 Q.     So you got some anecdotal conversations,

   17        that's what you're referring to?

   18                 A      I have conversations that I think go

   19        beyond anecdote.

   20                 Q.     Okay.    But you just testified in forming

   21        your opinions in this case you didn't review

   22        individual medical records or talk with patients in

   23        coming up with your opinions in this case; isn't

   24        that correct?

   25                 A      I didn't review medical records, but I
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     1                          Frye Hearing - Dr. Lembke                       126

     2       did talk to patients.

     3                Q.     Anecdotally?

     4                A      I think they were interviews based on

     5       quantitative methodology.

     6                Q.     And are they identified in your expert

     7       report, Dr. Lembke, in things that you relied upon

     8       in forming your opinions in this case?

     9                A      No.     We did not identify individual

   10        patients in my report.

   11                 Q.     Because that's not part of your

   12        methodology in forming your opinions in this case,

   13        correct, Dr. Lembke?

   14                 A      No, that's not correct.

   15                 Q.     So you have a methodology that you

   16        failed to disclose to us, Dr. Lembke; is that your

   17        testimony?

   18                 A      No.

   19                 Q.     Okay.     You haven't looked at individual

   20        prescribing decisions of doctors in New York, and

   21        you haven't surveyed them for purposes of in terms

   22        of a scientifically rigorous survey for coming up

   23        with your, your opinions here, but your analysis

   24        does depend, in part, on your belief that there's no

   25        reliable evidence that long-term opioid therapy is
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     1                          Frye Hearing - Dr. Lembke                       127

     2       effective for chronic non-cancer pain, correct?

     3                A      Yes.

     4                Q.     You recognize that the FDA has approved

     5       certain prescription opioid medications for the

     6       management of chronic pain, right?

     7                A      Yes.

     8                Q.     And, for example, the FDA has approved

     9       Nucynta Er with the indication for management of

   10        chronic pain, correct?

   11                 A      Yes.

   12                 Q.     The same is true for Duragesic?

   13                 A      Yes.

   14                 Q.     The same is true for Exalgo?

   15                 A      Yes.

   16                 Q.     The same is true for Kadian, correct?

   17                 A      Yes.

   18                 Q.     There are a number of generic drugs,

   19        generic long-acting opioids that are also approved

   20        for the management of chronic pain, correct?

   21                 A      Yes.

   22                 Q.     Some of those medications are

   23        manufactured by some of the Defendants in this case,

   24        correct?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       128

     2                Q.     You understand that before approving any

     3       prescription opioid medication the FDA must

     4       determine that it's safe and effective?

     5                A      Well, I just lost sound.          Can you repeat

     6       that?

     7                Q.     Yes.

     8                       Can you hear me okay?

     9                A      Yeah.

   10                 Q.     We have some volume, some noise.             I

   11        don't know if you can hear it.

   12                 A      I hear some static, which makes it

   13        harder to hear you.

   14                 Q.     Yes.    I think it's gone now, Dr. Lembke.

   15        Can you hear me better?

   16                 A      Yes.    Thank you.

   17                 Q.     So my question was:         You understand that

   18        before approving any prescription opioid medication

   19        the FDA must determine that it's safe and effective

   20        for its indicated use, correct?

   21                 A      Yes, I understand that.

   22                 Q.     You also understand that for a drug to

   23        be approved for marketing FDA must determine that

   24        the drug is effective and that the benefits outweigh

   25        its potential risk to patients; is that right?
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     1                           Frye Hearing - Dr. Lembke                      129

     2                 A       Yes.

     3                 Q.      But you don't believe that the totality

     4       of the evidence that the FDA reviewed in connection

     5       with approving prescription opioid medications for

     6       treatment of chronic pain support that indication,

     7       correct?

     8                 A       That is correct.

     9                 Q.      In your opinion, Dr. Lembke, the FDA was

   10        just wrong on this issue, correct?

   11                  A       They were wrong and also to some extent

   12        duped.

   13                  Q.      Do you believe they were wrong, Dr.

   14        Lembke?        That's my question.      I would like you to

   15        answer my questions.

   16                  A       Yes.

   17                  Q.      So putting aside some of the details

   18        that we just covered, at bottom you believe that

   19        doctors have prescribed too many opioid medications,

   20        correct?

   21                  A       Yes.

   22                  Q.      As part of your work in this case,

   23        you've not identified any specific prescription for

   24        an opioid medication written in the State of New

   25        York that you believe is medically unnecessary,
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     1                          Frye Hearing - Dr. Lembke                       130

     2       correct?

     3                       And, again, I'm focused on your work in

     4       forming your opinions for this case, that which was

     5       disclosed to the Defendants.            I'm not talking about

     6       anecdotal conversations you may or may not have had.

     7       I'm really trying to focus on the basis of your

     8       opinions in this case as disclosed to the parties.

     9                       So do you need me to repeat the

   10        question?

   11                 A      Sure.

   12                 Q.     So as part of your work in this case, in

   13        forming your opinions here you have not identified

   14        any specific prescription for an opioid medication

   15        written in the State of New York that you believe is

   16        medically unnecessary, correct?

   17                 A      It's hard for me to answer that yes or

   18        no.    I did research for my book, which preceded my

   19        involvement in this litigation, which just formed my

   20        opinion, and in that process I did qualitative

   21        interviews, including with individuals in New York

   22        State.

   23                 Q.     Okay.    Just so we have absolute clarity

   24        on this, why don't we go ahead and turn to page 207

   25        of your January 2020 deposition.             For everyone in
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     1                          Frye Hearing - Dr. Lembke                       131

     2       the courtroom it's page 207, lines 21, and it runs

     3       on to page 208, line 3.          Pam has pulled it up.

     4       Thank you very much, Pam.

     5                       So at line 21 you were asked:            "So my

     6       question was a bit different, so let me just ask

     7       this:    Is your opinion in this case based on

     8       identifying concrete examples of specific

     9       prescriptions of any opioids written in New York

   10        that you believe in your opinion were medically

   11        unnecessary or inappropriate?

   12                        ANSWER:     My opinion is not based on

   13        specific prescriptions, it's based on aggregate

   14        prescriptions."

   15                        That was the testimony that you gave in

   16        your deposition in this case, correct?

   17                 A      Yes.

   18                 Q.     Did you include those qualitative

   19        interviews that you just referenced?              Did you

   20        include those interviews in your expert materials in

   21        this case?

   22                 A      Yes.

   23                 Q.     Okay.     And can you identify where those

   24        are located in your expert materials?

   25                 A      Defense asked for those documents.              They
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     1                          Frye Hearing - Dr. Lembke                       132

     2       were copied and given to defense counsel.                They were

     3       used in deposition.         I was asked questions regarding

     4       those documents in deposition.

     5                Q.     And you gave the answer, the aggregate

     6       prescription is what you relied upon.               That's what

     7       you testified to at the deposition, right?                Your

     8       opinion is not based on specific prescriptions, in

     9       terms of forming your opinion in this case, it was

   10        based on aggregate prescriptions, correct?

   11                 A      That is what I testified at the

   12        deposition, yes.

   13                 Q.     And you can't point to any particular

   14        prescription for any Janssen opioid medications and

   15        tell the jury that those are medically unnecessary,

   16        that's not something that you're going to do in this

   17        case, correct?

   18                 A      No.

   19                        THE COURT:      "No," or "no," not correct?

   20                        THE WITNESS:       Sorry.    Ask the question

   21                  again.

   22                 Q.     So I'll rephrase it a little bit.

   23                        You can't point to any particular

   24        prescription for any Janssen opioid medications and

   25        tell the jury that those are medically unnecessary?
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     1                          Frye Hearing - Dr. Lembke                       133

     2                 A     No, I cannot point to any specific

     3       Janssen prescriptions.

     4                 Q.    The same is true for Allergan, correct?

     5                 A     Yes.

     6                 Q.    And Teva?

     7                 A     Yes.

     8                 Q.    Endo?

     9                 A     Yes.

   10                  Q.    Mallinckrodt?

   11                  A     Yes.

   12                  Q.    So your opinion in this case instead is

   13        that the total number of opioid prescriptions

   14        written was too many, right?

   15                  A     Yes.

   16                  Q.    Even though you're focused on the total

   17        number of opioid prescriptions, you still don't know

   18        what the right number of opioid prescriptions is,

   19        correct?

   20                  A     I don't think that's correct.            No, I do

   21        have an opinion about that.

   22                  Q.    Okay.    So let's go and pull up your

   23        deposition.      It's page 115 -- let me ask it slightly

   24        differently before we do that, Pam, actually, one

   25        moment.
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     1                           Frye Hearing - Dr. Lembke                      134

     2                         You don't know the right number of

     3       patients -- I mean, let's set aside total number of

     4       prescriptions.           You don't know the right number of

     5       patients who should be prescribed opioid medications

     6       in this country are in New York or not; do you?

     7                 A       Well, I'm not sure what you mean by "the

     8       right number."           I mean, I don't have a specific

     9       number.        I do have an opinion that we should be

   10        prescribing a lot less than we're currently

   11        prescribing and for a much narrower indication.

   12                  Q.      Okay.     So you think it should be less,

   13        but my question is what is the right number?                 You

   14        don't know what the right number of prescriptions

   15        is, correct?

   16                  A       I have not calculated a single number,

   17        no.

   18                  Q.      And, in fact, the most you've testified

   19        to at your deposition is you said:              It's hard to say

   20        what the number should be.           I think it should be

   21        lower.        Correct?     That's what you said at your

   22        deposition?

   23                  A       Yes.

   24                  Q.      Okay.     So that means you can't tell the

   25        Court, for example, how many fewer Kadian
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     1                          Frye Hearing - Dr. Lembke                       135

     2       prescriptions should have been written, correct?

     3                A      As I said to the Judge earlier, a rough

     4       estimate is that we're writing four to five times

     5       too many opioid prescriptions compared to what we

     6       were writing in the 1990s.           So that could also apply

     7       to Kadian's products.

     8                Q.     Is it your opinion that the correct

     9       number of prescriptions is those that were written

   10        in 1990?

   11                 A      I think we were closer to what was

   12        appropriate for the actual need for analgesia in the

   13        population.

   14                 Q.     That was -- in the 1990 you do

   15        understand that the Defendants' products mostly did

   16        not exist, correct?         Do you understand that?

   17                 A      There are a lot of products.            I don't

   18        know the exact dates of every single product and

   19        when it came out on the market.

   20                 Q.     So you don't know that most of the

   21        Defendants' products at issue in this case didn't

   22        exist in 1990; is that your testimony, Dr. Lembke?

   23                 A      I'd like to see the material on that.

   24        I'm happy to review any additional material.

   25                 Q.     I'm just asking if you happen to know as
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     1                           Frye Hearing - Dr. Lembke                      136

     2       an expert opining in this case, whether the vast

     3       majority of the products at issue in this case did

     4       not exist in 1990; do you know that or not?

     5                 A       Well, I, I would disagree that it's the

     6       vast majority.        Morphine was available, OxyContin

     7       was available, hydrocodone products were available.

     8                 Q.      I'm talking about the Defendants'

     9       branded products at issue in this litigation as a

   10        starting point, most of them did not exist; do you

   11        know that or not?         If you don't, that's fine, Dr.

   12        Lembke.        I'm just trying to get an understanding of

   13        your knowledge of those medications.

   14                  A       Well, you're wanting me to agree with

   15        the statement that I'm reluctant to agree with,

   16        because I would want to see more material.

   17                  Q.      Because you don't know, without seeing

   18        more material, you can't tell me; is that fair to

   19        say?

   20                  A       Yes, that is fair to say.

   21                  Q.      Okay.   And, you know, I just want to ask

   22        a couple more on this point, because I think it's

   23        important for us all to be clear on this.

   24                          Right now sitting here today, you can't

   25        testify as to how many fewer Nucynta prescriptions
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     1                          Frye Hearing - Dr. Lembke                       137

     2       should have been written at any point in time,

     3       correct?

     4                       And, I mean, you know, how many should

     5       have been written or should not have been written,

     6       you can't do that as you sit here today, correct?

     7                A      I can't provide a specific number, no.

     8                Q.     The same is true for Exalgo?

     9                A      Yes.

   10                 Q.     Actiq?

   11                 A      Yes.

   12                 Q.     That's really true for any individual

   13        opioid medications that were sold or distributed or

   14        dispensed by any Defendants in this case, correct?

   15                 A      Yes.

   16                 Q.     So let's talk more about the factors

   17        that led to the number of prescriptions of opioids

   18        in New York, generally in Suffolk and Nassau County

   19        specifically.

   20                        You do agree that some doctors actually

   21        prescribed opioids purely for their own personal

   22        profit knowing that the individuals to whom they

   23        were prescribing didn't really need the medications,

   24        correct?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       138

     2                Q.     Doctors who prescribe opioids to people

     3       knowing that they don't actually need the

     4       medications, those doctors are commonly referred to

     5       as pill mill doctors, correct?

     6                A      Yes.

     7                Q.     They're not prescribing opioids because

     8       they believe the prescriptions are appropriate based

     9       on anything anyone said, correct?

   10                 A      Yes.

   11                 Q.     That would include Defendants, they're

   12        not doing it based on anything the Defendants said

   13        when they're out there committing those crimes,

   14        correct?

   15                 A      Yes.

   16                 Q.     You do recognize that pill mills have

   17        contributed to the opioid problem, correct?

   18                 A      Yes.

   19                 Q.     You're aware from at least lay-newspaper

   20        articles, I believe you identified those before,

   21        that there have been pill mill doctors in New York,

   22        right?

   23                 A      Yes.

   24                 Q.     But you can't identify any specific pill

   25        mills in New York State, correct?
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     1                          Frye Hearing - Dr. Lembke                       139

     2                A      Correct.

     3                Q.     So it's fair to say that you haven't

     4       taken steps to measure or quantify the impact of

     5       pill mills in causing opioid abuse, misuse or

     6       overdose, that wasn't part of your methodology,

     7       correct?

     8                A      That's incorrect.

     9                Q.     Okay.    So let me go here.

   10                        I understand you published an article in

   11        JAMA in 2016 with Jonathan Chen, an altered view of

   12        2013 Medicaid data on opioid prescribing; are you

   13        pausing because of that?

   14                 A      Yes.

   15                 Q.     Okay.    So you know that -- and thanks

   16        for that Medicare data -- you know that many pill

   17        mill doctors actually run all cash businesses and

   18        don't accept insurance, correct?

   19                 A      Yes.

   20                 Q.     And Medicare is a form of insurance,

   21        right?

   22                 A      Yes, it is.      Yes.

   23                 Q.     I need an oral answer for the

   24        transcript.      Thanks, Dr. Lembke.

   25                        If pill mill doctors don't accept an
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     1                          Frye Hearing - Dr. Lembke                       140

     2       insurance, their prescriptions wouldn't show up in

     3       Medicare data, correct?

     4                A      That's true.

     5                Q.     So setting aside that in your 2006 JAMA

     6       article addressing Medicare data you conclude -- I'm

     7       sorry, setting that aside, in that article you

     8       conclude that the overall increase in opioid

     9       prescribing was not primarily due to pill mill

   10        doctors, correct?

   11                 A      That's correct.

   12                 Q.     Okay.    But the article doesn't address

   13        the impact of pill mill prescribers on specific

   14        patient outcomes, correct?

   15                 A      That is true.

   16                 Q.     Okay.    And so nothing in the article

   17        directly quantifies the impact of prescriptions from

   18        pill mill doctors on opioid abuse, misuse and

   19        overdose, fair?

   20                 A      That is fair.

   21                 Q.     So let's talk about doctor shopping

   22        next.

   23                        You agree that in some circumstances

   24        patients themselves engage in manipulative behaviors

   25        to obtain opioid medications from doctors, right?
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     1                          Frye Hearing - Dr. Lembke                       141

     2                A      Yes.

     3                Q.     And one example is you know of a patient

     4       manipulating a prescriber is when a patient goes to

     5       multiple doctors to get the same or similar

     6       prescriptions, right?

     7                A      Yes.

     8                Q.     That's called doctor shopping; isn't it?

     9                A      Yes, that's correct.

   10                 Q.     To be clear, doctor shopping patients

   11        essentially lie to their doctors to get more opioid

   12        prescriptions, correct?

   13                 A      Yes.

   14                 Q.     You would agree that doctor shopping

   15        often leads to improper prescriptions, right?

   16                 A      Yes.

   17                 Q.     You would agree that doctor shopping is

   18        certainly part of the opioid abuse problem in New

   19        York, correct?

   20                 A      Yes.

   21                 Q.     Well, one way to identify patients who

   22        may be doctor shopping is to look at the data

   23        maintained by a state's prescription drug monitoring

   24        program, correct?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       142

     2                Q.     You haven't looked at New York's

     3       prescription drug monitoring program data in forming

     4       your opinions in this case, correct?

     5                A      That's correct.

     6                Q.     So that means you have not tried to

     7       identify how many prescription opioid pills were

     8       dispensed improperly as a result of doctor shopping,

     9       fair?

   10                 A      Not by looking at the prescription drug

   11        monitoring database.

   12                 Q.     Well, it wasn't part of your methodology

   13        in this case to actually measure the impact of

   14        doctor shopping on the opioid abuse problem in New

   15        York, correct?

   16                 A      That is correct.

   17                 Q.     So let's turn to opioid prescriptions

   18        that were illegally obtained without any

   19        prescription at all.

   20                        Illegally obtaining opioid medications

   21        is often referred to as diversion, correct?

   22                 A      Yes.

   23                 Q.     Do you agree that sometimes prescription

   24        opioid pills are stolen from production facilities

   25        during transit from production facilities or from
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     1                          Frye Hearing - Dr. Lembke                       143

     2       retail pharmacies; is that right?

     3                A      Yes.

     4                Q.     Opioid pills that were diverted from

     5       production facilities, pharmacies or during transit

     6       were not prescribed by a doctor, correct?

     7                A      That is correct.

     8                Q.     You agree that this type of diversion

     9       has been part of the opioid abuse problem in New

   10        York, right?

   11                 A      Yes.

   12                 Q.     But you've not identified the number of

   13        these incidents of diversion in forming your

   14        causation opinion in this case; have you?

   15                 A      No.

   16                 Q.     You don't know what percentage of pills

   17        are diverted from pharmacies or distributors; do

   18        you?

   19                 A      No.

   20                 Q.     In fact, you aren't even offering an

   21        opinion on thefts from pharmacies or distributors in

   22        this case, correct?

   23                 A      Pardon me?

   24                 Q.     I just want to make sure you weren't

   25        offering an opinion on thefts from pharmacies or
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     1                          Frye Hearing - Dr. Lembke                       144

     2       distributors in this case, correct?              Right?

     3                A      I can't answer that yes or no.

     4                Q.     Well, let me try, I'm going to rephrase

     5       it one more time and see if we can do this before we

     6       go to the deposition.

     7                       Are you offering any opinion in this

     8       case about any theft from a distributor in this

     9       case?

   10                 A      I am offering opinion on diversion but

   11        not specifically necessarily due to theft.

   12                 Q.     Okay.    So I just really need you to

   13        focus on the question.          That was my question.

   14                        You're not offering opinions on thefts

   15        from pharmacies or distributors in this case,

   16        correct?

   17                 A      Correct.

   18                 Q.     And so it's fair to say that you've not

   19        tried to quantify the impact of this type of

   20        diversion on the opioid abuse crisis in New York;

   21        it's not part of your methodology to quantify this

   22        diversion, correct?

   23                 A      That's correct.

   24                 Q.     One of your opinions in this case is

   25        that increased supply of prescription opioids
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     1                          Frye Hearing - Dr. Lembke                       145

     2       contributed to more individuals turning to heroin,

     3       correct?

     4                A      Yes.

     5                Q.     You agree that heroin and other

     6       illicitly manufactured opioids are supplied by drug

     7       dealers and cartels, right?

     8                A      Yes.

     9                Q.     Despite opining on what you believe was

   10        the cause of heroin use, are you aware that there

   11        were many -- there were more heroin users in New

   12        York City in the mid 1970s than in 2000?

   13                 A      I haven't seen material to that effect,

   14        but I'm happy to review, and if you have something

   15        you want me to read.

   16                 Q.     So you're not aware of that; is that

   17        your testimony?

   18                 A      Yes.

   19                 Q.     You're not aware of it, correct?

   20                 A      That's correct.

   21                 Q.     No part of your methodology involved

   22        looking at the illicitly manufactured opioid market

   23        in New York, correct?

   24                 A      That's correct.

   25                 Q.     So let's talk more about the things that
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     1                          Frye Hearing - Dr. Lembke                       146

     2       may have harmed New York residents.

     3                       For example, do you believe that other

     4       pharmaceutical companies that are not Defendants in

     5       this case contributed to opioid related harms in New

     6       York, right?

     7                A      I'm sorry, could you --

     8                Q.     Do you want me to say it again?

     9                A      There are a lot of Defendants in this

   10        case.    Are you referring to a specific opioid

   11        manufacturing --

   12                 Q.     Right now as you sit here, do you

   13        believe that other pharmaceutical companies, other

   14        than the Defendants in this case, contributed to

   15        opioid related harms in New York?

   16                 A      Yes.    I mean, I, I look at it as a sort

   17        of aggregate influence.

   18                 Q.     Okay.    And do you believe that doctors

   19        contributed to opioid related harms in New York,

   20        correct?

   21                 A      Yes.

   22                 Q.     The FDA also contributed to the harms in

   23        your opinion, correct?

   24                 A      Yes.

   25                 Q.     State Medical Boards and the Federation
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     1                          Frye Hearing - Dr. Lembke                       147

     2       of State Medical Boards also contributed?

     3                A      Yes.

     4                Q.     Formulary and reimbursement policies of

     5       insurance companies and other third-party pairs also

     6       contributed in your opinion, correct?

     7                A      Yes.

     8                Q.     So let's talk a little bit about each of

     9       those.

   10                        Although you believe that there are

   11        pharmaceutical companies, other than the Defendants

   12        here, that bear some responsibility, you have not,

   13        as part of your opinion in this case, quantified the

   14        contribution of those non-Defendant pharmaceutical

   15        companies; have you?

   16                 A      No.

   17                 Q.     When you say doctors bear some

   18        responsibility, that means all doctors, not just the

   19        pill mill doctors we discussed before, correct?

   20                 A      Yes.

   21                 Q.     Then in the course of writing your book

   22        you took notes reflecting that some of your

   23        colleagues just want to keep the emergency moving by

   24        getting patients out the door, right?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       148

     2                Q.     One of your trusted colleagues said,

     3       Just give them what they want, right?

     4                A      Yes, she did.

     5                Q.     But you haven't quantified the extent to

     6       which doctors have contributed to the opioid crisis

     7       in New York, correct?

     8                A      Not to a specific number, no.

     9                Q.     And as we discussed earlier, you think

   10        the FDA got it wrong when they approved opioid

   11        medications for the treatment of chronic pain,

   12        correct?      I just want to make sure we're back on the

   13        same page there.

   14                 A      Yes.

   15                 Q.     You also believe that the FDA

   16        contributed to the prescription opioid epidemic by

   17        making it easier, because I'm quoting from you,

   18        making it easier for the pharmaceutical companies to

   19        get FDA approval from new opioids coming on the

   20        market; is that fair?

   21                 A      Yes.

   22                 Q.     But there's no portion of your

   23        methodology where you quantify the degree of

   24        responsibility that should be allocated to FDA,

   25        correct?
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     1                          Frye Hearing - Dr. Lembke                       149

     2                A      That's correct.

     3                Q.     So let's talk about some of the other

     4       regulatory authorities.

     5                       The New York Board of Medicine has the

     6       power to investigate and discipline doctors,

     7       correct?

     8                A      Yes.

     9                Q.     It also imposes and overseas continuing

   10        medical education, or CME requirements; doesn't it?

   11                 A      Yes.

   12                 Q.     The New York Board of Medicine has the

   13        authority to revoke medical licenses, correct?

   14                 A      Yes, it does.

   15                 Q.     If a doctor has his or her license

   16        revoked, the doctor can't prescribe opioid

   17        medications, correct?

   18                 A      Not lawfully.

   19                 Q.     So that's correct?

   20                 A      That's correct.

   21                 Q.     And you agree that State Medical Boards,

   22        including the New York Board of Medicine,

   23        contributed to the opioid related harms, right?

   24                 A      Yes.

   25                 Q.     But there's no part of your methodology
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     1                          Frye Hearing - Dr. Lembke                       150

     2       that quantifies the degree of responsibility that

     3       should be allocated to the New York Board of

     4       Medicine, correct?

     5                A      That's correct.

     6                Q.     You also think that model opioid

     7       prescribing guidelines released by the Federation of

     8       State Medical Boards made the opioid epidemic in New

     9       York worse, right?

   10                 A      Yes.

   11                 Q.     So we've talked about a few government

   12        regulatory agencies now but, again, to be clear, no

   13        part of your methodology quantifies the

   14        responsibility of any government or regulatory

   15        entity, fair?

   16                 A      Yes.

   17                 Q.     You also don't, as part of your -- as

   18        part of your methodology in this case, you don't

   19        quantify the extent to which managed care formulary

   20        or other reimbursement policies caused or

   21        contributed to the opioid epidemic in New York,

   22        correct?

   23                 A      That's correct.

   24                 Q.     But you agree that managed care

   25        formulary, other reimbursement policies did
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     1                          Frye Hearing - Dr. Lembke                       151

     2       influence how medication is prescribed, right?

     3                A      Yes.

     4                Q.     So we've talked about a number of

     5       individuals and entities and other factors that you

     6       believe contributed to the opioid crisis.

     7                       I'd ask Pam now to pull up Slide 2 and,

     8       Mr. Asher, if you can, hand that out in court.                  This

     9       one will be pretty quick.           And if you can go ahead

   10        and pull that up.

   11                        So, again, we've talked about a number

   12        of individuals and entities and other factors that

   13        you believed contributed to the opioid crisis, and I

   14        think they'll pop up on the screen here in a moment.

   15                        But to be clear, Dr. Lembke, you've not

   16        specifically quantified the responsibility of any of

   17        those factors; have you?

   18                 A      Not with a specific number, no.

   19                        MS. STRONG:      Okay.     So we just don't

   20                  know.    No further questions at this time,

   21                  your Honor.      Thank you, Dr. Lembke.

   22                        THE WITNESS:       You're welcome.

   23                        MR. PYSER:      Your Honor, this is Steven

   24                  Pyser, I'm up next.        Completely up to the

   25                  Court if you want to take a break now or you
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     1                          Frye Hearing - Dr. Lembke                       152

     2                 just want me to jump in.

     3                       THE COURT:      We're only working for an

     4                 hour, so jump in.

     5                       THE WITNESS:       Mr. Pyser, can you improve

     6                 your sound at all?        The sound is not good on

     7                 my end, neither is my hearing.

     8                       MR. PYSER:      I will do my best to improve

     9                 my sound.

   10        CROSS-EXAMINATION

   11        MR. PYSER:

   12                 Q.     Dr. Lembke, I just want to start with

   13        some questions about your personal experience.

   14                        Have you ever worked for a

   15        pharmaceutical wholesale distributor?

   16                 A      No.

   17                 Q.     Do you have any training or expertise in

   18        supply chain management?

   19                 A      No.

   20                 Q.     Do you have any training or expertise in

   21        the distribution of controlled substances?

   22                 A      No.

   23                 Q.     Do you have any training or expertise in

   24        suspicious order monitoring for controlled

   25        substances?
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     1                          Frye Hearing - Dr. Lembke                       153

     2                A      No.

     3                Q.     Do you have any training or expertise in

     4       a distributor's legal or regulatory responsibilities

     5       concerning distribution of controlled substances?

     6                A      I am aware of the Controlled Substances

     7       Act and its statement that every player in the

     8       supply chain has a responsibility to steward those

     9       pills and to monitor suspicious orders.

   10                 Q.     But you don't have any expertise in

   11        distributors' legal or regulatory responsibilities

   12        with respect to controlled substances; do you?

   13                 A      I don't have specific training beyond my

   14        medical training and my medical experience, no.

   15                 Q.     Doctor, if you could, Dr. Lembke, do you

   16        recall giving a deposition in the MDL case on April

   17        24th 2019?

   18                 A      Yes, I recall giving that deposition.

   19                 Q.     Now, if you're able to control the

   20        screen and bring up page 276, lines 5 through 9, and

   21        in that deposition you were asked:               "Do you have any

   22        training or expertise in a distributor's legal or

   23        regulatory responsibilities concerning the

   24        distribution of controlled substances?"

   25                        And you answered:        "No."
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     1                          Frye Hearing - Dr. Lembke                       154

     2                       Is that the testimony you gave under

     3       oath?

     4                A      Yes.

     5                Q.     Have you ever designed a suspicious

     6       order monitoring program?

     7                A      Yes.

     8                Q.     Dr. Lembke, you recall being deposed in

     9       this case in New York?

   10                 A      Yes.

   11                        MR. PYSER:      Matt, if you can pull up the

   12                  January 16th 2020 deposition transcript at

   13                  page 170, line 24, through 171, line one.

   14                 Q.     You were asked:        "Have you ever designed

   15        a suspicious order monitoring program?"

   16                        And you answered:        "No."

   17                        Was that the testimony you gave under

   18        oath?

   19                 A      Yes.

   20                 Q.     Dr. Lembke, I'd like to ask you a little

   21        bit about something from your report on page 13 of

   22        your report in paragraph 2.            If you have it handy I

   23        can read it to you as well.            You wrote the

   24        following:      "Opioid prescribing began to increase in

   25        the 1980s and became prolific in the 1990s and the
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     1                          Frye Hearing - Dr. Lembke                       155

     2       early part of the 21st century representing a

     3       radical part on shift in the treatment of pain and

     4       creating more access to opioids across the United

     5       States."

     6                       Did I read that correctly?

     7                A      Yes.

     8                Q.     And specifically, part of your opinion

     9       is that one of the ways that the paradigm shifted is

   10        that opioids became a first line treatment for minor

   11        pain conditions and chronic pain conditions; is that

   12        right?

   13                 A      Yes.

   14                 Q.     As a result of that paradigm shifting in

   15        the treatment of pain it was generally accepted

   16        medical practice to prescribe opioids to patients

   17        for chronic non-cancer pain, correct?

   18                 A      Yes.

   19                 Q.     Another result of the paradigm shift was

   20        that doctors prescribed opioids in higher doses as

   21        part of the generally accepted medical practice; is

   22        that right?

   23                 A      Yes.

   24                 Q.     And doctors, as part of generally

   25        accepted medical practice, also prescribed opioids
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     1                          Frye Hearing - Dr. Lembke                       156

     2       on a longer term basis, correct?

     3                A      Yes.

     4                Q.     When we talk about generally accepted

     5       medical practice, that means that's one that most

     6       doctors at the time believed was the correct

     7       treatment option, correct?

     8                A      Yes.

     9                Q.     When we talk about generally accepted

   10        medical practice, that includes the State of New

   11        York, as well as the rest of the country; is that

   12        right?

   13                 A      Yes.

   14                 Q.     I'm going to ask you a little bit about

   15        something you were asked about this morning.                 Mr.

   16        Hanly brought up something called the gateway

   17        effect; do you remember that this morning?

   18                 A      Yes.

   19                 Q.     You never used that specific phrase,

   20        gateway effect, or published that observation in any

   21        peer review journal articles; have you?

   22                 A      No.

   23                 Q.     "No," you have not?

   24                 A      I have not published that in any peer

   25        review journal articles.           I have used that in other
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     1                          Frye Hearing - Dr. Lembke                       157

     2       contexts.

     3                Q.     Before you were hired as an expert

     4       witness in this case Mr. Hanly brought up a book

     5       that you wrote, Drug Dealer, M.D.

     6                A      Yes.

     7                Q.     And he noted that that book was from

     8       2016, right?

     9                A      Yes.

   10                 Q.     You worked hard on the book?

   11                 A      Yes.

   12                 Q.     Had to get your facts right?

   13                 A      Pardon me?

   14                 Q.     You tried to get your facts right as to

   15        what you included in the book?

   16                 A      Yes, I did.

   17                 Q.     So in that book, before you were hired

   18        by the Plaintiffs' lawyers here, you had concluded

   19        that the relationship between doctors' prescribing

   20        patterns and the initiation of heroin use remains

   21        unclear; is that right?

   22                 A      Yes.

   23                 Q.     In making that finding you cited to the

   24        New England Journal of Medicine, correct?

   25                 A      Yes.    But I believe I cited the wrong
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     1                          Frye Hearing - Dr. Lembke                       158

     2       citation.

     3                Q.     Do you know what the right citation is?

     4                A      I can't recall it now, but I had

     5       intended to use something other than what I ended up

     6       using, which was a later publication.

     7                Q.     But the statement itself was included in

     8       your book, right?

     9                A      Yes.

   10                 Q.     That is the relationship between

   11        doctors' prescribing patterns in the initiation of

   12        heroin use remains unclear?

   13                 A      Yes.    I had a very specific idea in mind

   14        with that that I didn't clarify, but I could, if

   15        you'd like me to.

   16                 Q.     Dr. Lembke, did you or did you not write

   17        that the relationship between doctors' prescribing

   18        patterns and the initiation of heroin use remains

   19        unclear?

   20                 A      Yes.

   21                 Q.     I want to shift gears a little bit

   22        towards some of the marketing issues that you were

   23        asked about this morning.

   24                 A      Okay.

   25                 Q.     Can you identify any false or misleading
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     1                          Frye Hearing - Dr. Lembke                       159

     2       claim about opioids made by a pharmaceutical

     3       distributor that's been named as a Defendant in this

     4       case?

     5                A      Yes, I can.

     6                Q.     Well, Dr. Lembke, I'd like to direct you

     7       to your New York deposition at page 70, line 14, and

     8       you were asked at the time the same exact question I

     9       just asked you, and that was can you identify any

   10        false or misleading claim about opioids that was

   11        made by a pharmaceutical distributor that has been

   12        named as a Defendant in this case, and you answered

   13        that question no.

   14                        Is that your testimony under oath?

   15                 A      Yes.    That was my testimony.

   16                 Q.     And it was true at the time?

   17                 A      At the time it was true.

   18                 Q.     That testimony was given after you

   19        submitted your report in New York State, correct?

   20                 A      Yes.

   21                 Q.     You've not filed a supplemental report

   22        in New York State, the report you filed is the only

   23        report we have from you in New York State; is that

   24        right?

   25                 A      That's correct.
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     1                          Frye Hearing - Dr. Lembke                       160

     2                Q.     On page 6 of that report, I want to

     3       refer you to opinion 3.          At opinion 3 you wrote:

     4       "The pharmaceutical opioid industry contributed to

     5       the paradigm shift in opioid prescribing through

     6       promotional materials and its use and manipulation

     7       of key opinion leaders, continuing medical education

     8       courses, professional medical societies, Federation

     9       of State Medical Boards, and the Joint Commission to

   10        convey misleading messages about the safety and

   11        effect -- and efficacy of prescription opioids."

   12                        Is that a correct reading of your

   13        opinion 3?

   14                 A      Yes.

   15                 Q.     So I would like to break that down and

   16        just talk about the role of distributors or lack of

   17        role of distributors as to each of those, okay?

   18                 A      Sure.

   19                 Q.     When you say the pharmaceutical opioid

   20        industry used and manipulated key opinion leaders,

   21        you're not talking about distributors, correct?

   22                 A      That's correct.

   23                 Q.     When you say the pharmaceutical opioid

   24        industry used and manipulated continuing medical

   25        educational courses, you're not talking about
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     1                          Frye Hearing - Dr. Lembke                       161

     2       distributors?

     3                A      No.

     4                Q.     "No," you're not talking about

     5       distributors?

     6                A      I'm not talking about distributors, no.

     7                Q.     When you say the pharmaceutical opioid

     8       industry used and manipulated professional medical

     9       societies, you're not talking about distributors

   10        there either; are you?

   11                 A      No.

   12                 Q.     When you say the pharmaceutical opioid

   13        industry used and manipulated the Federation of

   14        State Medical Boards and the Joint Commission there,

   15        you're not talking about distributors either; are

   16        you?

   17                 A      No.

   18                        THE COURT:      You know, when a question

   19                  calls for a yes or no, it might be a

   20                  universal recommendation to have every

   21                  witness watch the movie My Cousin Vinnie,

   22                  when he is asked originally by a deputy he's

   23                  told, You shot the sheriff.           He says, I shot

   24                  the sheriff.      Then when the deputy gets on

   25                  the stand, what did he say?           He says, I shot
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     1                          Frye Hearing - Dr. Lembke                        162

     2                 the sheriff.

     3                       So when you say like no to that last

     4                 question, you really mean something else.

     5                 You've been doing a good job.            You've been

     6                 saying, No, I do not, or yes, I do.              So for

     7                 purposes of the record just --

     8                       THE WITNESS:       Okay.    Thank you.      I've

     9                 been worried to say more than yes or no.

   10                        THE COURT:      All right.      Am I the only

   11                  person in this building that saw My Cousin

   12                  Vinnie?     Just curious.        Let's go.

   13                 Q.     Let's try to clean that up, if we could,

   14        because I think we understood what you were saying.

   15                        For each of those last five questions

   16        that I asked you about distributors, your reference

   17        there did not include any action by distributors; is

   18        that correct?

   19                 A      My reference there does not include any

   20        action by distributors, that is correct.

   21                        MR. PYSER:      Thank you, Dr. Lembke, and

   22                  thank you, your Honor, as well for helping

   23                  clean up.

   24                        THE COURT:      Is Mr. Carter -- he was

   25                  referenced in a September 2nd letter as being
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     1                          Frye Hearing - Dr. Lembke                       163

     2                 an examiner; is that you, sir?

     3                       MR. CARTER:      Yes, it is.

     4                       THE COURT:      How are you?

     5                       MR. CARTER:      I'm doing well.        I have

     6                 about ten minutes of questions, so if you

     7                 would like me to proceed now, I can.

     8                       MR. PYSER:      I'm sorry, your Honor, I

     9                 wasn't quite done.

   10                        THE COURT:      I heard you say "thank you,"

   11                  so that was my queue...

   12                        MR. PYSER:      That was to my Cousin Vinnie

   13                  reference there.

   14                        THE COURT:      Mr. Carter, sit down and

   15                  enjoy the show.

   16                        Go ahead.

   17                 Q.     All right.      As part of your methodology

   18        in this case, before serving your report, Dr.

   19        Lembke, did you consider any documents produced by

   20        Cardinal Health?

   21                 A      No.

   22                 Q.     Okay.    And same question for

   23        AmerisourceBergen.

   24                        Before serving your report did you

   25        consider any documents produced by
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     1                          Frye Hearing - Dr. Lembke                       164

     2       AmerisourceBergen?

     3                A      No.

     4                Q.     As to McKesson Corporation, other than a

     5       single document that was brought up at your

     6       deposition, the Nucynta savings card, other than

     7       that single document, did you consider any other

     8       documents produced by McKesson?

     9                A      Not before submitting my report, no.

   10                 Q.     As to that Nucynta document, you

   11        describe that document as a coupon or a savings

   12        card; is that right?

   13                 A      That's correct, yes.

   14                 Q.     So just talking generally about such

   15        documents, a savings card that offers co-pay

   16        assistance for the cost of prescriptions, you

   17        understand that when a patient has a card for co-pay

   18        assistance, the patient still needs to obtain a

   19        prescription before they can obtain the medication;

   20        is that right?

   21                 A      Yes, of course I understand that the

   22        patient still needs a prescription.

   23                 Q.     And if a doctor has written a

   24        prescription, that means the doctor has made a

   25        decision that that particular medication is the
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     1                          Frye Hearing - Dr. Lembke                       165

     2       appropriate medication for treatment of pain in that

     3       patient; is that right?

     4                A      That's harder for me to answer yes or

     5       no.

     6                       MR. PYSER:      Bear with me one second,

     7                 doctor.

     8                Q.     So presumably when a doctor has made a

     9       decision that a medication like Nucynta is an

   10        appropriate medication for acute treatment of pain

   11        in the patient and issues a prescription, that

   12        doctor has made a decision based on their own

   13        medical judgment, correct?

   14                 A      Not entirely.       There are other

   15        influences that are at play in a doctor's decision.

   16        For example, if a drug rep came by and gave them a

   17        bunch of, you know, Nucynta saving cards and asked

   18        them to give them to patients, that would influence

   19        that decision.

   20                 Q.     But the ultimate decision rather to

   21        prescribe or not, that decision rests with the

   22        doctor, correct?

   23                 A      In the most superficial sense, yes.

   24                 Q.     So you don't believe doctors have

   25        independent judgment that they exercise with their
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     1                          Frye Hearing - Dr. Lembke                       166

     2       patients?

     3                A      Yes.    But they can only base their

     4       judgment on the knowledge that they have, and if

     5       that's faulty knowledge, they can't exercise good

     6       judgment.

     7                Q.     Do doctors have an obligation to educate

     8       themselves?

     9                A      Yes, they do.

   10                 Q.     As part of your methodology in this

   11        case, did you conduct your own analysis of

   12        psychiatric data, such as the ARCOS data, to reach a

   13        conclusion about distribution of opioids?

   14                 A      No.

   15                 Q.     As part of your report and your work

   16        here, you're not able to point to any particular

   17        distribution of a particular medication and say that

   18        the prescriptions filled by a pharmacy as a result

   19        of that distribution were medically unnecessary; you

   20        can't get to that level of detail, can you?

   21                 A      No, not to that level of detail.

   22                 Q.     As part of your methodology you're not

   23        offering an opinion as to the appropriate number of

   24        pills that should have been distributed into the

   25        State of New York; are you?
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     1                           Frye Hearing - Dr. Lembke                      167

     2                 A       Probably I have offered an opinion on

     3       that topic, and I have stated before it should be at

     4       least four- or fivefold less than current

     5       prescribing.

     6                 Q.      Beyond that four- or fivefold estimate,

     7       you're not putting forth a particular number of

     8       pills that you believe should have been distributed

     9       in the State of New York for particular medications;

   10        are you?

   11                  A       Not a specific number, no.

   12                  Q.      Same thing for Suffolk County and Nassau

   13        County.        You're not offering an opinion as to the

   14        specific number of opioid medications that should

   15        have been distributed into Nassau or Suffolk County;

   16        are you?

   17                  A       I'm offering the same opinion for those

   18        counties as for the State of New York, as I said

   19        before.

   20                  Q.      I'd like to draw your attention to

   21        another line in your report at page 18 this time.

   22        Do you have that in front of you?

   23                  A       Yes.   Let me just turn to it.

   24                  Q.      This is something that was covered a

   25        little bit earlier.         It's toward the top of the
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     1                          Frye Hearing - Dr. Lembke                       168

     2       page, the Roman number III.            It says:     "The history

     3       of prescription opioid marketing distribution

     4       throughout the United States means that it's highly

     5       probable that prescribing rates in those counties

     6       were far lower in the 1990s before such marketing

     7       and distribution campaigns were implemented by the

     8       Defendants."

     9                       Do you see that?

   10                 A      Yes.

   11                 Q.     Okay.    I want to just ask you a couple

   12        of questions about the basis for that statement.

   13                        Can you point to any report, article or

   14        analysis which concluded that the rate at which

   15        healthcare providers prescribed opioids increased

   16        because pharmaceutical distributors shift

   17        prescription opioids to pharmacies?

   18                 A      There are, as in my report,

   19        authoritative bodies who have weighed in on this,

   20        and I agree with them that the distribution of

   21        opioid pain pills is what contributed to the

   22        increased access to prescription pain pills, and

   23        access is a huge risk factor for misuse and

   24        addiction.

   25                 Q.     I think maybe we're talking past each
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     1                          Frye Hearing - Dr. Lembke                       169

     2       other.

     3                       What I'm asking you is whether there's a

     4       report, article or analysis which concluded the rate

     5       at which the healthcare providers prescribed, the

     6       prescribing decisions, are you aware of any analysis

     7       which concluded that healthcare providers' decisions

     8       to prescribe increased because pharmaceutical

     9       distributors shift prescription medicine to

   10        pharmacies?

   11                 A      Well, I take it, as a matter of common

   12        sense, that you can't get the pills to the patients

   13        unless they're distributed to the pharmacies.

   14                 Q.     I'm not asking about getting it to the

   15        patients, though, doctor.           What I'm asking you is

   16        about the healthcare providers' decision to write a

   17        prescription and whether you believe that the simple

   18        fact that a distributor shifted medication to a

   19        pharmacy caused a doctor to alter their medical

   20        judgment and write more prescription opioids?

   21                 A      That's hard for me to answer yes or no

   22        because I -- my sense is it's a feed forward cycle.

   23        The more that were shift, the more patients became

   24        dependent on them, the more that doctors were in a

   25        position to have to continue to prescribe them.
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     1                          Frye Hearing - Dr. Lembke                       170

     2                Q.     So sitting here today, can you point me

     3       to any academic article or study that found that

     4       doctors prescribing was based on the fact that

     5       distributors shift pills to pharmacies?

     6                A      Yeah, I'm not sure I really understand

     7       the point of the question, so it's hard for me to

     8       answer it.

     9                Q.     You can answer the question whether you

   10        understand the point of it or not.

   11                        So the question is:         Are you aware of

   12        any study in which the authors of the study found

   13        that doctors prescribing increased because of the

   14        shifting by distributors of medicine to a pharmacy?

   15                 A      The increased distribution meant that

   16        these communities had more opioids, which meant that

   17        the general population had more access, either

   18        through legitimate prescription or otherwise, which

   19        then created the need for ongoing prescribing.

   20                        So I do think that it begins with the

   21        access and not with necessarily it's a feed forward

   22        cycle.

   23                 Q.     Doctor, again, you're still not

   24        answering the question.

   25                        The question is pointed at doctors'
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     1                          Frye Hearing - Dr. Lembke                       171

     2       prescribing decisions, healthcare providers'

     3       prescribing decisions, and the question is:                 Can you

     4       point me to a study in which the authors found that

     5       doctors prescribing increased because distributors

     6       shift medication to a pharmacy?

     7                       THE COURT:      Just a yes or no, doctor.

     8                A      No.

     9                       THE COURT:      Next question.

   10                 Q.     Dr. Lembke, I want to return to

   11        something you said this morning actually, this was

   12        point 2 of your summary.

   13                        And, Matt, if you could bring up point 2

   14        of the summary.

   15                        So point 2 was opioid prescribing grows

   16        fourfold starting in the 1990s, which increased the

   17        supply of potent and deadly opioids in the general

   18        population, including New York.

   19                        That was your point this morning,

   20        correct?

   21                 A      Yes.

   22                 Q.     And you were trying to be accurate when

   23        you testified this morning?

   24                 A      Yes.

   25                 Q.     You told the truth in your testimony?
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     1                          Frye Hearing - Dr. Lembke                       172

     2                A      Yes.

     3                Q.     And here what you've said is that the

     4       prescribing increased the supply of opioids,

     5       correct?

     6                A      Yes.

     7                       MR. PYSER:      You can take that down,

     8                 Matt.

     9                Q.     Is it true that without a prescription,

   10        medication that shifts to a pharmacy will stay on

   11        the shelves of the pharmacy; is that right, doctor?

   12                 A      Yes.

   13                 Q.     Did you interview any pharmacists in the

   14        State of New York for purposes of forming your

   15        opinions in this case?

   16                 A      No.

   17                 Q.     Can you identify for the Court a

   18        specific doctor in Nassau or Suffolk County who

   19        prescribed more opioids because opioids were

   20        available at pharmacies?

   21                 A      No.

   22                 Q.     Can you identify a specific doctor in

   23        the State of New York who prescribed more opioids

   24        because opioids were available at pharmacies?

   25                 A      No.
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     1                          Frye Hearing - Dr. Lembke                       173

     2                Q.     As part of your professional practice as

     3       a doctor, before you prescribe a patient a

     4       medication do you regularly call the pharmacies in

     5       your area from which the patient could fill that

     6       prescription to see if the pharmacies have the

     7       medication you want to prescribe?

     8                A      Not usually.

     9                Q.     Dr. Lembke, do you agree with me that

   10        the large majority of opioid prescriptions written

   11        in New York were written for what the doctor who

   12        wrote them thought was a legitimate medical purpose?

   13                 A      Yes.

   14                 Q.     The number of pills of a particular

   15        medicine that a pharmacy dispenses is dependent on

   16        the prescriptions written by healthcare

   17        professionals, true?

   18                 A      Yes.

   19                 Q.     Doctors have a responsibility to ensure

   20        that the medications they prescribe for patients are

   21        for a legitimate medical purpose, correct?

   22                 A      Yes.

   23                 Q.     Pharmacists can't dispense opioids

   24        without a prescription, right?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       174

     2                       MR. PYSER:      No further questions, your

     3                Honor.

     4                       THE COURT:      Are you sure?

     5                       MR. PYSER:      I'm sure this time.

     6                       THE COURT:      Okay.    We'll take 15

     7                 minutes.     Thank you.

     8                       (WHEREUPON, a short recess was taken.)

     9                       THE COURT:      Okay.    I don't see the

   10                  witness.

   11                        Welcome back.

   12                        THE WITNESS:       Thank you.

   13                        THE COURT:      Of course you're still under

   14                  oath; you know that, correct?

   15                        THE WITNESS:       What is that?

   16                        THE COURT:      I said of course you're

   17                  still under oath; you know that?

   18                        THE WITNESS:       Yes, thank you.

   19                        THE COURT:      Mr. Carter, you're up.

   20                        MR. CARTER:      Thank you, your Honor.

   21        EXAMINATION BY

   22        MR. CARTER:

   23                 Q.     Good afternoon, Dr. Lembke.           We met at

   24        your deposition.        My name is Ed Carter, and I

   25        represent Walmart, okay?
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     1                          Frye Hearing - Dr. Lembke                       175

     2                A      Yes.

     3                Q.     I have just a few questions this

     4       afternoon, so hopefully it will move quickly.

     5                       You were asked some questions earlier

     6       today about some of the sources and individuals that

     7       you consulted in preparation for your report as part

     8       of your methodology, I want to start up to that

     9       topic in connection with your work in this case.

   10                        You did not interview any employees of

   11        Nassau County or Suffolk County; did you?

   12                 A      No.

   13                 Q.     You did not interview any law

   14        enforcement officers in the two counties; did you?

   15                 A      No.

   16                 Q.     You testified earlier about addiction

   17        and specifically opioid use disorder.

   18                        You cannot tell us which specific

   19        individuals or cases have opioid use disorder

   20        diagnosis in Nassau County; can you?

   21                 A      No.

   22                 Q.     Same question for Suffolk County?

   23                 A      Same answer for Suffolk County.

   24                 Q.     Likewise, you do not know the number of

   25        cases where a decedent in that Nassau County or
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     1                          Frye Hearing - Dr. Lembke                       176

     2       Suffolk County was diagnosed with an opioid use

     3       disorder; do you?

     4                A      No.

     5                       THE COURT:      You mean, yes, that is

     6                 correct?

     7                       THE WITNESS:       That is correct.

     8                       MR. CARTER:      Thank you, your Honor.

     9                Q.     Dr. Lembke, that is not something that

   10        you calculated as part of your methodology in this

   11        case; is it?

   12                 A      No, that is not something that I have

   13        calculated.

   14                 Q.     Likewise, you have not studied the

   15        overdose death records from either counties to

   16        determine whether the individuals had a diagnosis of

   17        an opioid use disorder; did you?

   18                 A      I did not look at whether they had a

   19        diagnosis of opioid use disorder.

   20                 Q.     The methodology that you utilized in

   21        this case is not a methodology that is generally

   22        accepted by psychiatrists or diagnosee in opioid use

   23        disorder in a specific individual; is it?

   24                 A      Can you rephrase the question.

   25                 Q.     Sure.
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     1                          Frye Hearing - Dr. Lembke                       177

     2                       The methodology you employed in this

     3       case to reach the nine opinions that were on the

     4       first slide that you showed today on direct, that is

     5       not an accepted methodology for diagnosing a patient

     6       in a clinical setting with an opioid use disorder;

     7       is it?

     8                 A     Well, as part of forming my opinion I

     9       did use the methods for diagnosing opioid use

   10        disorder in individual patients, and my opinion is

   11        informed both by my clinical professional experience

   12        and the research that I did.            So I did use that

   13        methodology.

   14                        I couldn't form an opinion about this

   15        topic unless I was able to apply the DSM criteria to

   16        diagnosing an opioid use disorder.

   17                  Q.    Maybe we're talking about two separate

   18        things.

   19                        You did not apply the DSM criteria to

   20        any patient in Nassau or Suffolk County or New York

   21        State; did you?

   22                  A     No, I did not apply the DSM criteria to

   23        any specific patient, as you said.

   24                  Q.    Thank you.

   25                        Now, if you were evaluating a patient in
Case 3:17-cv-01362 Document 1115-4 Filed 10/24/20 Page 179 of 230 PageID #: 37274



     1                          Frye Hearing - Dr. Lembke                       178

     2       a clinical setting for a possible opioid use

     3       disorder diagnosis, you would consider the full

     4       context of information available to you in that

     5       clinical setting; wouldn't you?

     6                A      Yes.

     7                Q.     For example, you would consider the

     8       patient's medical history, including their mental

     9       health history, and any information regarding their

   10        history of substance abuse, fair?

   11                 A      Yes.

   12                 Q.     In a clinical setting you have never

   13        made a diagnosis of an opioid use disorder by

   14        disregarding that context and that clinical

   15        indication and instead relying exclusively on

   16        aggregate epidemiological statistics, that's

   17        something you've never done in a clinical setting;

   18        is it?

   19                 A      No.

   20                 Q.     As part of your methodology you did not

   21        evaluate specific cases or specific individuals in

   22        Nassau County or Suffolk County to determine whether

   23        they ever had a prescription for an opioid

   24        medication that was made, distributed or dispensed

   25        by one of the Defendants; did you?
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     1                          Frye Hearing - Dr. Lembke                       179

     2                 A     No.

     3                 Q.    As part of your work in this case, you

     4       described error in some of the documents that you

     5       considered, I want to follow-up on that topic, all

     6       right?

     7                 A     Okay.

     8                 Q.    Did you consider any documents produced

     9       from the files of a pharmacy Defendant in preparing

   10        your report for this case?

   11                  A     Yes. -- oh, pharmacy Defendant, sorry --

   12        well, after submitting this report I have reviewed

   13        some files like that, but not before submitting this

   14        report.

   15                  Q.    Not for the Defendants in the New York

   16        litigation, correct?

   17                  A     Correct.

   18                  Q.    Okay.    And just to be clear, make sure

   19        we have it for the record, in preparing your report

   20        for this case, did you consider any documents

   21        produced from the files of a pharmacy Defendant?

   22                  A     No, I did not consider documents

   23        produced from the files of a pharmacy Defendant for

   24        this report.

   25                  Q.    As part of your work in this case, did
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     1                          Frye Hearing - Dr. Lembke                       180

     2       you review the testimony or depositions of any

     3       employees or witnesses from a pharmacy Defendant?

     4                A      No.

     5                Q.     As part of your methodology in this

     6       case, did you study the details of the conduct of

     7       any pharmacy Defendant as it pertains to Nassau

     8       County or Suffolk County?

     9                A      No.

   10                 Q.     Using Walmart, my client, as an example,

   11        did you study the details of Walmart distribution

   12        policies for controlled substances in Nassau or

   13        Suffolk County?

   14                 A      No.

   15                 Q.     Did you study the details of the

   16        processes that Walmart put in place to empower its

   17        pharmacists to exercise their professional

   18        responsibility to evaluate prescriptions?

   19                 A      No.

   20                 Q.     Did you review any Walmart policies to

   21        identify a specific policy that you believe should

   22        have been changed?

   23                 A      No.

   24                 Q.     Did you identify any specific orders for

   25        opioids that a Walmart pharmacy placed that Walmart
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     1                          Frye Hearing - Dr. Lembke                       181

     2       should have handled differently from a distribution

     3       perspective?

     4                A      No.

     5                Q.     Did you identify any specific

     6       prescriptions that Walmart should not have filled at

     7       its pharmacies?

     8                A      No.

     9                Q.     And if I asked you all of those

   10        questions for the other three pharmacy Defendants,

   11        would your answers be the same?

   12                 A      My answers would be the same.

   13                 Q.     Now I want to switch gears.           You talked

   14        about marketing earlier.           I want to ask you about

   15        that.

   16                        It's true that the pharmacy Defendants

   17        never marketed opioids; did they?

   18                        MR. HANLY:      Objection to the form.

   19                        THE COURT:      Time out.     There's an

   20                  objection.      Mr. Carter, rephrase the

   21                  question.     Perhaps you should share your

   22                  concept of marketing with the witness so

   23                  we're on the same page.

   24                        MR. CARTER:      Sure.

   25                 Q.     In your report, when you offer opinions
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     1                          Frye Hearing - Dr. Lembke                       182

     2       regarding marketing, have you offered any marketing

     3       opinions that pertain to the pharmacy Defendants?

     4                A      Not in my report.

     5                Q.     Okay.    And as far as you're aware, did

     6       the pharmacy Defendants ever market opioids?

     7                A      Yes.

     8                Q.     Okay.    I'd like to show you your

     9       deposition.      It's the same one from the New York

   10        case that you looked at earlier today.               Bear with me

   11        a moment while I get the screen.

   12                        THE COURT:      What's the page and line,

   13                  please.

   14                        MR. CARTER:      The page and line is going

   15                  to be one 27, line 24, and I'm just trying to

   16                  get control so that I can present.

   17                        THE COURT:      Okay.

   18                 Q.     Are you able to see my screen with your

   19        transcript up, Dr. Lembke?

   20                 A      Yes, I do.      I see it.

   21                 Q.     All right.      So I want to direct your

   22        attention to the last page -- or, excuse me, the

   23        last line, down here at the bottom of the page.

   24                        "Are you aware of any marketing of

   25        opioids conducted by any of the retail chain
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     1                          Frye Hearing - Dr. Lembke                       183

     2       pharmacy Defendants?"

     3                       And it goes to the next page.

     4                       "ANSWER:     No."

     5                       Do you see that?

     6                A      Yes, I do.

     7                Q.     That's the testimony you provided under

     8       oath in your deposition in this case, correct?

     9                A      Yes.    That was true at the time.

   10                 Q.     That was true for purposes of your

   11        report in this case, correct?

   12                 A      Yes.

   13                 Q.     Since then you've never supplemented

   14        your report or put the pharmacy Defendants or anyone

   15        else on notice that there's been any change or

   16        errata to your sworn deposition testimony, true?

   17                 A      I can't speak to what Plaintiffs'

   18        counsel has notified Defendants about, but I have

   19        reviewed other records since then, which has led to

   20        my changing my opinion on this deposition question.

   21                 Q.     But whatever your opinion is, that's not

   22        something you shared with anyone in New York, to

   23        your knowledge, true?

   24                 A      Not in my report.

   25                 Q.     You don't plan on testifying at trial in
Case 3:17-cv-01362 Document 1115-4 Filed 10/24/20 Page 185 of 230 PageID #: 37280



     1                          Frye Hearing - Dr. Lembke                       184

     2       this case with respect to marketing by pharmacy

     3       Defendants, true?

     4                 A     If I'm asked a question about whether or

     5       not pharmacies ever marketed specific products, to

     6       answer that truthfully I will have to say that I am

     7       aware of that having happened.

     8                 Q.    We can deal with the representations of

     9       the various pleadings, I won't belabor the point,

   10        but in these subsequent materials that you reviewed,

   11        unrelated to New York and not in your New York

   12        report, do any of them relate to controlled

   13        substance prescription opioids?

   14                  A     Yes.

   15                  Q.    Do any of them relate to marketing in

   16        Nassau or Suffolk County?

   17                  A     Possibly, but there is no geographic

   18        specific information that I'm recalling.

   19                  Q.    All right.      And likewise, you cannot

   20        identify any claim about opioids made by a pharmacy

   21        Defendant that you allege was false or misleading;

   22        can you?

   23                  A     Again, yes, I can, because I've reviewed

   24        other materials since the deposition and since my

   25        report.
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     1                          Frye Hearing - Dr. Lembke                       185

     2                Q.     Let me pull up -- I'd like to direct you

     3       to page 127 of your deposition.             Lines 20 to 23.

     4                       "Can you identify any false or

     5       misleading claim about opioids made by one of the

     6       retail pharmacy Defendants in this case?

     7                       ANSWER:     No."

     8                       Do you see that?

     9                A      Yes, I do see that.

   10                 Q.     That was the testimony that you provided

   11        under oath in your deposition in January, correct?

   12                 A      Yes, that was the testimony I provided

   13        then.

   14                 Q.     Between January and today, September

   15        9th, have you issued an errata to correct your

   16        testimony in the New York case?

   17                 A      No.

   18                 Q.     Have you issued a supplemental report to

   19        update your opinions in this case on that topic?

   20                 A      No.

   21                 Q.     In terms of the nine opinions that were

   22        listed on your first slide -- sorry, I'm having

   23        trouble with the mouse, your Honor, excuse my

   24        technical novice.

   25                        Back to my question, doctor.
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     1                          Frye Hearing - Dr. Lembke                       186

     2                       The nine opinions that are listed on

     3       Slide 1 that you showed today, none of them relate

     4       to any marketing statements or allegedly misleading

     5       statements by the pharmacy Defendants, true?

     6                A      In my report I refer to the

     7       pharmaceutical opioid industry and in that I include

     8       the pharmacies.

     9                Q.     So is it your testimony that one of the

   10        nine opinions on Slide 1 references pharmacy

   11        Defendants making marketing statements?

   12                 A      Yes.

   13                 Q.     All right.      I'd like to pull up Slide 1.

   14                        Which one of these statements references

   15        a pharmacy Defendant marketing opioids?

   16                        THE COURT:      It's not on the screen.

   17                        MR. CARTER:      That makes it harder, so

   18                  let me --

   19                        THE COURT:      Can somebody help out?

   20                        MR. CARTER:      Your Honor, I relied on the

   21                  shared Adobe, not the entire screen.              So one

   22                  second, I think I can fix this I believe.

   23                        THE COURT:      Halfway there, Mr. Carter.

   24                  You got the other one down.

   25                        MR. CARTER:      Okay.
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     1                          Frye Hearing - Dr. Lembke                       187

     2                       MR. CARTER:      Is this one up now?

     3                       MR. HANLY:      Yes.

     4                Q.     All right.      So, Dr. Lembke, you do not

     5       have any references in Slide 1 to a pharmacy

     6       Defendant issuing a marketing statement, correct?

     7                A      That's true.

     8                Q.     Thank you.

     9                       And, in fact, if we go through your

   10        entire report for the New York case, it's also true

   11        that you do not mention any pharmacy Defendant by

   12        name at any location in your report, true?

   13                 A      True.

   14                 Q.     Likewise, your report does not identify

   15        any pharmacy Defendant as having, to a reasonable

   16        degree of medical and scientific certainty, violated

   17        a regulation or duty of care in Nassau County or

   18        Suffolk County, correct, that's not anywhere in your

   19        report; is it?

   20                 A      Correct.     That's not in my report.

   21                 Q.     Bottom line is, because you did not

   22        analyze or study the conduct of the pharmacy

   23        Defendants in Nassau and Suffolk County in

   24        preparation of your report, this case, you'll not be

   25        offering any opinion at trial regarding the specific
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     1                          Frye Hearing - Dr. Lembke                       188

     2       conduct of a pharmacy Defendant in Nassau or Suffolk

     3       County; do you agree with that?

     4                A      Again, if I'm asked under oath to

     5       testify about the role of the pharmacies, I will

     6       offer an opinion that's based on additional material

     7       I've seen.

     8                Q.     But sitting here today, in terms of

     9       what's in your report, none of those opinions are

   10        articulated with specificity in your report for this

   11        case, true?

   12                 A      That's true.

   13                 Q.     Last topic.      On direct you expressed an

   14        opinion that doctors were duped; do you recall that?

   15                 A      Yes.

   16                 Q.     I would like to follow-up on that.

   17                        If doctors were duped to the point where

   18        well-intentioned doctors genuinely believed that

   19        they were exercising appropriate medical judgment in

   20        prescribing opioids, you agree that the same

   21        phenomenon would also apply to pharmacists, fair?

   22                 A      Yes.    Possibly.

   23                 Q.     In terms of your background and

   24        training, you are not familiar with the specific

   25        licensing requirements for pharmacists in New York;
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     1                          Frye Hearing - Dr. Lembke                       189

     2       are you?

     3                A      No.

     4                Q.     You don't know what kind of training

     5       pharmacists in New York go through; do you?

     6                A      No, I don't.

     7                Q.     The education and training of

     8       pharmacists is not a topic that you've studied in

     9       connection for this case; is that correct?

   10                 A      That is correct.

   11                 Q.     You will not be offering an opinion at

   12        trial regarding what pharmacists in Nassau or

   13        Suffolk understood or believed about the risks and

   14        benefits of opioid medications; will you?

   15                 A      No.

   16                 Q.     You will not offer an opinion, starting

   17        from the specific pharmacists in those two counties,

   18        acted unreasonably in filling any specific

   19        prescription; will you?

   20                 A      Not for any specific prescription, no.

   21                 Q.     My final question.         As part of your

   22        methodology in this case, you have not identified

   23        any particular case where specific prescriptions for

   24        opioids should not have been filled by a pharmacist

   25        acting in good faith; have you?
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     1                          Frye Hearing - Dr. Lembke                       190

     2                A      Not any specific case, no.

     3                       MR. CARTER:      Those are all the questions

     4                 I have for you.       Thank you.

     5                       THE WITNESS:       You're welcome.

     6                       THE COURT:      Mr. Hanly, redirect.

     7                       MR. HANLY:      Thank you, your Honor.

     8       REDIRECT EXAMINATION

     9       MR. HANLY:

   10                        MR. HANLY:      Could we take down that

   11                  slide, please.

   12                 Q.     Dr. Lembke --

   13                 A      Yes.

   14                 Q.     -- I'm going to ask you a few questions

   15        on redirect examination.

   16                        First of all, just to clarify, and

   17        perhaps I misheard or misunderstood one of the

   18        questions asked by Mr. Carter just a few minutes

   19        ago, the nine opinions that you hold and would give

   20        in this case at trial, if permitted to do so by

   21        Justice Garguilo, have nothing to do with the

   22        diagnosis or the diagnostic criteria for addiction,

   23        true?

   24                 A      Well, yes and no.        I mean, I, I must be

   25        familiar with those diagnostic criteria in order to
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     1                          Frye Hearing - Dr. Lembke                       191

     2       have a working background knowledge of this problem

     3       more broadly.

     4                Q.     But there's nothing referred to in the

     5       nine opinions concerning any diagnostic criteria; is

     6       that right?

     7                A      Well, under opinion one addiction is a

     8       chronic illness.        I do describe in brief what the

     9       diagnostic criterion are for diagnosing an opioid

   10        use disorder.

   11                 Q.     There was a suggestion -- withdrawn.

   12                        Is there any peer reviewed publication,

   13        guidelines, criteria, mandates, requirements of any

   14        sort that provide it is necessary to do widespread

   15        surveys of physicians in order to reach opinions,

   16        for example, about the relationship between

   17        physicians' prescribing habits and, and consequent

   18        harms, is there any set of rules that say you have

   19        to do a survey of 10 or 100 or a thousand or a

   20        million doctors in order to have a sound basis upon

   21        which to make conclusions concerning the

   22        relationship, for example, between prescribing and

   23        ultimate harms?

   24                 A      No, there are no mandated requirements

   25        or recommended requirements to that effect.
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     1                          Frye Hearing - Dr. Lembke                       192

     2                Q.     You were asked a number of questions by

     3       Miss Strong concerning whether you are able to

     4       quantify the relative roles of different players, if

     5       you will, in the opioid saga in respect of the

     6       opioid epidemic, correct?

     7                A      Yes.

     8                Q.     All right.      And -- but you already

     9       testified, before she asked you that litany of

   10        questions about your ability to give percentages,

   11        that you are not an econometrician, right?

   12                 A      That's correct.

   13                 Q.     You don't have any training in

   14        econometrics?

   15                 A      That's correct.

   16                 Q.     And your engagement in this case by the

   17        lawyers for the communities had nothing to do with

   18        you providing percentages of relative liability,

   19        correct?

   20                 A      That's correct.

   21                 Q.     Now, you testified, when asked a number

   22        of questions by Miss Strong about surveys, you

   23        answered on several occasions that you had done

   24        qualitative interviews; do you remember that?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       193

     2                Q.     In fact, you did such interviews; is

     3       that correct?

     4                A      Yes, I did.

     5                Q.     There was a suggestion that, that was

     6       not disclosed and didn't appear anywhere in your

     7       report, correct?

     8                A      That was suggested, yes.

     9                Q.     Right.     Do you have your report in the

   10        New York litigation handy?

   11                 A      Yes, I do.

   12                 Q.     Could you turn to page 5 of that report.

   13                 A      Yes, I'm at page 5.

   14                 Q.     Right.     And up at the top is paragraph

   15        number 23; do you see that?

   16                 A      Yes.

   17                 Q.     And I'm just going to read the beginning

   18        part of that paragraph.          You wrote: "In forming the

   19        opinions expressed in this report, I have relied on

   20        my medical training, more than 20 years of clinical

   21        experience, and my own research on opioid

   22        prescribing.

   23                        My research began circa 2001 and has

   24        been multimodal.         I have done qualitative interviews

   25        with patients, providers and others in the
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     1                          Frye Hearing - Dr. Lembke                       194

     2       healthcare field on questions related to opioid

     3       prescribing?

     4                       Did I read that correctly?

     5                 A     Yes.

     6                 Q.    That is, in fact, true; is it not?

     7                 A     Yes.

     8                 Q.    That while you did not do surveys of 10

     9       or 100 or a thousand or a million doctors or

   10        patients, you did selective qualitative interviews

   11        of that very same population?

   12                  A     Yes.

   13                  Q.    Now, Miss Strong also took you through a

   14        number of risk factors for the development of opioid

   15        use disorder or addiction, right?

   16                  A     Yes.

   17                  Q.    But I don't recall her calling to your

   18        attention anything about dose and duration of the

   19        administration of opioids as constituting a risk

   20        factor.

   21                        My question to you is:          Are dose and

   22        duration of the administration of these kinds of

   23        drugs a risk factor for the development of an

   24        addiction?

   25                  A     Yes.    The science showed that those are
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     2       important risk factors for the development of

     3       addiction.

     4                Q.     Do you accept that science?

     5                A      Yes, I do.

     6                Q.     Okay.    Is that concept generally

     7       accepted, that dose and duration -- in other words,

     8       how strong the pills are or how many you're taking

     9       and for how long are reflective or indicative of

   10        what your risk would be?

   11                 A      Yes.    Increasing dose and duration

   12        increase the risk of both addiction and overdose.

   13                 Q.     You were asked questions about the FDA.

   14        I just want to ask you a couple of brief questions

   15        about that.

   16                        The FDA does not have laboratories where

   17        they do widespread testing of drugs; isn't that

   18        true?

   19                 A      That's true.

   20                 Q.     In fact, in determining whether a

   21        particular drug is safe and efficacious, the FDA has

   22        to rely upon information provided to it by what's

   23        called the response of the company that's making the

   24        drug, right?

   25                 A      Yes.
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     1                          Frye Hearing - Dr. Lembke                       196

     2                Q.     So there's a kind of a necessity on the

     3       part of the FDA to take at face value what is told

     4       to it concerning the results of any review of safety

     5       or efficacy?

     6                       MS. STRONG:      Objection, your Honor.

     7                       This is Sabrina Strong again.            I am

     8                 trying to be very lenient with leading.

     9                       THE COURT:      I got it.

   10                        MS. STRONG:      Leading.

   11                        THE COURT:      I'll sustain it.        Rephrase

   12                  the question.

   13                        MR. HANLY:      Okay.

   14                        THE COURT:      It's too suggestive of the

   15                  answer.

   16                        MR. HANLY:      Got it, Judge.

   17                 Q.     The FDA does not do its own physical

   18        research on proposed new drugs, correct?

   19                 A      That's correct.

   20                 Q.     Where does the FDA get information then

   21        concerning the attributes of that proposed new drug

   22        or prospective indication for that new drug; where

   23        does that information come from?

   24                 A      From the drug companies who are making

   25        the drug and trying to get approval for the drug.
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     1                          Frye Hearing - Dr. Lembke                       197

     2                Q.     Now, there was a question asked by Mr.

     3       Pyser as to whether you used the term gateway effect

     4       in any peer reviewed publication of yours, right?

     5                A      Yes.

     6                Q.     You testified that, no, that term did

     7       not appear in any such publication, but, of course,

     8       it does appear, in fact, it's part of the name of a

     9       chapter in your book, correct?

   10                 A      That's true.

   11                 Q.     All right.      And isn't it also true that

   12        subsequent to the publication of your book in 2016

   13        that at least one peer reviewed report used the term

   14        gateway effect?

   15                 A      Yes.

   16                 Q.     And I'm just looking for that page, that

   17        slide that has that on it.

   18                 A      I would say that gateway effect is a

   19        commonly accepted term in addiction medicine.                 It's

   20        not a new term or a creative term.

   21                 Q.     But, in fact, in the year 2017, a year

   22        after the publication of your book, there was

   23        published a peer reviewed article that actually

   24        references the gateway effect, right?

   25                 A      Yes.    Which article was that?          Was that
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     1                          Frye Hearing - Dr. Lembke                       198

     2       the Harbaugh?

     3                Q.     I believe it's Harbaugh, but I can't

     4       seem to find it.

     5                       But in any case, we can agree that

     6       subsequent to your use of the term gateway effect it

     7       was used by other medical researchers and authors,

     8       right?

     9                A      Yes.

   10                        MR. PYSER:      Objection.

   11                        Leading again.

   12                        THE COURT:      I'll allow it.       Go ahead.

   13                  If we were going to hear an objection for

   14                  every leading question, we'd be here until

   15                  Thanksgiving.

   16                 Q.     Okay.    The report that I was referencing

   17        was Slide 18 that we looked at, doctor, and it's the

   18        NASEM report on pain management and the opioid

   19        epidemic.

   20                        We've culled out this particular slide.

   21        We see that this paper was published in 2017, the

   22        year after your book in which you used the term

   23        gateway effect, and there we see a quote from the

   24        NASEM report.       "Preponderance of evidence suggests

   25        that the major increase in prescription opioid use
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     1                          Frye Hearing - Dr. Lembke                       199

     2       beginning in the late 1990s has served as a gateway

     3       to increased heroin use."

     4                       Did I read that correctly?

     5                A      Yes.

     6                Q.     You didn't write that; did you?

     7                A      No.

     8                Q.     You weren't part of the folks who wrote

     9       this consensus study report; were you?

   10                 A      No.

   11                 Q.     All right.      Last area.      Promise, your

   12        Honor.

   13                        Miss Strong's Slide Number 2 is, is the

   14        slide that consists of these circles with various

   15        things written in; do you remember that, doctor?

   16                 A      The one with the big question mark in

   17        red at the end?

   18                 Q.     Yes.

   19                 A      Okay.    Yes.

   20                 Q.     Okay.    And so let me see if I can use

   21        this.    There we are.       Okay.

   22                        And so Miss Strong labeled these

   23        Lembke's Factors, and let me see if I understand it.

   24                        Do you agree that these are some of the

   25        factors that in your opinion relate to the opioid
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     1                          Frye Hearing - Dr. Lembke                       200

     2       epidemic?

     3                A      Yes, they are some of the factors.

     4                Q.     But they're not all of the factors; are

     5       they?

     6                A      No.

     7                Q.     Because what's missing from these --

     8       this collection of circles of varying --

     9                       THE COURT:      Mr. Hanly, ask the witness

   10                  what's missing.

   11                 Q.     What, if anything, are missing from

   12        these -- from this chart?

   13                 A      Well, Miss Strong referred to other

   14        pharmaceutical companies by which I believe she

   15        meant those not involved in the litigation, so

   16        that's a big circle that's missing.

   17                        What's also missing is key opinion

   18        leaders, drug detailers, drug rep detailers, the

   19        whole medical education paradigm shift that led

   20        doctors -- that doctors relied on to inform their

   21        prescribing.

   22                 Q.     Should pharmaceutical manufactures be

   23        among these circles?

   24                 A      Yes.    So that's what I meant when I said

   25        not just other pharmaceutical companies, but the
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     1                          Frye Hearing - Dr. Lembke                       201

     2       Defendants in this case should certainly be on this

     3       list.

     4                Q.     So -- well, I'm not going to lead you.

     5                       Who are the others that would be

     6       appropriately on the list of Dr. Lembke's Factors?

     7                A      So opioid manufacturers, opioid

     8       distributors, opioid pharmacies or pharmacies where

     9       opioids were dispensed and distributed.

   10                        MR. HANLY:      Okay.    Doctor, that is --

   11                  oh, one more area.

   12                 Q.     Mr. Pyser brought to your attention a

   13        statement in your book in which, and I'm

   14        paraphrasing the statement, that prescription

   15        opioids, the relationship between prescription

   16        opioids and heroin use is unclear; do you recall him

   17        asking you about that sentence?

   18                 A      Yes, I do.

   19                 Q.     That is a sentence that you wrote in

   20        your book?

   21                 A      Yes.

   22                 Q.     Can you explain to Justice Garguilo and

   23        all of us what you meant by that sentence.

   24                 A      Yes.    So at the time there was much

   25        debate about whether or not efforts that were being
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     1                          Frye Hearing - Dr. Lembke                       202

     2       made at that time to curb opioid prescribing might

     3       be contributing to patients who had become dependent

     4       on and addicted on opioid, turning to elicit

     5       sources.

     6                       At the time that I published the book

     7       and finished my reference list there wasn't really

     8       good definitive data.

     9                       Furthermore, the natural history and the

   10        progression of the disease of addiction would lead

   11        patients who become addicted to prescription opioid

   12        to seek out more potent, more potent forms and more

   13        and cheaper sources, and as the U.S. population

   14        broadly became dependent on and addicted to

   15        prescription opioid the drug cartels responded to

   16        that increased demand by making heroin more cheaply

   17        available.

   18                 Q.     Again, this sentence, called to your

   19        attention by Mr. Pyser, was written in or around

   20        2016?

   21                 A      That's right.       Actually, it was written

   22        probably a year before that.            It takes about a year

   23        between finishing a manuscript and its coming out in

   24        publication, so I really finished the book in 2015.

   25                 Q.     The NASEM article that we looked at that
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     1                          Frye Hearing - Dr. Lembke                       203

     2       talked about a prescription opioid use as a gateway

     3       to heroin, increased heroin use was two years or so

     4       after you wrote this sentence about the relationship

     5       being unclear?

     6                A      Yes, that's right.

     7                Q.     And does science progress over a

     8       two-year period?

     9                A      Yes.    It became more clear right around

   10        that time period that, in fact, prescription opioid

   11        are a gateway to heroin.

   12                        MR. HANLY:      Thank you very much, doctor.

   13                  That's all I have.           Thank you, your Honor.

   14                        THE COURT:      Okay.     Dr. Lembke, thank you

   15                  very much.

   16                        THE WITNESS:       Thank you.

   17                        THE COURT:      You're excused.

   18                        THE WITNESS:       Thank you.

   19                        THE COURT:      With no other business, the

   20                  Court will close the record.

   21                        Thank you all.

   22

   23

   24                                   *       *       *

   25
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     1                          Frye Hearing - Dr. Lembke                       204

     2

     3

     4                            C E R T I F I C A T I O N

     5

     6                       I, Stephanie Casagrande Hague, CSR, RPR,

     7                 an Official Court Reporter of the State of

     8                 New York, County of Suffolk, do hereby

     9                 certify that the above is a true and accurate

   10                  transcription of my stenographic notes taken

   11                  in the above-entitled action on this day;

   12                        Furthermore, photocopies made of this

   13                  transcript by any party cannot be certified

   14                  by me to be true and accurate.

   15                        Therefore, only those copies bearing an

   16                  original signature in blue ink are official

   17                  certified copies.

   18

   19

   20                        ____________________________________
                             STEPHANIE CASAGRANDE HAGUE, CSR, RPR
   21                              Official Court Reporter

   22

   23

   24

   25
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